                       UNITED STATES BANKRUPTCY COURT
                              DISTRICT OF OREGON

In re                                            19-31883-dwh11; and
 15005 NW Cornell LLC, and               Case No. 19-31886-dwh11
 Vahan M. Dinihanian Jr,                   Amended


                                     Notice of Final Hearing on Motion [Check One]
                                          For Use of Cash Collateral
Debtor(s)                                 To Obtain Credit



YOU ARE NOTIFIED THAT:

1. The undersigned moving party, 15005 NW Cornell LLC, and Vahan M. Dinihanian Jr. ,
   filed a Motion  For Use of Cash Collateral     To Obtain Credit (check one). The
   motion is attached and includes the statement required by Local Bankruptcy Form
   (LBF) 541.5, Procedures re: Motions for Use of Cash Collateral or to Obtain Credit.

2. The name and service address of the moving party's attorney (or moving party, if no
   attorney) are: Douglas R. Pahl, Perkins Coie, 1120 NW Couch, 10th Floor, Portland,
   OR 97209

3. A final hearing on the motion, at which testimony will be received if offered and
   admissible, will be held as follows:

   Date: _________________
             03/02/2022             Time: ____________
                                             1:30 pm

   Location:

        Courtroom #_____, _____________________________________________

        Telephone Hearing [See LBF 888, Telephone Hearing Requirements.]

        Call In Number: (888) 684-8852
        Access Code:     5870400 for Judge David W. Hercher (dwh)
                         1238244 for Judge Peter C. McKittrick (pcm)
                         4950985 for Judge Teresa H. Pearson (thp)
                         3388495 for Judge Thomas M. Renn (tmr)

        Video Hearing. To connect, see www.orb.uscourts.gov/video-hearings.


541 (10/4/2021)                      Page 1 of 2

                  Case 19-31883-dwh11      Doc 585   Filed 02/10/22
4. If you wish to object to the motion, you must, within 14 days of the service date shown
   in paragraph 5 below, file with the clerk at 1050 SW 6th Ave. #700, Portland OR 97204
   or 405 E 8th Ave. #2600, Eugene OR 97401: (1) a written response which states the
   facts upon which you will rely, and (2) a certificate showing the response has been
   served on the U.S. Trustee and the attorney or party named in paragraph 2 above.

5. I certify that on  02/10/2022      this notice and the motion were served pursuant to
   Federal Rule of Bankruptcy Procedure (FRBP) 7004 on the debtor(s), any debtor's
   attorney, any trustee, any trustee's attorney, members of any committee appointed
   under 11 U.S.C. § 1102 or elected pursuant to 11 U.S.C. § 705 or its authorized agent
   (or, if no committee in a chapter 11 case, on all creditors listed on the list filed pursuant
   to FRBP 1007(d)), any creditors' committee attorney, the U.S. Trustee, and all entities
   with any interest in the cash collateral subject to this motion, whose names and
   addresses used for service are as follows:
    All creditors listed on mailing matrix maintained by Clerk of Court.




                  /s/ Douglas R. Pahl                                           950476
                  Signature of Moving Party or Attorney                                  OSB#

                  237 NW Skyline Blvd., Portland OR 97210
                  (If debtor is movant) Debtor’s Address & Last 4 Digits of Taxpayer ID#




541 (10/4/2021)                          Page 2 of 2

                    Case 19-31883-dwh11         Doc 585    Filed 02/10/22
Label Matrix for local noticing                 15005 NW Cornell LLC                           ODR Bkcy
0979-3                                          237 NW Skyline Blvd                            955 Center St NE
Case 19-31883-dwh11                             Portland, OR 97210-1053                        Salem, OR 97301-2555
District of Oregon
Portland
Fri Jan 28 14:13:00 PST 2022
Sortis Holdings, Inc.                           US Trustee, Portland                           1050 SW 6th Ave. #700
co/Joe FIeld                                    1220 SW 3rd Ave., Rm. 315                      Portland, OR 97204-1160
Field Jerger, LLP                               Portland, OR 97204-2829
621 SW Morrison St., Ste. 510
Portland, OR 97205-3808

Alexander LLC                                   Alexander LLC                                  Attorney General of the US
Attn: Alexander Logan                           Lillian Logan, c/o Daniel L. Steinberg         U.S. Department of Justice
19830 W Dixie Mt. Rd                            Two Centerpointe Drive, 6th Floor              950 Pennsylvania Avenue, NW
North Plains OR 97133-8215                      Lake Oswego, OR 97035-8618                     Washington DC 20530-0001


Bateman Seidel PC                               Beaverton Chamber of Commerce                  Christiana LLC
Gregory J. Miner                                12600 SW Crescent St #160                      Attn: Christiana Logan
1000 SW Broadway, Suite 1910                    Beaverton, OR 97005-1769                       19830 W Dixie Mt. Rd
Portland, OR 97205-3061                                                                        North Plains OR 97133-8215


Cornell Rd LLC                                  Dan Logan                                      Daniel Lorenz
Attn: Lillian Logan                             19830 W Dixie Mt. Rd                           521 SW Clay
19830 W Dixie Mt. Rd                            North Plains OR 97133-8215                     Portland, OR 97201-5407
North Plains OR 97133-8215


Daniel Lorenz                                   Eagle Holdings LLC                             Gregory Miner
521 SW Clay St.                                 237 NW Skyline Blvd                            888 SW 5th Ave, Suite 1250
Portland OR 97201-5407                          Portland OR 97210-1053                         Portland OR 97204-2026



Internal Revenue Service                        Office of the Attorney General                 Oregon Department of Revenue
PO Box 7346                                     Oregon Department of Justice                   955 Center Street NE
Philadelphia PA 19101-7346                      1162 Court St. NE                              Salem OR 97301-2555
                                                Salem OR 97301-4096


Oregon Dept. of Consumer                        Oregon Secretary of State                      Tasha Teherani-Ami
& Business Services                             Public Service Building                        c/o Eleanor A. DuBay
350 Winter St NE 2nd Floor                      255 Capitol St. NE, Suite 151                  121 SW Morrison St., Suite 1850
Salem OR 97301-3875                             Salem OR 97310-1304                            Portland, OR 97204-3120


Tasha Teherani-Ami, as trustee for the Sonja    Washington County                              Washington County Assessment
900 SW 5th Ave, Suite 2000                      Dept of HHS - Code Enforcement                 & Taxation
Portland, OR 97204-1229                         155 N. First Ave, MS 5A                        155 N. First Ave
                                                Hillsboro OR 97124-3001                        Hillsboro OR 97124-3001


DOUGLAS R PAHL                                  NICHOLAS J HENDERSON                           Vahan M. Dinihanian Jr.
1120 NW Couch St 10th Fl                        Motschenbacher & Blattner, LLP                 237 NW Skyline Blvd.
Portland, OR 97209-4128                         117 SW Taylor Street                           Portland, OR 97210-1053
                                                Ste 300
                                                Portland, OR 97204-3029
                                         Case 19-31883-dwh11             Doc 585    Filed 02/10/22
                   The following recipients may be/have been bypassed for notice due to an undeliverable (u) or duplicate (d) address.


(u)Alexander LLC                                       (u)Bateman Seidel                                    (u)Christiana LLC




(u)Columbia State Bank                                 (u)Cornell Rd LLC                                    (u)Delap LLP




(u)Lillian Logan                                       (u)Tasha Teherani-Ami                                (u)Tasha Teherani-Ami, in her capacity as th




End of Label Matrix
Mailable recipients      29
Bypassed recipients       9
Total                    38




                                           Case 19-31883-dwh11                 Doc 585     Filed 02/10/22
         Nicholas J. Henderson, OSB No. 074027
         nhenderson@portlaw.com
         Motschenbacher & Blattner, LLP
         117 SW Taylor St., Suite 300
         Portland, OR 97204
         Telephone: (503) 417-0508
         Facsimile: (503) 417-0528

                  Of Attorneys for Vahan M. Dinihanian, Jr

         Douglas Pahl, OR Bar No. 950476
         DPahl@perkinscoie.com
         PERKINS COIE LLP
         1120 N.W. Couch Street, 10th Floor
         Portland, OR 97209-4128
         Telephone: 503.727.2000
         Facsimile: 503.727.2222

                  Of Attorneys for 15005 NW Cornell LLC



                                   UNITED STATES BANKRUPTCY COURT

                                            DISTRICT OF OREGON


                                                             Bankruptcy Case Nos.
         In re:
                                                             19-31883-dwh11 (Lead Case)
         15005 NW CORNELL LLC; and                           19-31886-dwh 11
         VAHAN M. DINIHANIAN, JR.,
                                                             Jointly Administered Under Case No.
                                 Debtors.                    19-31883-dwh11

                                                             JOINT MOTION TO OBTAIN
                                                             FINANCING


                  Debtors and Debtors-In-Possession 15005 NW Cornell LLC (“15005 LLC”) and Vahan

        M. Dinihanian, Jr. (“Dinihanian”) (collectively, “Debtors”) hereby move this Court for the entry

        of a interim order authorizing Debtors to obtain credit for the purposes and on the terms set forth

        herein (the “Motion”). In support of the Motion, Debtor incorporates the statements contained in

        the Declaration of Vahan M. Dinihanian Jr. (the “Dinihanian Decl.”) and the Declaration of

Page 1 of 6 JOINT MOTION TO OBTAIN FINANCING                                             MOTSCHENBACHER & BLATTNER LLP
                                                                                           117 SW Taylor Street, Suite 300
                                                                                               Portland, Oregon 97204
{00385603:1}                                                                                    Phone: 503-417-0500
                                                                                                 Fax: 503-417-0501
                                                                                                 www.portlaw.com
                              Case 19-31883-dwh11         Doc 585
                                                              572     Filed 02/10/22
                                                                            01/28/22
        Samuel J. Ross (the “Ross Decl.”) filed contemporaneously herewith, and further respectfully

        state as follows:

               1.         Debtors each filed a voluntary petition for relief under Chapter 11 of the

        Bankruptcy Code on May 21, 2019 (the “Petition Date”).

               2.         Debtors have continued in possession of their properties and have continued to

        operate and manage their businesses as Debtors-in-Possession pursuant to § § 1107(a) and 1108

        of the Bankruptcy code. No request has been made for the appointment of a trustee or examiner

        in these cases.

               3.         This Court has jurisdiction over this Motion pursuant to 28 U.S.C. §§ 157 and 1334.

        This matter is a core proceeding within the meaning of 28 U.S.C. § 157(b)(2).

               4.         The bases for the relief requested herein are Sections 105 and 364 of the Bankruptcy

        Code, and Rules 2002, 4001, 6004 and 9014 of the Federal Rules of Bankruptcy Procedure.

               5.         Venue is proper in this district pursuant to 28 U.S.C. §§ 1408 and 1409.

               6.         By this Motion, Debtors request entry of an interim order pursuant to 11 U.S.C.

        § 364(c)(2), authorizing Debtors, with 15005 LLC as borrower and Dinihanian and Eagle Holdings

        LLC as guarantors, to (a) enter into the loan agreement, promissory note, deeds of trust, guaranty

        and associated documents attached to the Ross Declaration as Exhibits C-I (with any other

        necessary documents, collectively, the “Loan Documents”), prepared in accordance with the term

        sheet attached to the Ross Decl. as Exhibit A (the “Term Sheet”); and (b) obtain post-petition

        financing consisting of loans and advances from SORFI, LLC, or its successors or assigns

        (“SORFI”) on a secured basis allowable under 11 U.S.C. §§ 364(c)(2) and 503(b)(1) as an

        administrative expense.




Page 2 of 6 JOINT MOTION TO OBTAIN FINANCING                                               MOTSCHENBACHER & BLATTNER LLP
                                                                                             117 SW Taylor Street, Suite 300
                                                                                                 Portland, Oregon 97204
{00385603:1}                                                                                      Phone: 503-417-0500
                                                                                                   Fax: 503-417-0501
                                                                                                   www.portlaw.com
                               Case 19-31883-dwh11          Doc 585
                                                                572     Filed 02/10/22
                                                                              01/28/22
               7.      15005 LLC is the grantor of a deed of trust against 15005’s 25% undivided interest

        in the Cornell Property. The deed of trust was recorded February 8, 2016 in the Washington

        County land records as filing number 2016-008669 (the “Deed of Trust”). The Deed of Trust

        secures Dinihanian’s obligation to pay approximately $3,144,051, plus per diem interest of

        $277.40 and certain additional costs and fees (the “Cure Amount”).

               8.      Debtors need to obtain financing on an expedited basis to pay the Cure Amount to

        prevent the pending trust deed foreclosure sale of 15005 LLC’s right, title and interest in the real

        property and improvements located at 15005 NW Cornell Road, Beaverton, Washington County,

        Oregon (the “Foreclosure Sale”). The Foreclosure Sale is scheduled to occur on February 9,

        2022 at 11:00 am.

               9.      Pursuant to the Term Sheet, SORFI has agreed to make advances in amounts

        totaling up to $4,960,000 (the “Loan”), available upon entry of an order approving this Motion.

               10.     The terms of the loan are summarized in the Term Sheet, attached as Exhibit A to

        the Ross Decl., and are set forth in detail in the Loan Documents, attached as Exhibits C through

        I of the Ross Decl. The Loan will accrue interest at 12% per annum and will be payable on the

        730th day following the closing.

               11.     SORFI’s secured claim under Section 364(c)(2) of the Bankruptcy Code is to be

        secured by: 1) all of the Borrower 15005 LLC’s rights, title and interest (a 25% tenant in

        common interest) in the real property and improvements located at 15005 NW Cornell Road,

        Beaverton, Washington County, Oregon (the “Cornell Property”); and 2) all of Guarantor

        Dinihanian’s rights, title and interest in the real property located at 237 NW Skyline Road,

        Portland, Multnomah County, Oregon (the “Skyline Property”) (collectively, the “Collateral”).

        Such security shall be recorded and perfected following the payment in full of amounts owing


Page 3 of 6 JOINT MOTION TO OBTAIN FINANCING                                              MOTSCHENBACHER & BLATTNER LLP
                                                                                            117 SW Taylor Street, Suite 300
                                                                                                Portland, Oregon 97204
{00385603:1}                                                                                     Phone: 503-417-0500
                                                                                                  Fax: 503-417-0501
                                                                                                  www.portlaw.com
                             Case 19-31883-dwh11          Doc 585
                                                              572     Filed 02/10/22
                                                                            01/28/22
        under the Deed of Trust. Eagle Holdings LLC will also execute a guaranty in support of the

        Loan.

                12.      It is in the best interest of Debtors and their estates to be authorized to obtain

        credit from SORFI on a secured basis pursuant to the terms set forth in the Term Sheet and the

        Loan Documents. Such financing at this critical time will enable Debtors to pay the Cure

        Amounts of the outstanding amounts due under the Trust Deed, thereby avoiding the complete

        loss by 15005 LLC of its interest in the Cornell Property as a result of foreclosure. Debtors

        believe the Loan from SORTIS will preserve the value of the Cornell Property for the benefit of

        all creditors with significant value remaining for equity. In addition, the preservation of the

        Cornell Property permitted by the Motion will enable Debtors to pursue a Section 363(h) process

        to sell the entire Cornell Property, including the interests of co-owners, under far more

        economically favorable conditions. Debtors believe such a process will permit them to fully

        repay their creditors, including SORFI, and preserve excess value for equity.

                                       SUMMARY OF MATERIAL TERMS

                13.      The material terms of the Loan Documents, as summarized by the Term Sheet,

        are:

                      A. Loan. The Loan facility will be comprised of a committed, secured line of credit

        in an aggregate principal amount not to exceed $4,960,000.

                            i.    Interest Rate. Outstanding advances under the Loan shall accrue interest

        at the rate of 12% per annum. Term Sheet, page 2.

                           ii.    Maturity. The loan matures 730 days after the closing of the Loan but

        may be extended by two additional six-month periods, in exchange for an extension fee of 1% of

        the Loan’s outstanding balance at the time of the extension. Term Sheet, pages 1-2.


Page 4 of 6 JOINT MOTION TO OBTAIN FINANCING                                                 MOTSCHENBACHER & BLATTNER LLP
                                                                                               117 SW Taylor Street, Suite 300
                                                                                                   Portland, Oregon 97204
{00385603:1}                                                                                        Phone: 503-417-0500
                                                                                                     Fax: 503-417-0501
                                                                                                     www.portlaw.com
                                 Case 19-31883-dwh11         Doc 585
                                                                 572     Filed 02/10/22
                                                                               01/28/22
                         iii.    Events of Default. The Term Sheet indicates that the Loan Agreement

        shall provide for late charges of 5% of any payment not received by the due date, (b) default

        interest of 24.00% upon and during an Event of Default, (c) the right of SOFI to accelerate the

        Loan without notice or grace periods in the event of a payment default and (d) for additional

        remedies typical of a transaction of this nature. Specific Events of Default are included in the

        Loan Agreement and other Loan Documents. Term Sheet, page 2, 5.

                         iv.     Liens. The Term sheet provides that the Loan will be secured by first

        position liens against the Cornell Property and the Skyline Property. Term Sheet, page 1. The

        Loan provides sufficient amounts to pay all recorded liens, including those of Teherani-Ami,

        Bateman Seidel, Dan Lorenz and Columbia Bank. Any existing liens that remain against the

        Collateral would be repaid from Loan proceeds or would remain by agreement.

                          v.     Borrowing Conditions. The conditions to closing the Loan and obtaining

        the advances are Bankruptcy Court approval of the Motion and the Loan Documents; and 15005

        LLC granting to SORTIS the right to approve the listing broker of the Cornell Property. Term

        Sheet, page 5. Borrower is also required to agree to promptly determine (i) whether it is

        practicable to complete or otherwise resolve the partition litigation pending in Washington

        County within a reasonable period of time or (ii) whether to instead pursue the sale of the

        entirety of the Cornell Property pursuant to Section 363(h) of the Bankruptcy Code. Term Sheet,

        page 6.

                  14.   This Motion does not contain any of the “Discouraged Provisions” listed in LBF

        541.5. The Motion seeks approval under section 364(c)(2) only.




Page 5 of 6 JOINT MOTION TO OBTAIN FINANCING                                             MOTSCHENBACHER & BLATTNER LLP
                                                                                           117 SW Taylor Street, Suite 300
                                                                                               Portland, Oregon 97204
{00385603:1}                                                                                    Phone: 503-417-0500
                                                                                                 Fax: 503-417-0501
                                                                                                 www.portlaw.com
                                Case 19-31883-dwh11        Doc 585
                                                               572     Filed 02/10/22
                                                                             01/28/22
               WHEREFORE, Debtors request the Court grant the Motion and enter an order granting

        the relief requested herein in the proposed order attached hereto as Exhibit 1, and for such other

        and further relief as the Court may deem proper.


        Dated: January 28, 2022                             MOTSCHENBACHER & BLATTNER LLP
                                                            By: /s/ Nicholas J. Henderson
                                                                Nicholas J. Henderson, OSB No. 074027
                                                                nhenderson@portlaw.com
                                                                Motschenbacher & Blattner, LLP
                                                                117 SW Taylor St., Suite 300
                                                                Portland, OR 97204
                                                                Telephone: (503) 417-0508
                                                                Facsimile: (503) 417-0528

                                                           Of Attorneys for Vahan M. Dinihanian, Jr.



        Dated: January 28, 2022                             PERKINS COIE LLP

                                                            By: /s/ Douglas R. Pahl
                                                                Douglas R. Pahl, OSB No. 950476
                                                                DPahl@perkinscoie.com
                                                                Matthew J. Mertens, OSB No. 146288
                                                                MMertens@perkinscoie.com
                                                                PERKINS COIE LLP
                                                                1120 N.W. Couch Street, Tenth Floor
                                                                Portland, OR 97209-4128
                                                                Telephone: 503.727.2000
                                                                Facsimile: 503.727.2222

                                                           Of Attorneys for 15005 NW Cornell LLC




Page 6 of 6 JOINT MOTION TO OBTAIN FINANCING                                             MOTSCHENBACHER & BLATTNER LLP
                                                                                           117 SW Taylor Street, Suite 300
                                                                                               Portland, Oregon 97204
{00385603:1}                                                                                    Phone: 503-417-0500
                                                                                                 Fax: 503-417-0501
                                                                                                 www.portlaw.com
                             Case 19-31883-dwh11           Doc 585
                                                               572    Filed 02/10/22
                                                                            01/28/22
                              EXHIBIT 1

                         PROPOSED ORDER




{00385603:1}   Case 19-31883-dwh11   Doc 585
                                         572   Filed 02/10/22
                                                     01/28/22
                                  UNITED STATES BANKRUPTCY COURT

                                            DISTRICT OF OREGON


                                                            Bankruptcy Case Nos.
         In re:
                                                            19-31883-dwh11 (Lead Case)
         15005 NW CORNELL LLC; and                          19-31886-dwh 11
         VAHAN M. DINIHANIAN, JR.,
                                                            Jointly Administered Under Case No.
                                Debtors.                    19-31883-dwh11

                                                            ORDER AUTHORIZING DEBTORS TO
                                                            OBTAIN FINANCING


                  THIS MATTER having come before the Court on February 2, 2022, upon the Joint

        Motion for Authority to Obtain Financing (the “Motion”); notice of the Motion having been

        given pursuant to Bankruptcy Rule 4001(c) and LBR 4001-1(c); the Court having considered the

        arguments of counsel and all relevant pleadings, exhibits, and documents of record in this case,

        and the representation of counsel at the time of hearing; now, therefore,
        {00385603:1}
Page 1 of 5 ORDER AUTHORIZING DEBTORS TO OBTAIN FINANCING                               MOTSCHENBACHER & BLATTNER LLP
                                                                                          117 SW Taylor Street, Suite 300
                                                                                              Portland, Oregon 97204
{00385603:1}                                                                                   Phone: 503-417-0500
                                                                                                Fax: 503-417-0501
                                                                                                www.portlaw.com

                              Case 19-31883-dwh11        Doc 585
                                                             572      Filed 02/10/22
                                                                            01/28/22
                                                    FINDINGS

                 The Court finds as follows:

                 1)     Debtors 15005 NW Cornell LLC (“15005 LLC”) and Vahan M. Dinihanian

        (“Debtors”) each filed a voluntary petition (the “Bankruptcy Cases”) for relief under Chapter 11

        of the Bankruptcy Code on May 21, 2019 (the “Petition Date”).

                 2)    Debtors continue in possession of their property and are continuing to operate and

        manage its business as debtor-in-possession pursuant to Sections 1107(a) and 1108 of the

        Bankruptcy Code. 15005 LLC’s primary asset is its 25% tenant in common interest in the real

        property and improvements located at 15005 NW Cornell Road, Beaverton, Oregon (the

        “Cornell Property”).

                 3)    The Court has jurisdiction over this matter pursuant to 28 U.S.C. §§ 157(b) and

        1334. This is a core proceeding pursuant to 28 U.S.C. § 157(b).

                 4)    SORFI, LLC (“SORFI”) has agreed to extend a post-petition loan (the “Loan”) to

        Debtors on a secured basis pursuant to 11 U.S.C. § 364(c)(2) on the terms set forth in the Term

        Sheet attached hereto as Exhibit A (the “Term Sheet”) and the Loan Documents attached hereto

        as Exhibits C through I (the “Loan Documents”).

                 5)    SORFI is financially capable of funding the Loan on the terms stated in the Loan

        Documents. Such capability is demonstrated by Exhibit B hereto.

                 6)    Debtors contend the Loan is necessary to fund the cure of amounts due under a trust

        deed that is secured by 15005 LLC’s tenant in common interest in the Cornell Property. The

        foreclosure of 15005 LLC’s interest in the Cornell Property is scheduled to occur on February 9,

        2022 at 11:00 am (the “Foreclosure Sale”). The Foreclosure Sale, if it is completed, will result


        {00385603:1}
Page 2 of 5 ORDER AUTHORIZING DEBTORS TO OBTAIN FINANCING                                MOTSCHENBACHER & BLATTNER LLP
                                                                                           117 SW Taylor Street, Suite 300
                                                                                               Portland, Oregon 97204
{00385603:1}                                                                                    Phone: 503-417-0500
                                                                                                 Fax: 503-417-0501
                                                                                                 www.portlaw.com

                              Case 19-31883-dwh11         Doc 585
                                                              572     Filed 02/10/22
                                                                            01/28/22
        in the loss of the primary property owned by the 15005 LLC bankruptcy estate, the loss of

        Debtors’ ability to fund payments to their creditors and the loss of any potential value for equity.

                 7)    Debtors are able to obtain funding in the form of the Loan from SORFI sufficient to

        cure the amounts due under the trust deed and prevent the Foreclosure Sale. Debtors are unable

        to obtain adequate financing on equal or more favorable terms than those offered by SORFI.

                 8)    Debtors believe the proposed terms and conditions of the financial accommodations

        provided in the Term Sheet and Loan Documents are fair and equitable, and in the best interest

        of Debtors’ estates.

                 9)    Absent the Loan and the ability to cure the trust deed to prevent the Foreclosure

        Sale, the Debtors’ estates are likely to suffer immediate and irreparable harm.

                 Based on the foregoing, good cause exists to grant the Motion on an interim basis and to

        enter this Interim Order. Now, therefore,

                 IT IS HEREBY ORDERED as follows:

                 a)    The Motion is GRANTED;

                 b)    Debtors are authorized to execute, if not previously executed, and deliver to SORFI,

        the Loan Documents and other loan documents incidental thereto;

                 c)    Debtors are authorized to incur indebtedness under the terms of the Loan

        Documents and otherwise make such payments and perform such obligations as required or

        permitted under the terms of the Loan Documents, specifically including payments of amounts

        necessary to cure the trust deed and to terminate the February 9, 2022 trust deed Foreclosure Sale

        of the 15005 LLC’s tenant in common interest in the Cornell Property;

                 d)    Debtors are granted authority, pursuant to Section 364(c)(2) of the Bankruptcy

        Code, to execute and deliver deeds of trust or other security documents to SORFI, to provide
        {00385603:1}
Page 3 of 5 ORDER AUTHORIZING DEBTORS TO OBTAIN FINANCING                                 MOTSCHENBACHER & BLATTNER LLP
                                                                                            117 SW Taylor Street, Suite 300
                                                                                                Portland, Oregon 97204
{00385603:1}                                                                                     Phone: 503-417-0500
                                                                                                  Fax: 503-417-0501
                                                                                                  www.portlaw.com

                               Case 19-31883-dwh11         Doc 585
                                                               572     Filed 02/10/22
                                                                             01/28/22
        liens against the Collateral, as specified in the Term Sheet and the Loan Documents;

                 e)    If any or all provisions of this Order are hereafter reversed, modified, vacated or

        stayed by any subsequent order of this Court, such reversal, modification, vacation or stay shall

        not affect the validity of any obligation to SORFI that is or was incurred by Debtors pursuant to

        this Order, and that is or was incurred prior to the effective date of such reversal, modification,

        vacation or stay. Such reversal, modification, vacation or stay shall not affect the validity and

        enforceability of any priority authorized or granted by this Order; and

                 f)    Until the Bankruptcy Cases are closed, the Debtors, in their monthly operating

        reports under FRBP 2015, shall include a summary of the amounts advanced by SORFI pursuant

        to this Order, the date(s) of such advances, and the outstanding balance owed to SORFI. ###




        {00385603:1}
Page 4 of 5 ORDER AUTHORIZING DEBTORS TO OBTAIN FINANCING                                  MOTSCHENBACHER & BLATTNER LLP
                                                                                             117 SW Taylor Street, Suite 300
                                                                                                 Portland, Oregon 97204
{00385603:1}                                                                                      Phone: 503-417-0500
                                                                                                   Fax: 503-417-0501
                                                                                                   www.portlaw.com

                              Case 19-31883-dwh11          Doc 585
                                                               572      Filed 02/10/22
                                                                              01/28/22
                 We certify that we have complied with the requirements of LBR 9021-1(a)(2)(A).

        PRESENTED BY:

         MOTSCHENBACHER & BLATTNER LLP                    PERKINS COIE LLP

         /s/ Nicholas J. Henderson                        By: /s/ Douglas R. Pahl
         Nicholas J. Henderson, OSB #074027                   Douglas R. Pahl, OSB No. 950476
         nhenderson@portlaw.com                               DPahl@perkinscoie.com
         117 SW Taylor St., Suite 300                         1120 N.W. Couch Street, Tenth Floor
         Portland, OR 97204                                   Portland, OR 97209-4128
         Telephone: (503) 417-0508                            Telephone: 503.727.2000
         Facsimile: (503) 417-0528                            Facsimile: 503.727.2222

         Of Attorneys for Vahan M. Dinihanian, Jr.       Of Attorneys for 15005 NW Cornell LLC


        PARTIES TO SERVE:

         VIA CM/ECF:                                     VIA FIRST-CLASS MAIL:

         All CM/ECF participants.                        All parties listed on the most current mailing
                                                         matrix maintained by the Court.




        {00385603:1}
Page 5 of 5 ORDER AUTHORIZING DEBTORS TO OBTAIN FINANCING                              MOTSCHENBACHER & BLATTNER LLP
                                                                                         117 SW Taylor Street, Suite 300
                                                                                             Portland, Oregon 97204
{00385603:1}                                                                                  Phone: 503-417-0500
                                                                                               Fax: 503-417-0501
                                                                                               www.portlaw.com

                             Case 19-31883-dwh11        Doc 585
                                                            572     Filed 02/10/22
                                                                          01/28/22
     Exhibit A




Case 19-31883-dwh11   Doc 585
                          572   Filed 02/10/22
                                      01/28/22
Term Sheet Date:                     January 28, 2022

15005 NW Cornell, LLC
c/o Vahan M. Dinihanian, Jr.
237 NW Skyline Boulevard
Portland, Oregon 97210

                                     Secured Financing
                               Summary of Terms and Conditions


 Lender:                         SORFI, LLC, its successors and/or assigns.

 Borrower:                       15005 NW Cornell, LLC, an Oregon limited liability company, a
                                 Debtor-in-Possession under Chapter 11 of the Bankruptcy Code as
                                 Case Number 19-31833-dwh11.

 Guarantor:                      Vahan M. Dinihanian, Jr., (“Dinihanian”) an individual and Debtor
                                 under Chapter 11 of the Bankruptcy Code as Case Number 19-
                                 31886-dwh11 and Eagle Holdings LLC.

 Bankruptcy Cases:               Case Number 19-31833-dwh11 and Case Number 31886-dwh11.

 Loan Amount:                    $4,960,000

 Collateral:                     All of the Borrower’s rights, title and interest in the real property and
                                 improvements located at 15005 NW Cornell Road, Beaverton,
                                 Washington County, Oregon (“Cornell Property”) (currently a
                                 twenty-five percent tenant in common interest), and all of the
                                 Limited Guarantor’s rights, title and interest in the real property
                                 located at 237 NW Skyline Road, Portland, Multnomah County,
                                 Oregon (“Skyline Property”) (collectively, the “Collateral”). For the
                                 avoidance of doubt, following any partition order entered in relation
                                 to the Cornell Property, the Lender will accept the final, non-
                                 appealable order of the court with respect to partitioning such that
                                 the Collateral interest in the Cornell Property shall be limited to that
                                 portion of the Cornell Property in which Borrower retains a
                                 continuing post-partition interest.

 Loan Term/Maturity:             Seven hundred and thirty days (730) days commencing on the date
                                 of funding of the Loan, at which date the Loan shall mature and
                                 become payable in full.

 Extensions:                     Borrower shall have the right to extend the Loan Term for two (2)
                                 additional six (6) month periods (“Extended Loan Term”), subject to
                                 the following:




                                            Page 1 of 6


                     Case 19-31883-dwh11          Doc 585
                                                      572       Filed 02/10/22
                                                                      01/28/22
                                 a) Borrower shall not have been in default, including
                                    applicable cure periods, at any time during the Loan Term
                                    and any Extended Loan Term;
                                 b) There have been no material negative changes in the
                                    Collateral, the Borrower, and the Guarantor;
                                 c) Borrower shall notify Lender in writing not less than thirty
                                    (30) days prior to expiration of the then current Loan Term
                                    of its intent to extend the Loan (the “Extension Notice”);
                                 d) Borrower shall pay an “Extension Fee” equal to 1.50% of
                                    the Loan’s outstanding principal balance concurrent with the
                                    Extension Notice; and
                                 e) Borrower shall replenish any necessary reserves required by
                                    Lender in Lenders sole discretion for the Extended Loan
                                    Term concurrent with the Extension Notice.

Amortization:                Interest Only.

Payments:                    Interest will be payable monthly, in arrears, on the 1st day of each
                             month until the Maturity Date, shall be prorated for any partial
                             months and interest shall be drawn from the Interest Reserve.

                             The Loan Documents shall provide for (a) a late charge of 5.00% of
                             any payment not received by the due date, (b) default interest of
                             24.00% upon and during an Event of Default, (c) the right of Lender
                             to accelerate the Loan without notice or grace periods in the event of
                             a payment default and (d) for additional remedies typical of a
                             transaction of this nature.

Interest Rate:               12.00%

Origination Fee:             Borrower shall pay Lender an Origination Fee equal to 3.00% of the
                             Loan Amount. which shall be due and payable at Closing
                             (“Origination Fee”).

Exit Fee:                    Borrower shall pay Lender an Exit Fee equal to 3.00% of the Loan
                             Amount. which shall be due and payable upon the earlier of (i) the
                             Maturity Date, or (ii) the earlier acceleration of the Loan (“Exit
                             Fee”).

Underwriting Fee:            Borrower shall pay Lender an Underwriting Fee equal to $15,000,
                             which shall be due and payable at Closing (“Underwriting Fee”).

Prepayment:                  During the Loan Term, Borrower will be allowed to prepay the Loan
                             Amount, in full, at any time, provided Lender is repaid all
                             outstanding principal, accrued interest through the date of such
                             repayment, and any and all fees and expenses then due and owing.

Assumption:                  The Loan may not be assumed.




                                              Page 2 of 6


                    Case 19-31883-dwh11        Doc 585
                                                   572      Filed 02/10/22
                                                                  01/28/22
Transfer Provisions:          The Borrower may not transfer, pledge, assign, hypothecate or
                              encumber, in part or whole, any direct or indirect equity interests in
                              the Borrower.

Guarantor:                    The Loan will be full recourse as to both Eagle Holdings and
                              Dinihanian. The loan documents will provide that Dinihanian and
                              the Borrower will be personally liable for losses incurred by Lender
                              as a result of fraud or intentional misrepresentation by Borrower or
                              any guarantor in connection with the Loan; the gross negligence or
                              willful misconduct of Borrower; the breach of any representation,
                              warranty, covenant or indemnification concerning hazardous
                              substances; the removal or disposal of any portion of the Property
                              after the occurrence of a default; the misapplication or conversion by
                              Borrower of any insurance proceeds or any awards in connection
                              with the condemnation of the Properties; and failure by Borrower to
                              pay charges for labor or materials or other charges that can create
                              Liens on any portion of the Properties.

                              The Loan shall be fully recourse to Dinihanian and Borrower in the
                              event that the first full monthly payment of principal and interest is
                              not paid when due; Borrower fails to permit on-site inspections of
                              the Property, fails to provide financial information or fails to
                              maintain its status as a single purpose entity; Borrower fails to obtain
                              Lender’s prior consent to any subordinate financing or other
                              voluntary Lien encumbering the Property; Borrower fails to obtain
                              Lender’s prior consent to any assignment, transfer, or conveyance of
                              the Property; Borrower files a voluntary petition under the
                              Bankruptcy Code or any other Federal or state bankruptcy or
                              insolvency law or Borrower files an answer consenting to or
                              otherwise acquiescing in or joining in any involuntary petition filed
                              against it under the Bankruptcy Code or any other Federal or state
                              bankruptcy or insolvency law (other than the Bankruptcy Cases).

Security for Loan:            The Loan shall be secured by a first deed of trust or first mortgage
                              and a perfected first security interest in the Collateral, all leases,
                              rents, income and profits therefrom, and all personal property, both
                              tangible and intangible (including replacements, substitutions and
                              after-acquired property) located thereon or used or intended to be
                              used in connection therewith.

Subordinate Financing:        No secondary financing or encumbrance, either secured or
                              unsecured, of any kind shall be permitted during the Loan Term other
                              than trade payables incurred in the Borrower’s normal course of
                              business.

Closing Date:                 One business day after the entry of an order of the Bankruptcy Court
                              authorizing the financing described herein.

Interest Reserve:             Lender shall reserve $1,210,000 of the Loan Amount for funding the
                              payment of interest due under the Loan.


                                             Page 3 of 6


                     Case 19-31883-dwh11       Doc 585
                                                   572       Filed 02/10/22
                                                                   01/28/22
Working Capital Reserve:     Lender shall reserve $100,000 of the Loan Amount for funding the
                             payment of development costs, including but not limited to insurance
                             premiums, real estate taxes, studies, reports, surveys, and other costs
                             deemed necessary to preserve, maintain or support the value of the
                             Collateral.

Material Adverse Change:     Lender shall have no obligation to close and fund the Loan if, at any
                             time prior to funding, Lender determines, in its sole judgment, that
                             there shall exist any material adverse circumstances or conditions
                             regarding or shall have occurred any material adverse change with
                             respect to, the Collateral or its tenants, or the operations, business,
                             assets, liabilities or condition (financial or otherwise) of Borrower,
                             Limited Guarantor or any of their affiliates.

Interest Calculation:        Interest will be calculated on the basis of a 360-day year but charged
                             for the actual days elapsed.

Closing Costs/Legal Fees:    From the loan proceeds, Borrower shall pay at Closing, the out-of-
                             pocket expenses incurred by Lender in connection with the proposed
                             Loan. Expenses shall include, but not be limited to, the fees and
                             expenses that Lender may incur for outside legal counsel, fees of all
                             third parties relating to the due diligence review to be undertaken by
                             Lender and its third party consultants, title insurance, insurance
                             review costs, the costs of reviewing operating statements, the cost of
                             an appraisal, environmental reports, engineering and structural
                             reports, zoning reports, survey updating and certificate, construction
                             review costs and travel costs of Lender’s personnel and recordation
                             costs.

Brokers:                     Borrower represents and warrants to Lender that neither it, nor any
                             affiliate has engaged any broker, agent or finder to procure the
                             proposed Loan contemplated by this Term Sheet or to otherwise
                             finance the Collateral. Borrower hereby agrees to indemnify and hold
                             harmless Lender and its affiliates against any and all loss, cost,
                             damage, liability or expense incurred by Lender or its affiliates arising
                             out of, or in connection with, a breach of the representations and
                             warranties set forth in this paragraph.

Loan Documents:              Not later than three (3) days after execution of this Term Sheet, all
                             loan documents, including without limitation, the promissory note,
                             loan agreement, mortgage, deed of trust or security deed, fixture
                             filing, assignment of leases and rents, pledge and security agreement,
                             UCC financing statements, environmental and building laws
                             indemnity and any other documents required by Lender (collectively,
                             “Loan Documents”), shall be prepared by counsel for Lender and
                             shall be in all respects in form and substance satisfactory to Lender in
                             its sole discretion. The Loan Documents shall be filed with the
                             Bankruptcy Court and served on parties requesting special notice. The
                             Loan Documents will contain representations, warranties and


                                            Page 4 of 6


                    Case 19-31883-dwh11       Doc 585
                                                  572       Filed 02/10/22
                                                                  01/28/22
                              covenants of Borrower appropriate or customary for similar
                              transactions. The parties to this Term Sheet have included the primary
                              terms of the anticipated loan facility and anticipate such terms will be
                              included in the Loan Documents. No further agreements or
                              documents pertaining to the secured credit facility described in this
                              Term Sheet have been reached or exist.

Events of Default:            The Loan Documents will provide that certain acts, omissions or
                              events constitute “Events of Default” including, but not limited to: the
                              failure to pay the Loan in full by the Maturity Date; failure to make
                              any required monthly payment of principal or interest or any other
                              payment required under the Loan Documents when due; failure to
                              perform any other covenant, agreement or obligation to be performed
                              by Borrower under the Loan Documents if such failure is not cured
                              within thirty (30) days after written notice thereof; the occurrence of
                              any default by Borrower with respect to hazardous substances; the
                              occurrence of any transfer of the Properties or interests in the
                              Borrower without Lender’s consent; any representation or warranty
                              made by Borrower or Guarantor proves to be false or misleading in
                              any material respect; the filing of a complaint for receivership or the
                              filing of a voluntary or involuntary petition for bankruptcy or for
                              reorganization with respect to Borrower or any Guarantor (other than
                              the Bankruptcy Cases); a final judgment, order, or decree for the
                              payment of money is rendered against Borrower or any Guarantor,
                              and Borrower or such Guarantor does not satisfy and pay the same or
                              cause it to be discharged within thirty (30) days from the entry thereof;
                              Borrower fails to maintain any of the insurance coverage required
                              under the Loan Documents; the occurrence of an uninsured casualty
                              with respect to any material portion of the Properties; or the Properties
                              or any part thereof is condemned or taken in any eminent domain or
                              other like proceeding. Lender will have all rights and remedies under
                              applicable law and agree, in the event of a foreclosure of the Cornell
                              Property, to provide notice required by law, as well as to parties to the
                              TIC agreement.

Assignability:                This Term Sheet may not be assigned, in whole or in part, by
                              Borrower, by operation of law or otherwise, and is intended for the
                              benefit of the parties hereto and not for the benefit of any third parties.

Governing Law:                This Term Sheet and the Loan Documents shall be governed by, and
                              construed in accordance with, the laws of the State of Oregon, without
                              regard to principles of conflicts of laws.

Conditions Precedent to       Should Borrower receive approval to sell its interest in the Cornell
Closing:                      Property, Borrower shall grant to Lender the right to approve the
                              listing broker to market and sell the Cornell Property in connection
                              with a 363(h) sale.

                              Borrower shall agree to promptly determine (i) whether it is
                              practicable to complete or otherwise resolve the partition litigation


                                             Page 5 of 6


                     Case 19-31883-dwh11       Doc 585
                                                   572       Filed 02/10/22
                                                                   01/28/22
         pending in Washington County within a reasonable period of time or
         (ii) whether to instead pursue the sale of the entirety of the real
         property located at 15005 NW Cornell Road, Beaverton, Oregon,
         pursuant to Section 363(h) of the Bankruptcy Code. The criteria used
         will include the length of time required to complete the proposed
         partition, the difficulty and expense involved in pursuing the partition
         if the co-owners of the Cornell Property oppose partition, the appeal
         of any judgment in the partition litigation, or if the co-owners
         otherwise seek to block or thwart Borrower’s efforts to finalize the
         partition of the Cornell Property in state court or before Washington
         County officials.




                        Page 6 of 6


Case 19-31883-dwh11      Doc 585
                             572       Filed 02/10/22
                                             01/28/22
     Exhibit B




Case 19-31883-dwh11   Doc 585
                          572   Filed 02/10/22
                                      01/28/22
Case 19-31883-dwh11   Doc 585
                          572   Filed 02/10/22
                                      01/28/22
Case 19-31883-dwh11   Doc 585
                          572   Filed 02/10/22
                                      01/28/22
Case 19-31883-dwh11   Doc 585
                          572   Filed 02/10/22
                                      01/28/22
     Exhibit C




Case 19-31883-dwh11   Doc 585
                          572   Filed 02/10/22
                                      01/28/22
              LOAN AGREEMENT



                     between


           15005 NW CORNELL LLC,
        an Oregon limited liability company,
                        and

            Vahan M. Dinihanian, Jr.,
                 an individual,

                   as Borrower,



                        and



                  SORFI, LLC,
        an Oregon limited liability company,

                     as Lender




Case 19-31883-dwh11       Doc 585
                              572     Filed 02/10/22
                                            01/28/22
                                     LOAN AGREEMENT

THIS LOAN AGREEMENT ("Agreement") is entered into as of February ___, 2022, between
SORFI, LLC, an Oregon limited liability company ("Lender"), and 15005 NW CORNELL LLC,
an Oregon limited liability company, and Vahan M. Dinihanian, Jr. (collectively, the
"Borrower").

                                             Recitals

         Borrower has applied to Lender for a loan ("Loan") in the maximum principal amount of
Four Million Nine Hundred and Sixty Thousand and 00/100 Dollars ($4,960,000.00). Lender
is willing to make the Loan to Borrower on the terms and conditions set out in this Agreement.

                                           Agreement

        NOW THEREFORE, the parties agree as follows:

1.      Definitions.

        The following terms used in this Agreement are defined as follows:

         1.1.    Affiliate means, with respect to a specified Person, any individual, partnership,
corporation, limited liability company, trust, unincorporated organization, association or other
entity which, directly or indirectly, through one or more intermediaries, Controls or is Controlled
by or is under common Control with such Person, including, without limitation, any general or
limited partnership in which such Person is a partner. Affiliate also means, with respect to a
specified individual, the immediate family members of such Person including, without limitation,
their parents, children and siblings.

        1.2.   Anti-Terrorism Laws means any law, rule or regulation relating to terrorism or
money laundering, including, but not limited to, the Anti-Terrorism Order and the Uniting and
Strengthening America by Providing Appropriate Tools Required to Intercept and Obstruct
Terrorism Act of 2001, Public Law 107-56.

         1.3.   Anti-Terrorism Order means Executive Order No. 13,224, 66 Fed. Reg. 49,079
(2001), issued by the President of the United States of America (Executive Order Blocking Property
and Prohibiting Transactions With Persons Who Commit, Threaten to Commit, or Support
Terrorism).

        1.4.    Authorized Representative is defined in Section 10.6 of this Agreement.

        1.5.    Bankruptcy Code is defined in Section 4.5 of this Agreement.

        1.6.    Borrower Closing Expenses is defined in Section 10.11 of this Agreement.

         1.7.   Business Day means any day that is not a Saturday, Sunday or a banking holiday
in Portland, Oregon.

        1.8.    Closing means the date the Deed of Trust is recorded.




                                                  -1-


                  Case 19-31883-dwh11            Doc 585
                                                     572      Filed 02/10/22
                                                                    01/28/22
        1.9.     Condemnation means any taking of title to, use of, or any other interest in the
Property under the exercise of the power of condemnation or eminent domain, whether temporarily
or permanently, by any governmental authority or by any other Person acting under or for the
benefit of a governmental authority.

         1.10. Condemnation Awards means any and all judgments, awards of damages
(including severance and consequential damages), payments, proceeds, settlements, amounts paid
for a taking in lieu of Condemnation, or other compensation heretofore or hereafter made, including
interest thereon, and the right to receive the same, as a result of, or in connection with, any
Condemnation or threatened Condemnation.

         1.11. Control means the possession, directly or indirectly, of the power to direct or cause
the direction of the management or policies of a Person, whether through the ability to exercise
voting power, by contract or otherwise and "Controlling" or "Controlled" have meanings
correlative thereto.

        1.12.   Creditor's Rights Law is defined in Section 4.5 of this Agreement.

        1.13.   Cultivating is defined in Section 4.17 of this Agreement.

         1.14. Cornell Deed of Trust means the Deed of Trust, Assignment of Rents and Leases,
Security Agreement and Fixture Filing of even date herewith from Borrower as grantor, to the Title
Company as trustee in favor of Lender as beneficiary, encumbering the Cornell Property as security
for the Obligations.

         1.15. Skyline Deed of Trust means the Deed of Trust, Assignment of Rents and Leases,
Security Agreement and Fixture Filing of even date herewith from Borrower as grantor, to the Title
Company as trustee in favor of Lender as beneficiary, encumbering the Skyline Property as security
for the Obligations.

        1.16. Default means any event, circumstance or condition which with notice or the
passage of time or both would be an Event of Default under this Agreement.

        1.17.   Default Rate means a per annum rate equal to twenty-four percent (24%).

        1.18. Environmental Law means any federal, state, or local statute, ordinance, rule,
regulation, or other law relating to environmental protection, contamination or cleanup.

      1.19.     ERISA means the Employee Retirement Income Security Act of 1974, as
amended.

        1.20.   Event of Default is defined in Section 8.1 of this Agreement.

        1.21.   Expense Deposit is defined in Section 10.11 of this Agreement.

        1.22.   Grace Period is defined in Section 2.9 of this Agreement.

      1.23. Guarantor means Eagle Holdings, LLC, an Oregon limited liability company, and
Vahan M. Dinihanian, Jr., jointly and severally.




                                                  -2-


                  Case 19-31883-dwh11             Doc 585
                                                      572      Filed 02/10/22
                                                                     01/28/22
        1.24. Guaranty means the Guaranty by Guarantor in favor of Lender of even date
herewith from Guarantor.

      1.25. Hazardous Substance means any substance or material which is now or hereafter
becomes regulated under any Environmental Law.

         1.26. Indebtedness means as to any Person, without duplication: (i) indebtedness for
borrowed money or for the deferred purchase price of property or services (other than non-
delinquent trade payables on terms of sixty (60) days or less incurred in the ordinary course of
business), (ii) the principal portion of obligations as lessee under leases which have been or should
be, in accordance with GAAP, recorded as capital leases, (iii) all contingent obligations of such
Person, (iv) at the date of determination thereof, the aggregate amount which may then be drawn
under, plus the aggregate amount of all unreimbursed drawings in respect of, letters of credit issued
for the account of such Person, and (v) all indebtedness, obligations or other liabilities of such
Person or of others for borrowed money secured by a lien on any property of such Person, whether
or not such indebtedness, obligations or liabilities are assumed by such Person.

        1.27.   Indemnified Party is defined in Section 10.3 of this Agreement.

        1.28. Indemnity Agreement means the Environmental and Building Laws Agreement
and Indemnity of even date herewith from Borrower in favor of Lender.

        1.29. Insurance Proceeds means the insurance claims under and the proceeds of any
and all policies of insurance covering the Property or any part thereof, including all returned and
unearned premiums with respect to any insurance relating to the Property, in each case whether
now or hereafter existing or arising.

        1.30.   Late Charge is defined in Section 2.9 of this Agreement.

         1.31. Laws means all federal, state and local laws, ordinances, regulations, and rules
relating to the development and operation of the Property, including without limitation all building,
zoning, planning, subdivision, fire, traffic, safety, health, disability, labor, discrimination,
environmental, air quality, wetlands, shoreline, and flood plain laws, ordinances, regulations and
rules and all government and private covenants, conditions and restrictions applicable to the
Property.

         1.32. Leases mean all leases and occupancy agreements now or hereafter in effect with
respect to the Improvements.

        1.33. Lender is defined in the opening paragraph of this Agreement and includes
Lender's successors and assigns.

        1.34.   Liens is defined in Section 9.7 of this Agreement.

        1.35.   Loan is defined in the Recitals.

        1.36. Loan Documents means the Note, this Agreement, the Deed of Trust, the
Guaranty, the Indemnity Agreement and all other documents and instruments now or hereafter
executed by Borrower or Guarantor to evidence, secure or guaranty the Loan; provided, however,
that even though the Guaranty and the Indemnity Agreement are included in the definition of Loan
Documents and notwithstanding any other provision of this Agreement or any other Loan



                                                   -3-


                   Case 19-31883-dwh11             Doc 585
                                                       572      Filed 02/10/22
                                                                      01/28/22
Document, the obligations of Guarantor under the Guaranty and the obligations of Borrower under
the Indemnity Agreement are not secured by the Deed of Trust or any other collateral for the
Obligations.

       1.37. Loan Party means Borrower, each Guarantor, any general partner of Borrower and
any manager of Borrower.

        1.38.    Marijuana is defined in Section 4.17 of this Agreement.

        1.39.    Marijuana Related Business is defined in Section 4.17 of this Agreement.

        1.40. Material Adverse Change means a change in the business prospects, operations or
financial condition of a person, entity or property that occurs after the Closing of the Loan that
could impair the value of Lender's security for the Loan, prevent timely repayment of the Loan, or
otherwise prevent the applicable Person from timely performing any of its material obligations
under the Loan Documents, all as determined by Lender in its reasonable discretion.

        1.41.    Maturity Date is defined in Section 2.5 of this Agreement.

        1.42.    Note is defined in Section 2.4(a) of this Agreement.

        1.43.    Notice is defined in Section 10.8 of this Agreement.

        1.44. Obligations mean all amounts now or hereafter payable by Borrower under the
Loan Documents and any and all obligations of Borrower to Lender under or related to any Loan
Document. Notwithstanding the foregoing or any other provision of this Agreement or any other
Loan Document, none of the obligations of Borrower under the Indemnity Agreement are secured
by the Deeds of Trust or any other collateral for the Obligations.

         1.45. Organizational Documents means, with (a) respect to any limited liability
company, its Certificate of Formation or Articles of Organization and its Limited Liability
Company Operating Agreement, (b) with respect to any limited partnership, its Certificate of
Limited Partnership and Limited Partnership Agreement, (c) with respect to any corporation, its
Articles of Incorporation and Bylaws, (d) with respect to any general partnership, its partnership
agreement, (e) with respect to any trust, its trust agreement and any trust certificate, (f) with respect
to any tenancy in common, its tenancy in common agreement, and (g) with respect to each entity,
a certificate of good standing from the state of organization, a certificate of qualification to conduct
business in the state where the Property is located, and such authorizing resolutions, incumbency
certificates and other documents as Lender may require to evidence the due organization and
authority of Borrower, each of its constituent members, managers or partners, and the authority of
each person signing the Loan Documents on behalf of such entity.

          1.46. Person means an individual, a corporation, a partnership, a joint venture, a limited
liability company, a trust, an unincorporated association, any governmental authority or any other
entity.

         1.47. Cornell Property means the real property and personal property encumbered by
the Cornell Deed of Trust. The real property included in the Property is legally described on Exhibit
A to this Agreement.




                                                     -4-


                   Case 19-31883-dwh11              Doc 585
                                                        572       Filed 02/10/22
                                                                        01/28/22
         1.48. Skyline Property means the real property and personal property encumbered by
the Skyline Deed of Trust. The real property included in the Property is legally described on Exhibit
A to this Agreement.

        1.49.   Property means both the Cornell Property and Skyline Property.

       1.50. Related Obligation means any other loan or financial accommodation owing to
Lender by Borrower or Guarantor or any Affiliate of Borrower or Guarantor.

        1.51.   Title Company is defined in Section 3.2 of this Agreement.

        1.52.   Title Policy is defined in Section 3.2 of this Agreement.

        1.53.   Transfer is defined in Section 7 of this Agreement.

2.      Terms of Loan.

        2.1.    Agreement to Lend.

       Lender agrees to make the Loan to Borrower and Borrower agrees to borrow the Loan from
Lender on the terms and conditions set out in this Agreement.

        2.2.    Disbursement of Loan.

        Except as provided herein with respect to the Trust Buy-Out Reserve, Lender shall disburse
the entire proceeds of the Loan to or for the account of Borrower upon Closing of the Loan.
Lender's obligation to disburse the Loan proceeds to Borrower is subject to satisfaction of all of the
terms and conditions set forth in this Agreement. Borrower acknowledges that it has no right to
disbursement of the Loan proceeds if such terms and conditions are not satisfied.

        2.3.    Purpose of Loan.

       The proceeds of the Loan shall be used by Borrower to refinance the Property and for the
payment of transaction costs and other expenses of Borrower as reflected on the Schedule of
Sources and Uses attached as Exhibit B to this Agreement and for such other purposes as have been
approved by Lender.

        2.4.    Loan Documents.

        The Loan shall be evidenced, secured and guaranteed by the following Loan Documents
each of which shall be duly executed and delivered to Lender on or before the Closing of the Loan:

                (a)      A Promissory Note ("Note") payable by Borrower to Lender in the amount
of the Loan.

                  (b)    The Cornell Deed of Trust which shall be a first lien on Borrower's fee-
simple title to the Cornell Property, all fixtures and personal property (tangible or intangible) now
or hereafter used or acquired by Borrower in connection with the ownership, development,
operation or maintenance of the Property, and all leases, rents, revenues, and cash collateral of the
Cornell Property.




                                                   -5-


                   Case 19-31883-dwh11             Doc 585
                                                       572      Filed 02/10/22
                                                                      01/28/22
                  (c)     The Skyline Deed of Trust which shall be a first lien on Borrower's fee-
simple title to the Skyline Property, all fixtures and personal property (tangible or intangible) now
or hereafter used or acquired by Borrower in connection with the ownership, development,
operation or maintenance of the Property, and all leases, rents, revenues, and cash collateral of the
Cornell Property.

                (d)      The Guaranty from Guarantor.

                (e)      The Indemnity Agreement from Borrower.

                 (f)     Such other documents, instruments or certificates as Lender may
reasonably require, including such documents as Lender deems necessary or appropriate to
effectuate the terms and conditions of this Agreement and the Loan Documents, and to comply
with the laws of the State of Oregon.

         Borrower authorizes Lender to file such UCC financing statements as Lender determines
are advisable or necessary to perfect or notify third parties of the security interests intended to be
created by the Loan Documents, which financing statements may describe the collateral as "all
assets" of Borrower.

        2.5.    Maturity.

        The Loan shall be due and payable in full on February 1, 2024.

        2.6.    Interest.

                 (a)     Interest Rate. From the date of this Agreement through the Maturity Date,
interest on the outstanding principal balance of the Loan will accrue at Twelve and 00/100 percent
(12.0%) per annum.

                 (b)     Deposit into Escrow. For any Loan proceeds that are disbursed into
escrow to be released to Borrower at Closing, interest on such funds shall accrue from the date
Lender deposits such funds into escrow, regardless of whether and when Borrower satisfies all
conditions for release of such funds from escrow. Lender shall have no obligation to require the
escrow agent to deposit escrowed funds in an interest-bearing account.

                (c)     Computation. Interest on the Loan will accrue on so much of the principal
balance as is outstanding from time to time and shall be computed on the basis of a 360-day year
and the actual number of days elapsed in the period for which interest is payable.

        2.7.    Payments.
              (a)      Interest Payments. On the first day of each month during the term of the
Loan, Borrower shall pay all interest accrued on the Loan through the last day of the preceding
month.

                  (b)    Payment at Maturity. On the Maturity Date, the unpaid principal balance
of the Loan, all unpaid accrued interest and all other sums then due and owing pursuant to the Note
or the other Loan Documents shall be due and payable in full.

              (c)     Application of Payments. Except as applicable Law or the Deed of Trust
may otherwise provide, all payments received by Lender under the Loan Documents shall be


                                                   -6-


                   Case 19-31883-dwh11             Doc 585
                                                       572      Filed 02/10/22
                                                                      01/28/22
applied by Lender in the following order of priority: (i) expenses incurred by Lender or the trustee
under the Deed of Trust in any efforts to enforce any terms of the Deed of Trust; (ii) interest payable
on advances made to protect Lender’s security; (iii) principal of such advances; (iv) interest and
late charges payable on the Note; (v) principal of the Note; and (vi) any other obligations secured
by the Deed of Trust in such order as Lender, at its option, may determine; provided, however, that
Lender may, at its option, apply any such payments received to interest on or principal of the Note
prior to applying such payments to interest on and principal of advances made to protect the security
of the Deed of Trust.

        2.8.     Prepayment.

         Borrower may prepay the Loan in whole, but not in part, upon thirty (30) days' prior written
notice to Lender, subject to payment of all interest that would accrue on the Loan through the date
of repayment and the Exit Fee. Any applicable prepayment fee shall be due in the event of
prepayment for any reason, including but not limited to an Event of Default, acceleration after an
Event of Default or upon non-judicial or judicial foreclosure, deed in lieu or otherwise in Lender's
sole discretion.

        2.9.     Late Charge.

         If any monthly payment due under Section 2.7 above is not received by Lender by the end of
business on the fifty (5th) day of the month, at the option of Lender, without waiving such Event of
Default or any remedies, a late charge shall be added to the delinquent payment in the amount of five
percent (5%) of the full payment not timely paid (the "Late Charge"). The grace period shall not be
construed as in any way extending the due date of any payment. Any such Late Charge shall be due
and payable on demand. If a Late Charge is not paid within ten (10) days of Lender's demand, the Late
Charge may be added to the principal balance of the Loan, and it shall bear interest at the same rate as
the principal balance of the Loan. Any payment to Lender by check, draft or other item shall be
received by Lender subject to collection and will constitute payment when collected not when received.
The Late Charge is imposed for the purpose of defraying the expenses of Lender incident to handling
such delinquent payment and to compensate Lender for the loss of use of such funds and is in addition
to, and not in lieu of, any other remedy Lender may have and is in addition to any fees and charges
of any agents or attorneys which Lender may employ upon the occurrence of an Event of Default,
whether authorized herein or by Law.

        2.10.    Default Interest.

        After the occurrence of an Event of Default, Lender, in Lender's sole discretion and without
notice or demand, may raise the rate of interest accruing on the outstanding principal balance to the
Default Rate, independent of whether Lender elects to accelerate the outstanding principal balance of
the Loan.

        2.11.    Reserves.

                 (a)    Insurance Reserve.      Unless waived by Lender, Lender shall reserve
and hold in escrow a portion of the Loan proceeds in amount deemed by Lender to be sufficient for
funding payments of insurance premiums related to the Property when such premiums become due.
If Lender determines at any time during the Loan term that the amounts held in such reserve are
insufficient to pay insurance premiums as they become due, Borrower shall, upon demand of
Lender, pay such additional amounts into the reserve as Lender determines in its discretion.




                                                    -7-


                   Case 19-31883-dwh11              Doc 585
                                                        572       Filed 02/10/22
                                                                        01/28/22
                 (b)     Tax Reserve. Unless waived by Lender, Lender shall reserve and hold
in escrow a portion of the Loan proceeds in amount deemed by Lender to be sufficient for funding
payments of property taxes related to the Property when such taxes become due. If Lender
determines at any time during the Loan term that the amounts held in such reserve are insufficient
to pay property taxes as they become due, Borrower shall, upon demand of Lender, pay such
additional amounts into the reserve as Lender determines in its discretion.

                 (c)      Debt Service Reserve. Lender shall reserve and hold in escrow a portion
of the Loan proceeds in the amount of One Million Two Hundred Thousand and no/100 Dollars
($1,200,000.00) to be disbursed to Lender in payment of monthly installments of interest due with
respect to the Loan. If, at any time during the term of the Loan, the Debt Service is not adequate
for payment of interest then due with respect to the Loan, Borrower shall pay all such amount when
due.
                 (d)      Working Capital Reserve.         Lender shall reserve and hold in escrow
a portion of the Loan proceeds in the amount of One Hundred Thousand and 00/100 Dollars
($100,000.00) to be disbursed to Lender in payment of certain development, insurance, property
tax, studies, reports and operating expenses approved by Lender. Lender shall have no obligation
to make disbursements from the Working Capital Reserve until (i) Borrower has established a
working capital budget acceptable to Lender in its sole discretion, and (ii) Borrower has provided
evidence satisfactory to Lender that the expenditures for which Borrower request funding are
ordinary and necessary expenses of Borrower’s business.

        2.12.    Borrower's Obligations Unconditional.

         All sums payable by Borrower under this Agreement or any other Loan Document shall be
paid without notice, demand, counterclaim, setoff, deduction or defense and without abatement,
suspension, deferment, diminution or reduction, and the obligations and liabilities of Borrower
hereunder shall in no way be released, discharged or otherwise affected (except as expressly
provided herein) by reason of: (i) any damage to or destruction of or any Condemnation or similar
taking of the Property or any part thereof; (ii) any restriction or prevention of or interference by
any third party with any use of the Property or any part thereof; (iii) any title defect or encumbrance
or any eviction from the Property or any part thereof by title paramount or otherwise; (iv) any
bankruptcy, insolvency, reorganization, composition, adjustment, dissolution, liquidation or other
like proceeding relating to Lender, or any action taken with respect to the Loan by any trustee or
receiver of Lender, or by any court, in any such proceeding; (v) any claim which Borrower has or
might have against Lender; (vi) any default or failure on the part of Lender to perform or comply
with any of the terms hereof or of any other agreement with Borrower; or (vii) any other occurrence
whatsoever, whether similar or dissimilar to the foregoing and whether or not Borrower shall have
notice or knowledge of any of the foregoing. Except as expressly provided herein, Borrower waives
all rights now or hereafter conferred by statute or otherwise to any abatement, suspension,
deferment, diminution or reduction of any Obligation.

        2.13     Extension Options.

        Borrower shall have two (2) options to extend (the “Options to Extend”) the term of the
Loan from the Maturity Date (as may have been extended) to a date that is six (6) months following




                                                    -8-


                   Case 19-31883-dwh11             Doc 585
                                                       572       Filed 02/10/22
                                                                       01/28/22
the then applicable Maturity Date, upon satisfaction of each and every one of the following
conditions precedent:

                 (a)     Notice. Borrower shall provide Lender with written notice of Borrower’s
request to exercise the Option to Extend not less than thirty (30) days prior to the then-applicable
Maturity Date;

                 (b)     No Default.     As of the date of Borrower’s delivery of notice of request
to exercise the Option to Extend, and as of the then-applicable Maturity Date, no Event of Default
shall have occurred and be continuing beyond the expiration of any applicable cure period;

                 (c)      No Adverse Circumstances.     No event or circumstance affecting
Borrower, Guarantor or the Property shall have caused a Material Adverse Effect on such Party’s
ability to perform its obligations under the Loan Documents;

                (d)    Extension Fee. Simultaneously with notice by Borrower according to
Section 2.13(b), Borrower shall pay to Lender an extension fee in the amount of 1.50% of the
principal amount of the Loan that is outstanding or will be outstanding on the first day of the
extended term following the then-applicable Maturity Date; and

                (e)     Replenish Reserves.      Borrower shall, prior to the then applicable
Maturity Date, replenish any necessary reserves for taxes, insurance premiums and debt service, as
may be required by Lender in its discretion.

3.      Conditions Precedent to Closing.

         Lender shall have no obligation to close the Loan or advance any proceeds of the Loan
unless each of the following conditions has been satisfied by the date of this Agreement. Each of
the conditions is for the benefit of Lender and may be waived by Lender, but only if the waiver is
in writing and signed by Lender. All of the documents and agreements required below shall be in
form and substance satisfactory to Lender in its sole discretion.

        3.1.     Loan Documents.

        The Loan Documents shall have been duly executed by all parties thereto and where
appropriate delivered, filed and recorded.

        3.2.     Title Insurance.

         Lender shall have received the Title Company's unconditional commitment to issue an
ALTA lender's extended coverage title insurance policy in the full amount of the Loan, insuring
Lender as the holder of the Deed of Trust with first lien priority on the fee simple title to the
Property, together with such re-insurance and co-insurance agreements as Lender may require (the
"Title Policy"). The Title Policy shall be issued by a title company acceptable to Lender (the "Title
Company") and shall contain such endorsements as Lender may require. Any title exceptions will
be subject to Lender's approval. Without limiting the foregoing, the Title Policy shall insure that
(i) the Property is free of the possibility of any prior mechanic's or material supplier liens, and (ii)
all taxes and assessments affecting the Property that were due and payable on or before the date of
Closing of the Loan have been paid in full.




                                                    -9-


                   Case 19-31883-dwh11              Doc 585
                                                        572       Filed 02/10/22
                                                                        01/28/22
        3.3.     Property Documents.

        Lender shall have received and approved all of the following:

                 (a)     Appraisal. If required by Lender, a current Appraisal of the Property.

                  (b)     Survey. If required by Lender or if required by the Title Company to issue
the Title Policy in the form required by Lender, an ALTA/NSPS land title survey of the Property
certified by a licensed surveyor or engineer, which shall be in form and content acceptable to the
Title Company to remove the survey exception to the Title Policy and issue all endorsements
required by Lender. The survey shall show the compass bearing, the legal description, the
dimensions, boundaries and total square foot area of the Property, the location of any existing
improvements, all interior lot lines, easements, and utilities, the location of adjoining streets, and
the distance to and the name of the nearest intersecting street.

                  (c)      Environmental Report. If required by Lender, a Phase I Environmental
Report prepared in accordance with ASTM's Standard Practices for Environmental Assessments
from a geotechnical engineer or other Person approved by Lender verifying that, after investigation
into the prior uses of the Property, there is no material possibility that the Property is contaminated
by Hazardous Substances, or that Hazardous Substances have been generated, stored or disposed
of on or under the Property in an unlawful or potentially dangerous manner.

                 (d)     Soil Report. If required by Lender, a soils and/or seismic report with
respect to the Property.

               (e)     Property Condition Report. If required by Lender, a report from an
engineer or architect approved by Lender regarding the condition and structural integrity of
building improvements.

               (f)      Permits. Copies of all permits, approvals and clearances required for
Borrower’s current or planned operation, use and occupancy of the Property.

                (g)      Utilities. Evidence that all utilities, including water, sewer, gas and
electric power, are available to the Property and are of sufficient size and capacity to serve the
Property.

                (h)      Subdivision Compliance. Evidence that the Property is one or more legal
lots and otherwise in compliance with all applicable laws, ordinances and regulations respecting
subdivision and platting.

                  (i)    Abutting Streets. Evidence that all streets adjoining the Property have
been completed, dedicated and accepted for maintenance and public use by the appropriate
governmental authorities and the Property is contiguous to a publicly dedicated street, road or
highway, or that an easement creating a perpetual right of public access to a publicly dedicated
street, road or highway is in effect.

                 (j)     Zoning. Evidence that the Property is zoned for its current and intended
use.




                                                   - 10 -


                   Case 19-31883-dwh11             Doc 585
                                                       572       Filed 02/10/22
                                                                       01/28/22
        3.4.     Insurance Requirements.

        Lender shall have received and approved such documentation and information as it may
require to assure that Borrower is fully in compliance with the insurance requirements set out in
Section 5 below.

        3.5.     Organizational Documents.

        Lender shall have received and approved Organizational Documents for Borrower, all
entity Guarantors, and such direct and indirect partners, members and managers of Borrower and
any entity Guarantor as Lender may require. Without limiting the general nature of the foregoing,
Lender shall have received copies of a fully executed membership interest purchase agreement, a
fully executed assignment of membership interest and a fully executed amendment to, or amended
and restated operating agreement, all pertaining to the Borrower and evidencing the transfer of
membership interests such that the sole remaining member of Borrower is Eagle Holdings LLC, an
Oregon limited liability company. Delivery of the originals of such documents shall be contingent
only upon payment of a fixed sum from the proceeds of the Loan.

        3.6.     Financial Information.

        Lender shall have received and approved current financial statements of Borrower and all
Guarantors, certified as complete and correct by Borrower or such Guarantor, as applicable,
together with such other financial information as Lender may request regarding Borrower and
Guarantors.

        3.7.     No Litigation.

        Other than the Borrower’s bankruptcy cases and the partition action in Washington County,
there shall be no litigation pending against Borrower or any Guarantor, which in the sole opinion
of Lender, could result in a material adverse effect on the Property or on Borrower's or any
Guarantor's ability to perform its obligations under the Loan Documents.

        3.8.     No Condemnation or Casualty.

        No eminent domain proceeding that in any way affects the Property shall be pending or
threatened and there shall have been no material damage to the Property from any casualty.

        3.9.     Payment of Origination Fee.

         Borrower shall have paid Lender an origination fee in the amount of three percent (3.0%)
of the principal amount of the Loan.

        3.10.    Payment of Underwriting Fee.

        Borrower shall have paid Lender an underwriting fee in the amount of Fifteen Thousand
and 00/100 Dollars ($15,000.00).

        3.11.    Payment of Lender's Expenses.

        Borrower has paid, or will pay at Closing, in immediately available funds, all legal,
appraisal, and inspection fees; title insurance and survey costs; recording and filing fees; real estate



                                                    - 11 -


                   Case 19-31883-dwh11              Doc 585
                                                        572       Filed 02/10/22
                                                                        01/28/22
commissions; hazard and liability insurance premiums and property taxes and assessments on the
Property; and any and all other charges or expenses incurred by Lender in connection with the Loan
or the preparation of the Loan Documents. Borrower shall indemnify, defend with counsel selected
by Lender in its sole discretion, and hold Lender harmless from and against any and all claims for
such fees, charges, commissions, taxes, or other expenses of any kind in any way connected with
the Loan.

        3.12.   No Adverse Change.

        At the date of Closing of the Loan, the financial condition and credit of Borrower and each
Guarantor and all information relating to the Property and the condition of the Property shall be as
represented to Lender without any material adverse change and there shall have been no material
adverse change in the current or prospective value of the Property as set out in the Appraisal.

        3.13.   Representations and Warranties.

        All of Borrower's and Guarantor’s representations and warranties to Lender contained in
this Agreement and the other Loan Documents shall be true in all material respects.

        3.14.   Absence of any Default.

        Borrower and Guarantor shall be in full compliance with all of their covenants and
obligations under the Loan Documents and there shall be no Default or Event of Default.

        3.15.   Other Documents and Information.

         Lender shall have received and approved such other documents and information as it may
require regarding the Property, or any Loan Party.

4.      Borrower's Representations and Warranties.

         Borrower makes the following representations and warranties to Lender which shall be true
as of the date of this Agreement and as of the date of any disbursement of the proceeds of the Loan:

        4.1.    Organization.

         Borrower is a limited liability company duly organized and validly existing under the laws
of the State of Oregon. Borrower is managed by Vahan M. Dinihanian, Jr., who is the only manager
of such Borrower. As of the date of this Agreement, the only member of Borrower is Eagle
Holdings LLC, an Oregon limited liability company.

        4.2.    Financial Statements; Indebtedness.

        Borrower and each Guarantor have furnished to Lender (i) current financial statements that
have been prepared in accordance with generally accepted accounting principles consistently
followed (or such variations thereof as may have been explained to and approved by Lender in
writing), and (ii) Liquidity statements, tax returns and such other financial information as may be
required by Lender, and such information is true and correct, fairly presents the financial condition
of Borrower and each Guarantor as of the applicable date and the results of its operations for the
applicable period. Borrower and each Guarantor have filed all federal, state, and other tax returns
required to be filed by them. The IRS has not asserted any liability for taxes in excess of those



                                                  - 12 -


                   Case 19-31883-dwh11            Doc 585
                                                      572       Filed 02/10/22
                                                                      01/28/22
already paid by Borrower and each Guarantor and their assets are free of any federal or state tax
liens. As of the date of this Agreement, except as has been disclosed to Lender in writing, neither
Borrower nor any Guarantor has any Indebtedness other than the Indebtedness shown on such
financial statements. There has been no Material Adverse Change in the financial condition of
Borrower or Guarantor since the date of the financial statements provided to Lender.

        4.3.    No Litigation; No Default.

        Other than the Borrower’s bankruptcy cases and the partition action in Washington County,
there are no litigation or administrative proceedings pending, nor to the knowledge of Borrower
threatened, which could adversely affect any Loan Party or the Property, and no Loan Party is in
default with respect to any contract, agreement, or other instrument, or any order, writ, injunction,
decree, or demand of any court or administrative agency.

        4.4.    Taxes.

        Borrower and each Guarantor have paid all license, franchise, and other taxes, fees, duties
or charges, levied, assessed or imposed upon them, or upon any of their properties, of whatsoever
kind or description, which are due and payable.

        4.5.    Financial Condition; Solvency.

         No Loan Party has entered into the transaction evidenced by this Agreement or executed
the Note, this Agreement or any other Loan Documents with the actual intent to hinder, delay or
defraud any present or future creditor of such Loan Party and each Loan Party has received
reasonably equivalent value in exchange for its obligations under the Loan Documents. No Loan
Party (a) is "insolvent" as that term is defined in Section 101(32) of the United States Bankruptcy
Code, Title 11 U.S.C. (the "Bankruptcy Code"), Section 2 of the Uniform Fraudulent Transfer Act
("UFTA") or Section 2 of the Uniform Fraudulent Conveyance Act ("UFCA"), (b) has
"unreasonably small capital," as that term is used in Section 548(a)(1)(B)(ii)(II) of the Bankruptcy
Code or Section 5 of the UFCA, (c) is engaged or about to engage in a business or a transaction for
which its remaining property is "unreasonably small" in relation to such business or transaction as
that term is used in Section 4 of the UFTA, or (d) is unable to pay its debts as they mature or become
due, within the meaning of Section 548(a)(1)(B)(ii)(II) of the Bankruptcy Code, Section 4 of the
UFTA and Section 6 of the UFCA. (As used in this Section, all terms used or defined in the
Bankruptcy Code, UFTA or UFCA shall be subject to the statutory definitions and interpretive case
law applicable thereto.) No petition in bankruptcy has been filed against any Loan Party in the last
ten (10) years, and no Loan Party in the last ten (10) years has taken advantage of any law of any
jurisdiction, domestic or foreign, relating to bankruptcy, insolvency, reorganization,
conservatorship, receivership, arrangement, adjustment, winding-up, liquidation, dissolution,
assignment for the benefit of creditors, composition or other relief with respect to its debts or
debtors ("Creditors Rights Laws"). No Loan Party is contemplating either the filing of a petition
by it under any Creditors Rights Laws or the liquidation of all or the majority of the present fair
market value of its assets or property, and no Loan Party has any knowledge nor has any reason to
believe that any of its creditors will exercise or is contemplating exercising any of such creditor's
rights under any Creditors Rights Laws.

        4.6.    Enforceability of Loan Documents.

        The Loan and the execution, delivery, and performance of the Loan Documents have been
duly authorized by all necessary action, and the obligations of Borrower and each Guarantor under



                                                   - 13 -


                   Case 19-31883-dwh11             Doc 585
                                                       572      Filed 02/10/22
                                                                      01/28/22
the Loan Documents constitute the legal, valid, and binding obligations of Borrower and each
Guarantor, enforceable in accordance with their terms.

        4.7.     No Conflict.

        The execution, delivery, and performance of the Loan Documents by Borrower and each
Guarantor do not conflict with or violate any federal, state or local law or regulation, or any
contract, agreement, or other instrument applicable to Borrower or to which Borrower is bound.

        4.8.     No Consents.

        No consent, approval, authorization, or order of any court or governmental agency is
required for the performance by Borrower or any Guarantor of their obligations under the Loan
Documents which has not been obtained.

        4.9.     No Commencement of Construction.

        At the date of recordation of the Deed of Trust no construction has commenced and no
materials have been delivered which would give anyone the right to claim a lien against the
Property.

        4.10.    Services.

          All streets, easements, utilities, and related services necessary for the intended use of the
Property purpose are available, including water, storm and sanitary sewers, electric and telephone
facilities, and garbage removal.

        4.11.    Subdivision.

       The Property consists of one or more legally subdivided and segregated lots and may be
mortgaged, conveyed, and otherwise dealt with as a separate lot or parcel.

        4.12.    No Condemnation or Casualty.

        Borrower has received no notice of pending or threatened eminent domain proceedings that
in any way affect the Property and there has been no material damage to the Property from any
casualty.

        4.13.    Permits.

        To the best of Borrower’s knowledge, all certificates of occupancy and other licenses and
approvals necessary or required in connection with the use and occupancy of the Property have
been validly issued and are in full force and effect.

        4.14.    Use of the Property.

        To the best of Borrower’s knowledge, the Property and the use of the Property is currently
in compliance with and does not violate any Laws, building permits, restrictions of record, or
agreements affecting the Property or any part thereof. To the best of Borrower’s knowledge, no
zoning authorization, approval or variance, nor any other right to operate or to use the Property, is
to any extent dependent upon or related to any real estate other than the Property other than rights
provided through easements appurtenant to the Property.


                                                   - 14 -


                   Case 19-31883-dwh11             Doc 585
                                                       572       Filed 02/10/22
                                                                       01/28/22
        4.15.   Improvement District.

          To Borrower's knowledge, except as disclosed to Lender in writing, the Property is not
situated within any metropolitan, local, special, or other improvement district and Borrower has no
knowledge of any proposal under which the Property is to be placed in any such improvement
district.

        4.16.   No Encroachment.

        Except as disclosed on a survey provided to Lender, no building or other improvement
constructed on the Property encroaches upon any property line, building line, setback line, side
yard line or any recorded or visible easement (or other easement of which Borrower is aware or has
reason to believe may exist) with respect to the Property.

        4.17.   Illegal Activity.

        No portion of the Property has been or will be purchased, improved, equipped or furnished
with proceeds of any illegal activity and there are not now and at no time during the term of the
Loan will there be any illegal activities or any activities relating to any controlled substance (as
defined by applicable federal, state and local law) on the Property. No part of the Property is being
used for the cultivating, planting, growing or harvesting (collectively, "Cultivating") of any variety
or species of a cannabis, hemp or marijuana plant or flower (collectively, "Marijuana") or for the
processing, storage, sale or production of Marijuana or any Marijuana based products or
merchandise (collectively with Cultivating, "Marijuana Related Business").

        4.18.   Separate Tax Lot.

          The Property is assessed for real estate tax purposes as one or more wholly independent
tax lot or lots, separate from any adjoining land or improvements not constituting a part of such lot
or lots, and no other land or improvements are assessed and taxed together with the Property or any
portion thereof.

        4.19.   Disclosure of Information.

        All material information concerning the Borrower or Property known to Borrower, or
which should have been known to Borrower in the exercise of reasonable care, has been disclosed
to Lender. There are no facts or information known to Borrower, or which should have been known
to Borrower in the exercise of reasonable care, that would make any of the information furnished
to Lender by Borrower inaccurate, incomplete, or misleading in any material respect.

        4.20.   Other Documents.

       To the best of Borrower's knowledge after diligent investigation, the documents submitted
to Lender in connection with Borrower's application for the Loan are complete and accurate.

        4.21.   No Default.

        There exists no Default or Event of Default.




                                                   - 15 -


                   Case 19-31883-dwh11             Doc 585
                                                       572      Filed 02/10/22
                                                                      01/28/22
        4.22.    Use of Loan Proceeds.

      The proceeds of the Loan shall be applied to and are intended solely for business or
commercial purposes, and not for personal, family, or household purposes.

        4.23.    Other Financing.

        Borrower has not received other financing for the Property, except as has been specifically
disclosed to Lender in writing prior to the execution of this Agreement.

        4.24.    Other Liens and Indebtedness.

         There are no claims for social security, unemployment compensation, or other obligations
to or claimed by any Person, that are or could become liens on the Property and no ad valorem
taxes or assessments against the Property are delinquent.

        4.25.    Representations and Warranties.

        All representations and warranties of each Loan Party in the other Loan Documents are
true and correct in all material respects.

        4.26.    Anti-Terrorism Laws.

                 (a)     Neither Borrower nor any Guarantor nor any Affiliate of Borrower or any
Guarantor is in violation of any Anti-Terrorism Laws.

                 (b)      Neither Borrower nor any Guarantor nor any Affiliate of Borrower or any
Guarantor, nor any of their brokers or other agents acting or benefiting in any capacity in connection
with the Loan is any of the following: (i) a Person that is listed in the Annex to, or is otherwise
subject to the provisions of, the Anti-Terrorism Order; (ii) a Person owned or controlled by, or
acting for or on behalf of, any Person that is listed in the Annex to, or is otherwise subject to the
provisions of, the Anti-Terrorism Order; (iii) a Person with whom any Lender is prohibited from
dealing or otherwise engaging in any transaction by any Anti-Terrorism Law; (iv) a Person who
commits, threatens or conspires to commit or supports "terrorism" as defined in the Anti-Terrorism
Order; or (v) a Person that is named as a "specially designated national and blocked person" on the
most current list published by the U.S. Treasury Department Office of Foreign Asset Control at its
official website or any replacement website or other replacement official publication of such list.

                 (c)      Neither Borrower nor any Guarantor nor any Affiliate of Borrower or any
Guarantor nor any of their brokers or other agents acting in any capacity in connection with the
Loan (i) conducts any business or engages in making or receiving any contribution of funds, goods
or services to or for the benefit of any person described in Section 4.26(b) above, (ii) deals in, or
otherwise engages in any transaction relating to, any property or interests in property blocked
pursuant to the Anti-Terrorism Order, or (iii) engages in or conspires to engage in any transaction
that evades or avoids, or has the purpose of evading or avoiding, or attempts to violate, any of the
prohibitions set forth in any Anti-Terrorism Law.

        4.27.    ERISA Representations.

         As of the date hereof and throughout the term of the Loan: (a) Borrower is not and will not
be (i) an "employee benefit plan," as defined in Section 3(3) of ERISA, (ii) a "governmental plan"



                                                   - 16 -


                   Case 19-31883-dwh11             Doc 585
                                                       572      Filed 02/10/22
                                                                      01/28/22
within the meaning of Section 3(32) of ERISA, or (iii) a "plan" within the meaning of Section
4975(e) of the Code; (b) the assets of Borrower do not and will not constitute "plan assets" within
the meaning of the United States Department of Labor Regulations set forth in Section 2510.3-101
of Title 29 of the Code of Federal Regulations; (c) transactions by or with Borrower are not and
will not be subject to state statutes applicable to Borrower regulating investments of fiduciaries
with respect to governmental plans; and (d) Borrower will not engage in any transaction that would
cause any Obligation or any action taken or to be taken hereunder (or the exercise by Lender of any
of its rights under the Deed of Trust or any of the other Loan Documents) to be a non-exempt (under
a statutory or administrative class exemption) prohibited transaction under ERISA or Section 4975
of the Code. Borrower agrees to deliver to Lender such certifications or other evidence of
compliance with the provisions of this Section as Lender may from time to time reasonably request.

        4.28.   Foreign Person.

         Borrower is not a "foreign person" within the meaning of Section 1445 or 7701 of the
Internal Revenue Code.

        4.29.   Single Purpose Entity Covenants.

       Borrower is in full compliance with the single purpose entity representations, warranties
and covenants set out in Section 9.13 of this Agreement.

        4.30.   Brokerage Fees.

        No brokerage fees or commissions are payable by or to any Person in connection with the
Loan to be disbursed hereunder that have not been approved in writing by Lender.

        4.31.   Survival.

        All representations, warranties and covenants contained in this Section shall survive the
delivery of the Note and the Loan Documents, and the making of the Loan evidenced hereby until
the Obligations are satisfied in full and any investigation at any time made by or on behalf of Lender
shall not diminish its rights to rely on all of such representations and warranties.

5.      Insurance and Condemnation Provisions.

        5.1.    Required Insurance Coverage.

        Borrower shall at all times be in compliance with the following requirements:

                 (a)     Property Insurance. Borrower, at its sole cost and expense, shall keep
the Property insured against loss or damage by fire and against loss or damage by other risks now
embraced by "Special Form" or "All Risk" coverage, so called, (including without limitation, riot
and civil commotion, vandalism, malicious mischief, water, fire, burglary and theft) without any
exclusion for losses due to terrorism, windstorm (including named storm), hail, boiler and
machinery/equipment breakdown (if applicable), flood and/or earthquake (if applicable), all as may
be required by Lender, in amounts at all times sufficient to prevent Lender from becoming a co-
insurer within the terms of the applicable policies and under applicable insurance law, providing
for deductibles (not to exceed $25,000), maintained in an amount not less than 100% of the full
replacement cost of the Property (equivalent to the insurable value of the Property as determined
by an appraisal acceptable to Lender), on an agreed amount basis, without deduction for



                                                   - 17 -


                   Case 19-31883-dwh11             Doc 585
                                                       572      Filed 02/10/22
                                                                      01/28/22
depreciation and without reference to co-insurance (an insurance to value provision is not permitted
in the policy).

                  (b)     Liability and Other Insurance. Borrower shall also provide commercial
general liability insurance naming Lender as an additional insured. Such insurance shall provide
coverage for personal injury liability, and liability for bodily injury, death, and damage to property,
products and completed operations, against any and all claims, including all legal liability to the
extent insurable and imposed upon Lender, and all court costs, legal fees and expenses. The limits
of liability for such insurance coverage shall be in an amount not less than One Million Dollars
($1,000,000) per occurrence and Two Million Dollars ($2,000,000) in the aggregate, and shall be
without a deductible or self-insured retention, together with excess/umbrella liability coverage of
not less than Five Million Dollars ($5,000,000) per occurrence. Upon request, Borrower shall also
carry additional insurance or additional amounts of insurance covering Borrower or the Property
as Lender shall reasonably require.

                 (c)      Flood Insurance. If any portion of any structure on the Property is
now, or hereafter becomes, situated in a federally designated special flood hazard area, then
Borrower shall obtain and maintain at all times thereafter, a policy of flood insurance on the
structure and Borrower-owned contents, providing for deductibles (not to exceed $10,000), in such
amount as Lender may, from time to time require, but in no event shall the amount be less than the
amount sufficient to meet the requirements of applicable Law as such requirements may from to
time to time be in effect, and shall otherwise comply with the requirements of the National Flood
Insurance Program. A Life of Loan Flood Hazard Certificate shall be provided to Lender
identifying the Flood Hazard Zone in which the Property is situated.

                  (d)    Law and Ordinance Insurance. Borrower shall obtain an "Ordinance
or Law Coverage" or "Enforcement" endorsement, which shall include coverage for (A) loss of
value (in an amount no less than 100% of the full replacement cost of the Improvements), (B)
demolition and debris removal costs (in an amount not less than 10% of the policy limit or
insured value), and (C) increased costs of construction (in an amount not less than 10% of the
policy limit or insured value).

                 (e)     Builder's Risk Insurance. At all times during which a n y structural
construction, material repairs or alterations are being made with respect to the Property, to the
extent required by Lender, Borrower shall also maintain (A) owner's contingent or protective
liability insurance covering claims related to construction and not covered by or under the
terms or provisions of the above-mentioned commercial general liability insurance policy; and
(B) the insurance provided for in Section 5.1(a) above written in a so-called builder's risk
completed value form on a non-reporting basis, including permission to occupy the Property, an
agreed amount endorsement waiving co-insurance provisions, a soft cost endorsement in an amount
required by Lender, coverage for materials in transit or storage, and delay in completion coverage
in an amount required by Lender.

                (f)     Workers' Compensation Insurance. If Borrower has employees,
Borrower shall also maintain workers' compensation insurance, subject to the statutory limits of
the state where the Property is located, and employer's liability insurance with a limit of at least
$1,000,000 per accident and per disease per employee, with respect to any work or operations on
or about the Property.

                (g)    Contractor Insurance. If at any time there are construction activities on
the Property, Borrower shall cause each general contractor and each other contractor with whom


                                                   - 18 -


                   Case 19-31883-dwh11             Doc 585
                                                       572       Filed 02/10/22
                                                                       01/28/22
Borrower contracts directly to provide and maintain comprehensive (commercial) general liability
insurance, protective liability insurance and workers' compensation insurance for all employees of
such contractor meeting such of the requirements of subsections (b) and (g) above as may be
required by Lender.

                (h)     Other Insurance. Borrower shall maintain such other, different and
additional insurance coverage as Lender may require from time to time in accordance with its
underwriting guidelines in effect from time to time.

        5.2.    Insurance Policy Requirements.

                  (a)     The original policy or policies and renewals thereof (or, at the sole option
of Lender, duplicate originals or certified copies thereof), together with receipts evidencing
payment in full, without financing, of the premium therefor, shall be deposited with Lender within
sixty (60) days after the Closing of the Loan and with respect to any required renewals or required
additional coverage, by the time required below. Borrower assigns to Lender the proceeds of each
such policy or policies as security for the Obligations. Insurance required under Section 5.1 above
may be provided in one policy or separate policies for hazard insurance, rental or business income
insurance, general liability, terrorism, windstorm/hail, earthquake, environmental or flood (or other
special perils) insurance. In the event Borrower elects to obtain separate policies for the Property
and special perils coverage required herein, each such separate policy shall include loss of
rents/business income coverage provisions or endorsements. Each such policy of insurance shall
contain a non-contributing loss payable clause and a mortgagee clause in favor of and in form
acceptable to Lender for property policies and naming Lender as an additional insured for liability
policies and shall provide for not less than thirty (30) days prior written notice to Lender of any
intent to modify, cancel, rescind, or terminate the policy or policies or the expiration of such
policies of insurance, and must include a Lender's Loss Payable endorsement and such other
endorsements as required by Lender, including replacement cost, agreed amount and inflation
guard endorsements. If the insurance required hereunder or any portion thereof is maintained
pursuant to a blanket policy, Borrower shall furnish to Lender a certified copy of such policy
including a schedule of values for all insured properties and together with an original Evidence of
Insurance (in form satisfactory to Lender) indicating that Lender (and its successors and/or assigns)
is an insured under such policy in regard to the Property and showing the amount of coverage
apportioned to the Property which coverage shall be in an amount sufficient to satisfy the
requirements hereof. Not less than thirty (30) days prior to the expiration dates of each policy
required of Borrower hereunder, Borrower will deliver to Lender a renewal policy or policies
marked "premium paid" or accompanied by other evidence of payment and renewal satisfactory to
Lender. In the event of foreclosure of the Deed of Trust or deed in lieu of foreclosure of the Deed
of Trust, any successor in title through foreclosure or deed in lieu of foreclosure shall succeed to
all rights of Borrower, including, without limitation, any rights to unearned premiums, in and to all
insurance policies assigned and delivered to Lender hereunder.

                 (b)      Each insurance policy required under Section 5.1 above shall be issued by
an insurance company authorized to do business in the state where the Property is located, approved
by Lender, and must have and maintain a current financial strength rating of "A- VI" (or higher)
from A.M. Best or equivalent (or, if a rating by A.M. Best is no longer available, then a similar
rating from a similar or successor service).

                (c)    Each insurance policy required under Section 5.1 above shall include a
waiver of subrogation provision acceptable to Lender. Borrower for itself, and on behalf of its
insurers, hereby waives and releases any and all right to claim or recover against Lender, its


                                                   - 19 -


                   Case 19-31883-dwh11             Doc 585
                                                       572      Filed 02/10/22
                                                                      01/28/22
officers, employees, agents and representatives, for any loss of or damage to Borrower, other
Persons, the Property, Borrower's property or the property of other Persons from any cause required
to be insured against by the provisions of this Agreement or otherwise insured against by Borrower.

        5.3.    Application of Insurance Proceeds.

                (a)      In the event of any loss, Borrower shall give prompt written Notice thereof
to the insurance carrier and Lender. Borrower hereby authorizes Lender as Borrower's attorney-
in-fact to make proof of loss, to adjust and compromise any claim, to commence, appear in and
prosecute, in Lender's or Borrower's name, any action relating to any claim, and to collect and
receive Insurance Proceeds; provided, however, that Lender shall have no obligation to do so.
Within ten (10) days after Borrower's receipt of any Insurance Proceeds, Borrower shall deliver the
same to Lender in the form in which they were received, together with any endorsements or
documents that may be necessary to effectively negotiate or transfer the same to Lender. Lender
shall apply any Insurance Proceeds received by it hereunder first to the payment of the costs and
expenses incurred in the collection thereof and then, in its absolute discretion and without regard
to the adequacy of its security, to the payment of the Loan, whether then due and payable or not.
Any such application of Insurance Proceeds to principal of the Loan shall be without imposition of
any prepayment fee otherwise payable under this Agreement, but shall not extend or postpone the
due dates of any installment payments required hereunder or change the amounts thereof.

                 (b)      Notwithstanding Section 5.3(a) above, Lender will make Insurance
Proceeds available to Borrower to reimburse Borrower, under Lender's prescribed disbursement
control procedures, for the cost of restoration or repair of the Property, provided the following
conditions are satisfied:

                         (i)     There is then no Default or Event of Default under this
Agreement.

                         (ii)     Borrower shall have furnished to Lender and Lender shall have
approved a detailed budget and cost breakdown for the restoration and rebuilding work, describing
the nature and type of expenses and the cost thereof estimated by Borrower for such restoration and
rebuilding work, including without limitation, the cost of materials and supplies, architect's,
engineer's and designer's fees, general contractor's fees, and the anticipated monthly disbursement
schedule.

                         (iii)    Lender shall have reviewed and approved the construction
contract for the repair and restoration, and if required by Lender, Lender shall have received and
approved payment and performance bonds with dual obligee rider.

                         (iv)     Lender shall have received satisfactory evidence that the
Insurance Proceeds are adequate to pay all of the direct and indirect costs of restoring the Property
to its condition immediately prior to the casualty, and if the proceeds are insufficient, Lender shall
have received from Borrower the amount of the deficiency in immediately available funds for
disbursement prior to disbursement of the Insurance Proceeds and such funds shall constitute
security for the Obligations. If at any time or from time to time during restoration of the Property
Lender determines that the undisbursed Insurance Proceeds and other undisbursed funds deposited
by Borrower with Lender are insufficient to pay all of the remaining direct and indirect costs of
restoration, Borrower will deposit the deficiency with Lender in immediately available funds within
ten (10) days after demand.




                                                   - 20 -


                   Case 19-31883-dwh11             Doc 585
                                                       572      Filed 02/10/22
                                                                      01/28/22
                          (v)    Lender shall have received evidence satisfactory to it that
Borrower has funds available to it sufficient to pay all operating expenses, taxes, debt service and
other carrying costs of the Property through the period of repair or restoration.

                         (vi)   Borrower shall have furnished to Lender and Lender shall have
approved plans and specifications for the restoration or rebuilding work, and written evidence
satisfactory to it that the same have been approved by all governmental authorities having
jurisdiction over the Property.

                         (vii)   In Lender's judgment, the rebuilding and restoration work can be
completed at least six (6) months prior to the Maturity Date of the Note.

                         (viii) Lender must be satisfied that the Leases of the Property will
remain in full force and effect pending the completion of the work, or Lender shall have received
evidence satisfactory to it that upon completion of the work, the Property will produce sufficient
income and be of sufficient value to be adequate security for the Obligations.

                          (ix)     Borrower executes and delivers to Lender such additional security
documents and instruments as Lender deems reasonably necessary to continue and perfect Lender's
security interest in the Property.

                 (c)      Lender may, at its option, condition disbursements under Section 5.3(b)
above on Lender's approval of the plans and specifications for the reconstruction, contractor's cost
estimates, architect's certificates, waivers of liens, sworn statements of mechanics and material
suppliers, and such other evidence of costs, percentage completion of construction, application of
payments and satisfaction of liens as Lender may require in accordance with Lender's customary
disbursement procedures for construction loans.

               (d)      Borrower's obligations under the Deed of Trust to repair and restore the
Property in the event of any casualty are not conditioned on the availability or adequacy of
Insurance Proceeds to pay for such repair and restoration.

        5.4.    Force-Placed Insurance.

        If Borrower fails to provide, maintain, keep in force or deliver to Lender the policies of
insurance required by this Agreement, Lender may (but shall have no obligation to) procure such
insurance or single-interest insurance for such risks covering Lender's interest, and Borrower will
pay all premiums thereon and reimburse Lender for all amounts paid or incurred by Lender in
connection therewith promptly upon demand by Lender, and until such payment is made by
Borrower, the amount of all such premiums shall be added to the Obligations and shall bear interest
at the Default Rate.

        5.5.    Condemnation.

                (a)      Proceedings. Borrower shall promptly notify Lender of any action or
proceeding relating to any Condemnation (including without limitation any change in the grade of
the Property), whether direct or indirect, of the Property or part thereof or interest therein, and
Borrower shall appear in and prosecute any such action or proceeding unless otherwise directed by
Lender in writing. Borrower authorizes Lender, at Lender's option, as attorney-in-fact for Borrower,
to commence, appear in and prosecute, in Lender's or Borrower's name, any action or proceeding
relating to any Condemnation and to settle or compromise any claim in connection with such



                                                  - 21 -


                  Case 19-31883-dwh11             Doc 585
                                                      572      Filed 02/10/22
                                                                     01/28/22
Condemnation; provided, however, that Lender will not act under such power of attorney except
upon the occurrence and during the continuation of an Event of Default. Whether or not there is
then any uncured Event of Default, Borrower will not settle or compromise any claim in connection
with any Condemnation without Lender's prior written consent which will not be unreasonably
withheld. All Condemnation Awards are assigned to Lender and all Condemnation Awards shall
be paid to Lender. If Borrower receives any Condemnation Award, Borrower shall deliver the
same to Lender in the form received, together with any endorsements or documents that may be
necessary to effectively negotiate or transfer the same to Lender.

                 (b)    Application of Condemnation Awards. Lender shall apply any
Condemnation Awards in the manner and upon the terms and conditions set forth in Section 5.3(a)
and 5.3(b) of this Agreement relating to the application of Insurance Proceeds.

        5.6.    Further Assurances.

        Borrower agrees to execute and deliver from time to time, upon the request of Lender, such
further instruments or documents as may be requested by Lender to confirm the grant and
assignment to Lender of any Condemnation Awards or Insurance Proceeds.

6.      Leasing Covenants.

        6.1.    Restrictions.

                  (a)     Without the prior written consent of Lender, Borrower and Borrower's
agents shall not (i) enter into any Lease, (ii) materially modify, amend, or terminate any Lease, or
(iii) accept any rental payment more than one (1) month in advance of its due date. Borrower shall
provide Lender with a copy of all new Leases, Lease modifications, and Lease extensions no less
than ten (10) days prior to execution of such documents.

                  (b)     Lender shall provide written consent or denial to any proposed Lease or
any material modification, amendment or termination of a Lease within seven (7) Business Days
after Lender's actual receipt of the proposed Lease, modification, amendment, or termination and
any additional information requested by Lender in connection therewith. If Lender does not respond
to Borrower during such seven (7) Business Day period, Borrower shall send Lender a second
written request for Lender's consent to the proposed Lease, material modification, amendment or
termination. If Lender does not respond to Borrower within five (5) Business Days after Lender's
actual receipt of such second request, Lender shall be deemed to have approved the proposed Lease,
modification, amendment or termination. Borrower shall, in any event, provide Lender with a copy
of the fully executed original of all Leases promptly following their execution. At Lender's request,
Borrower shall cause each new tenant under a Lease to execute subordination, non-disturbance and
attornment agreements and tenant estoppel certificates reasonably satisfactory to Lender. Lender
reserves the right to subordinate the Deed of Trust to any Lease.

7.      Transfer Restrictions.

        Borrower acknowledges and agrees that the identity of Borrower and its partners, members,
managers, and employees, and of Guarantor, and the relationship between Borrower and Lender,
Borrower's and Guarantor's creditworthiness, business expertise, financial condition, and continued
control of the Property were material inducements upon which Lender relied in making the Loan.
Accordingly, Borrower shall not: (i) sell, convey, assign, lease, encumber, or otherwise transfer,
assign, hypothecate or encumber any of its right, title, or interest in and to the Property or any



                                                  - 22 -


                   Case 19-31883-dwh11            Doc 585
                                                      572       Filed 02/10/22
                                                                      01/28/22
portion thereof, (ii) sell, assign, transfer or encumber its interest as Borrower under the Loan, or
(iii) transfer or encumber or allow the transfer, encumbrance or issuance of any stock, membership,
partnership or other direct or indirect ownership interest in Borrower, whether such transfer,
issuance or encumbrance is voluntary or by operation of law, or (iv) take any other action which
results or could result in Guarantor no longer being in Control of Borrower (any or all of the
foregoing being referred to herein as a "Transfer"). Any attempted Transfer without Lender's prior
written consent shall constitute an immediate Event of Default by Borrower under this Agreement
and the other Loan Documents and the Obligations shall immediately become due and payable in
full without the requirement of any Notice from Lender.

8.      Default and Remedies.

        8.1.    Events of Default.

        The occurrence of any one or more of the following shall be an "Event of Default" under
this Agreement and the other Loan Documents:

                 (a)     Failure to pay the Loan and all amounts owing under the Loan Documents
in full by the Maturity Date;

                (b)      Failure to make any required monthly payment of principal or interest on
the Loan within five (5) days of the date when due hereunder;

                (c)   Failure to make any other payment required under this Agreement or the
other Loan Documents if such failure is not cured within five (5) days after the date on which such
payment is due;

                 (d)      Failure to perform any other covenant, agreement or obligation to be
performed by Borrower under this Agreement if such failure is not cured within thirty (30) days
after written Notice thereof has been given by Lender to Borrower (or if the failure is such that the
cure cannot be completed within said thirty (30) day period, failure by Borrower to commence the
cure within said thirty (30) day period and thereafter continue the cure with diligence and complete
the cure within ninety (90) days after such written Notice);

                (e)      The occurrence of an Event of Default as defined in any other Loan
Document;

                (f)      The occurrence of any default by Borrower under the Indemnity
Agreement;

                (g)      The occurrence of any Transfer;

                 (h)     Any representation or warranty made by Borrower or Guarantor to Lender
proves to be false or misleading in any material respect;

                 (i)     The filing of a complaint for receivership or the filing of a voluntary or
involuntary petition for bankruptcy or for reorganization under any Creditor's Rights Law (unless
such complaint or petition is released or discharged within forty-five (45) days of such filing), with
respect to Borrower or any Guarantor;




                                                   - 23 -


                   Case 19-31883-dwh11             Doc 585
                                                       572      Filed 02/10/22
                                                                      01/28/22
                 (j)     Borrower or any Guarantor admits in writing the inability to pay its debts
when due, becomes insolvent, makes a general assignment for the benefit of creditors, consents to
the appointment of a receiver of all or any material portion of its property or assets, or voluntarily
suspends its usual business (unless such event occurs with respect to a Guarantor, and within thirty
(30) days thereafter, Borrower provides a cure that is acceptable to Lender, including but not limited
to providing a replacement guarantor acceptable to Lender);

                 (k)      Any action is pending or threatened against Borrower, any Guarantor, or
the Property at any time during the term of the Loan and, in Lender's reasonable opinion, such
action jeopardizes its security for the Loan, Borrower's ability to repay the Loan, or such
Guarantor's ability to satisfy its obligations under its Guaranty;

                 (l)      A final judgment, order, or decree for the payment of money is rendered
against Borrower or any Guarantor, and Borrower or such Guarantor does not satisfy and pay the
same or cause it to be discharged within thirty (30) days from the entry thereof, or fails to appeal
therefrom and secure a stay of execution pending such appeal, or there is an attachment, execution,
or other judicial seizure of any portion of Borrower's assets and such seizure is not discharged or
bonded against to Lender's reasonable satisfaction within thirty (30) days;

                 (m)     Borrower fails to maintain any of the insurance coverage required under
Section 5.1 or Section 5.2 above or fails to provide proof of coverage or copies of insurance policies
within the time required under Section 5.1 or Section 5.2 above;

               (n)     Any default by Borrower in any of its obligations under Section 9.7 below
[Unauthorized Liens and Encumbrances];

                (o)     The occurrence of a Material Adverse Change with respect to Borrower,
Guarantor, or the Property;

                  (p)     There is an uninsured casualty with respect to any material portion of the
Property and Borrower fails to immediately repair such damage (whether or not Lender has
disbursed any available Insurance Proceeds for such repair), Borrower fails to satisfy the conditions
set forth in this Agreement for the release of Insurance Proceeds or any Condemnation Award, or,
whether or not Lender has received and applied Insurance Proceeds or any Condemnation Award
to the obligations arising under the Loan Documents in accordance with this Agreement, Lender
reasonably determines that its security is impaired by such casualty or Condemnation, and
Borrower fails to immediately deposit with Lender an amount determined by Lender as necessary
to restore such security;

                (q)     The Property or any part thereof is condemned or taken in any eminent
domain or other like proceeding, or such proceeding is pending that, in Lender's judgment, would
have a material adverse effect on the Property;

                 (r)     Any individual Guarantor dies, provided, however, that such Guarantor's
death shall not trigger a default if, within one hundred twenty (120) days thereafter, a substitute
guarantor satisfactory to Lender in its sole discretion executes a substitute guaranty in a form
satisfactory to Lender in its sole discretion;

               (s)     Any default by Borrower in any of its obligations under Section 9.13
below [Single Purpose Entity Covenants];




                                                   - 24 -


                   Case 19-31883-dwh11             Doc 585
                                                       572      Filed 02/10/22
                                                                      01/28/22
               (t)     Any failure to comply with or violation of Section 9.18 [Prohibition on
Marijuana Related Business]; or

                (u)    The occurrence of any default on any Related Obligation which is not
cured within any applicable cure period or grace period under the documents evidencing such
Related Obligation.

        8.2.     Remedies.

                 (a)     Upon the occurrence of an Event of Default, Lender shall have no further
obligation to disburse any proceeds of the Loan.

                 (b)     Upon the occurrence of any Event of Default under Section 8.1(i) or
Section 8.1(j) above, and without any further action of Lender, the Obligations shall immediately
become due and payable in full without presentment, demand, protest or other notice of any kind,
all of which are expressly waived by each Loan Party. Upon the occurrence of any other Event of
Default hereunder, the Obligations shall, at the option of Lender, become immediately due and
payable without presentment, demand, protest or other notice of any kind, all of which are expressly
waived by each Loan Party. In either case, Lender may proceed with every remedy available at
law or in equity or provided for herein or in any other Loan Document and all expenses incurred
by Lender in connection with any remedy shall be deemed indebtedness of Borrower to Lender and
a part of the Obligations. Lender may apply any funds held by it as security for the Obligations or
the proceeds from any collateral for the Obligations against any of the Obligations in such order as
Lender may determine in its sole and absolute discretion.

                 (c)      Upon the occurrence of any Event of Default, Lender shall have the right,
but not the obligation, in person or by agent and in its own name or the name of Borrower, to take
possession of the Property and perform any and all work and labor necessary to protect and maintain
Lender's interest in the Property in accordance with this Agreement. Borrower hereby irrevocably
constitutes and appoints Lender as its true and lawful attorney-in-fact with full power of
substitution (exercisable only after an Event of Default) to operate the Property in the name of
Borrower and to (i) employ such contractors, subcontractors, agents, architects and inspectors as
shall be required for such purposes; (ii) pay, settle or compromise all existing bills and claims which
may be liens against the Property or as may be necessary or desirable for the operation of the
Property or for clearance of title; (iii) prosecute and defend all actions or proceedings in connection
with the Property; and (iv) do any and every act which Borrower might do in its own behalf in order
to operate the Property. The power of attorney granted hereby shall be deemed to be a power
coupled with an interest and irrevocable.

                 (d)     Upon the occurrence of any Event of Default, Lender may, with or without
entering upon the Property, (i) exclude Borrower and any Person from the Property without liability
for trespass, damages, or otherwise; (ii) take possession of, and Borrower shall surrender on
demand, all books, records, and accounts relating to the Property; (iii) give notice to tenants or any
Person, make demand for, collect, receive, sue for, and recover in its own name all rents and cash
collateral derived from the Property; (iv) use, operate, manage, preserve, control, and otherwise
deal with every aspect of the Property including (A) conducting its business, (B) insuring it, (C)
making all repairs, renewals, replacements, alterations, additions, and improvements to or on it,
(D) completing the construction of any improvements in manner and form as Lender deems
advisable, and (E) executing, modifying, enforcing, and terminating new and existing Leases on
such terms as Lender deems advisable and evicting any tenants in default; (v) apply the receipts
from the Property to payment of the Obligations, in any order or priority determined by Lender,


                                                   - 25 -


                   Case 19-31883-dwh11             Doc 585
                                                       572       Filed 02/10/22
                                                                       01/28/22
after first deducting all costs, expenses, and liabilities incurred by Lender in connection with the
foregoing operations and all amounts needed to pay impositions and other expenses of the Property,
as well as just and reasonable compensation for the services of Lender and its attorneys, agents,
and employees; and/or (vi) in every case in connection with the foregoing, exercise all rights and
powers of Borrower or Lender with respect to the Property, either in Borrower's name or otherwise.

                 (e)      All amounts advanced by Lender for the foregoing purposes shall be
deemed to be advances under the Note and shall be part of the Obligations, notwithstanding that
such advances may cause the total amount advanced under the Note to exceed the principal amount
of the Loan, and Borrower shall reimburse Lender upon demand for such advances, together with
interest at the Default Rate.

        8.3.     No Remedy Exclusive.

         No remedy conferred upon or reserved to Lender under this Agreement or the other Loan
Documents shall be exclusive of any other remedy provided in the Loan Documents or by law or
in equity, and each shall be cumulative and shall be in addition to every other remedy given Lender
under any of the Loan Documents or now or hereafter existing at law or in equity or by statute.
Lender at its sole option, without limiting or affecting any rights and remedies hereunder, may
exercise any of the rights and remedies to which it may be entitled under the Loan Documents
concurrently or in such order as Lender may determine. The exercise of any rights of Lender shall
not in any way constitute a cure or waiver of an Event of Default or invalidate any act done pursuant
to any notice of default or prejudice Lender in the exercise of any of its rights. No delay or failure
of Lender in the exercise of any right or remedy provided under this Agreement or any other Loan
Document shall be deemed a waiver of the right by Lender, and no exercise or partial exercise or
waiver of any right or remedy shall be deemed a waiver of any further exercise of such right or
remedy or of any other right or remedy that Lender may have. The enforcement of any rights of
Lender as to any security for the Obligations shall not affect the rights of Lender to enforce payment
of the Loan and to recover judgment for any portion thereof remaining unpaid.

        8.4.     Right of Set-Off.

         Borrower grants to Lender a contractual security interest in, and hereby assigns, conveys,
delivers, pledges, and transfers to Lender all Borrower's right, title and interest in and to, Borrower's
accounts with Lender (whether checking, savings, or some other account), including without
limitation all accounts held jointly with someone else and all accounts Borrower may open in the
future, excluding however all IRA and Keogh accounts, and all trust accounts for which the grant
of a security interest would be prohibited by law. In addition to any rights and remedies of Lender
provided by law, if an Event of Default exists or the Loan has been accelerated, Lender is authorized
at any time and from time to time, without prior notice to Borrower, any such notice being waived
by Borrower to the fullest extent permitted by law, to set off and apply any and all deposits (general
or special, time or demand, provisional or final) at any time held by, and other indebtedness at any
time owing by Lender to Borrower, against the Obligations now or hereafter existing, irrespective
of whether or not Lender shall have made demand under this Agreement or any Loan Document
and although such obligations may be contingent or unmatured. Lender agrees promptly to notify
Borrower after any such set-off and application made by Lender; provided, however, that the failure
to give such notice shall not affect the validity of such set-off and application.




                                                    - 26 -


                   Case 19-31883-dwh11              Doc 585
                                                        572       Filed 02/10/22
                                                                        01/28/22
        8.5.    Inapplicability of Cure Periods.

       All cure periods provided in this Agreement shall be inapplicable if, in Lender's sole
judgment, the Default is not capable of being cured within the time allowed, or a delay in Lender's
enforcement of its rights and remedies may result in a material impairment of its security.

9.      Other Covenants.

        9.1.    Financial Reporting.

         For as long as Borrower or its Affiliates has any outstanding loans with Lender, any
obligations to Lender in connection with the Loan, or intends to continue to seek financing from
Lender, Borrower and/or such Affiliate agree to provide to Lender the following financial
information in a form and substance satisfactory to Lender within the applicable deadlines set forth
below. For so long as Borrower has any continuing obligations under the Loan Documents or with
respect to any Related Obligations, such reporting requirements shall survive the repayment of the
Loan. Each financial statement shall be prepared in accordance with generally accepted accounting
principles or prepared in accordance with the accounting principles used in the preparation of the
financial statement submitted to and approved by Lender in connection with its initial approval of
the Loan, and certified as correct by Borrower.

                (a)     As soon as available and in any event within fifteen (15) days after the end
of each calendar month, starting with February, 2022, a copy of the monthly financial statements
for Borrower for the preceding calendar month, including balance sheet, related statements of
earnings, income and expense statements and cash flow statement, accurately reflecting its financial
condition and certified to be true and correct in all material respects, without qualification or
exception, by Borrower.

                 (b)      As soon as available and in any event within ninety (90) days after the end
of each calendar year, starting with the 2022 calendar year, a copy of the annual financial statements
for Borrower for the preceding year, including balance sheet, related statements of earnings, income
and expense statements and cash flow statement, accurately reflecting its financial condition and
certified to be true and correct in all material respects, without qualification or exception, by
Borrower.

                 (c)     If requested by Lender, a proposed operating budget for the Properties for
the then-current year, by not later than January 31st of such year.

               (d)     Such other financial information regarding Borrower or the Properties as
Lender may reasonably request from time to time.

        9.2.    Financial Covenants.

                (a)      Borrower will maintain a standard system of accounting, established and
administered in accordance with sound accounting practices and on a consistent basis under a
method of accounting approved by Lender, and will maintain accurate and proper books of account
and other records relating to the Properties.




                                                   - 27 -


                   Case 19-31883-dwh11             Doc 585
                                                       572      Filed 02/10/22
                                                                      01/28/22
        9.3.     Maintenance of Existence.

        Until the Obligations are fully paid and satisfied, Borrower shall: (a) maintain its existence
in the form under which it currently operates and preserve in full force and effect all its rights
having a material effect upon its business or the ownership of its properties; and (b) give prompt
Notice to Lender of any material change in Borrower's or any Guarantor's business or financial
position, any change in any location where Borrower's or any Guarantor's accounts and/or assets
are maintained, the location of any new places of business of Borrower or any Guarantor, the
changing or closing of any of its existing places of business, and any change in Borrower's or any
Guarantor's name.

        9.4.     Compliance With Laws and Permits.

         Borrower will keep all permits, licenses and approvals for the operation of the Property in
full force and effect and will fully comply with all of its obligations thereunder and under any Laws
applicable to the Property and the operation thereof.

        9.5.     Other Agreements.

        Borrower will timely pay and perform all of its obligations under all contracts or
agreements relating to the ownership and operation of the Property. Without Lender's prior written
consent, which shall not be unreasonably withheld, conditioned or delayed, Borrower shall enter
into no material contract or agreement relating to the ownership or operation of the Property.

        9.6.     Inspections.

          Lender or its representatives shall at all times have the right of entry and free access to the
Property, and the right to inspect all work done, labor performed and materials furnished on or
about the Property. Lender or its representative shall at all times have the right to access and inspect
all books, records, contracts, sub-contracts, invoices, bills and statements of Borrower wherever
located, including any supporting or related vouchers or other instruments. If Lender so requires,
copies of such items shall be delivered to Lender or its representatives for audit, examination,
inspection, and photocopying. Borrower acknowledges and agrees that all inspections by Lender
or its representatives are solely for the purpose of protecting the security of Lender. Borrower shall
at all times cooperate and cause each and every one of its agents, contractors, subcontractors and
material suppliers to cooperate with the representatives of Lender in connection with or in aid of
the performance of Lender's functions under this Agreement. No such inspection shall constitute
approval of any certification or representation given to Lender or relieve any Person making such
certification or representation from the responsibility therefor.

        9.7.     Unauthorized Liens and Encumbrances.

         Borrower shall keep the Property free from all liens, judgments, encumbrances and other
title exceptions of any kind ("Liens"), whether or not superior to the Deed of Trust. If any Lien is
filed or placed against the Property, Borrower shall cause such Lien to be removed within twenty
(20) days of such filing; provided, however, that if Borrower is contesting any Lien in good faith
and by appropriate proceedings, Lender will not require the Lien to be released and removed so
long as the proceedings contesting the Lien prevent enforcement of the Lien while such contest is
pending and so long as Borrower provides security against such Lien in such amount and form as
Lender may require in its sole discretion. If Borrower does not cause the Lien to be released,
secured against, or bonded over within said twenty (20) days, Lender may disburse funds to pay



                                                    - 28 -


                   Case 19-31883-dwh11              Doc 585
                                                        572       Filed 02/10/22
                                                                        01/28/22
such Lien, and all amounts so advanced by Lender, together with interest on such amounts at the
Default Rate, shall be due and payable on demand, shall be part of the Obligations and shall be
secured by the Deed of Trust and any other collateral for the Obligations. Lender's rights under
this section shall not be affected by any claim of Borrower that the Lien is invalid, it being
understood that the decision of Lender to pay or withhold is to be made by Lender in its sole
discretion.

        9.8.    No Restrictive Covenants.

        No restrictive covenant, zoning change or other restriction affecting the Property may be
entered into, requested by or consented to by Borrower without the prior written consent of Lender.

        9.9.    Distributions, Dividends and Compensation.

        Borrower shall not declare, pay, set aside funds for or make any distribution or dividend,
in cash or assets or trust, to or for the benefit of any of Borrower's shareholders, members, equity
holders, partners or other beneficial owners until the Loan has been repaid in full.

        9.10.   Other Indebtedness.

        Borrower shall not incur any Indebtedness other than the Loan and customary trade
payables which (i) are paid in full within sixty (60) days after the date incurred, and (ii) do not in
the aggregate amount outstanding at any time exceed four percent (4%) of the amount of the Loan.

        9.11.   Amendments to Organizational Documents.

        Borrower will not suffer or permit any material amendment to its Organizational
Documents or the Organizational Documents of any manager/managing member/general partner
of Borrower nor shall Borrower nor any manager/managing member/general partner of Borrower
permit any termination or dissolution of its existence or any merger or consolidation with any other
entity.

        9.12.   Management Agreements

        Without Lender's prior written consent, which shall not be unreasonably withheld,
conditioned or delayed, Borrower will not (a) enter into or amend any property management
agreement or development agreement for the Property, or (b) enter into or amend any other material
agreement relating to the Property.

        9.13.   Single Purpose Entity Covenants.

         Borrower hereby agrees and acknowledges that, as a condition of Lender's agreements and
performance of its obligations hereunder, Lender is relying on the status of Borrower as a legal
entity separate and apart from any affiliate or any other Person or entity and has required that
Borrower maintain such status, and Borrower hereby acknowledges such reliance and requirement.
Accordingly, Borrower represents, warrants and covenants as of the Closing and at all times that
the Loan Documents are in effect, that Borrower has not and will not:

                (a)    engage in any business or activity other than the ownership, operation and
maintenance of the Properties, and activities incidental thereto;




                                                   - 29 -


                   Case 19-31883-dwh11             Doc 585
                                                       572      Filed 02/10/22
                                                                      01/28/22
                (b)     acquire or own any assets other than the Properties and such incidental
other property as may be necessary for the operation of the Properties;

                 (c)     fail to observe all organizational formalities, or fail to preserve its
existence as an entity duly organized, validly existing and in good standing under the applicable
legal requirements of the jurisdiction of its organization or formation, or fail to comply with the
provisions of its organizational documents;

                 (d)     own any subsidiary, or make any investment in, any entity;

                 (e)     commingle its assets with the assets of any other entity;

                 (f)      incur any Indebtedness other than the Loan and trade payables in the
ordinary course of its business of owning and operating the Properties, provided that any such trade
payable (i) is not evidenced by a note, (ii) is paid within sixty (60) days of the date incurred, (iii)
does not exceed in the aggregate four percent (4%) of the amount of the Loan, and (iv) is payable
to trade creditors and in amounts as are normal and reasonable under the circumstances;

                (g)      fail to maintain its records, books of account, bank accounts, accounting
records and other entity documents separate and apart from those of any other entity;

                 (h)     enter into any contract or agreement with any general partner, member,
shareholder, principal, or any Affiliate of any of the foregoing, except upon terms and conditions
that are fully documented in writing, intrinsically fair, commercially reasonable and substantially
similar to those that would be available on an arm's-length basis with unaffiliated third parties;

                 (i)     assume or guaranty the debts of any other Person, hold itself out to be
responsible for the debts of any other Person, or otherwise pledge its assets for the benefit of any
other Person or hold out its credit as being available to satisfy the obligations of any other Person;

                 (j)     make any loans or advances to any Person;

                 (k)     fail either to hold itself out to the public as a legal entity separate and
distinct from any other entity or to conduct its business solely in its own name or fail to correct any
known misunderstanding regarding its separate identity; or

                   (l)     acquire obligations or securities of its partners, members, shareholders or
other affiliates, as applicable.

        9.14.    Compliance with Anti-Terrorism Laws.

         At all times while any Obligations are outstanding, Borrower and each other Loan Party
shall be in full compliance with all Anti-Terrorism Laws and all representations in Section 4.26
shall be true and correct.

        9.15.    ERISA Covenants.

        At all times while any Obligations are outstanding, all of the ERISA Representations in
Section 4.27 of this Agreement will be true and correct.




                                                   - 30 -


                   Case 19-31883-dwh11             Doc 585
                                                       572       Filed 02/10/22
                                                                       01/28/22
        9.16.   Furnishing Reports.

         Upon Lender's request, Borrower shall provide Lender with copies of all inspections,
reports, test results, and other information received by any Borrower that in any way relate to the
Property.

        9.17.   Compliance with Laws.

       Borrower shall comply with all applicable requirements (including applicable Laws) of any
governmental authority having jurisdiction over Borrower or the Property.

        9.18.   Prohibition on Marijuana Related Business.

         Borrower covenants and agrees: (i) no part of the Property shall be used by any Person for
Marijuana Related Business; (ii) Lender, its agents, representatives, and designees may make or
cause to be made periodic entries upon and inspections of the Property to confirm that no Marijuana
Related Business is occurring on or at any part of the Property;(iii) Lender shall have the right to
make such periodic entries or inspections without notice to Borrower or any tenant occupying any
part of the Property at any time during normal business hours or at any other reasonable time; and
(iv) Borrower shall provide Lender's inspector(s) with access to all areas of the Property as Lender's
inspector(s) may require to complete such inspection. Any violation of or noncompliance with any
provision of this Section shall constitute an immediate Event of Default under the Loan
Documents, and a default under all other agreements between Borrower and Lender (if any).
Nothing in this Section shall be deemed to limit, reduce, or replace any other provision hereunder,
or any of Lender's other rights, interests, or remedies under this Agreement or the other Loan
Documents.

        9.19.   Appraisals.

         In the event of: (i) an Event of Default under the Loan, (ii) a material change in market
conditions or the physical aspects of the Property, or (iii) a failure of the Property to achieve the
performance expectations of the original Appraisal, or as may otherwise be required by any
applicable Laws or the requirements of any regulatory authority, Lender may obtain an Appraisal
or Appraisal update for all or any part of the Property prepared in accordance with written
instructions from Lender by a third party appraiser engaged directly by Lender. Each such appraiser
and Appraisal (or appraisal update) shall be satisfactory to Lender (including satisfaction of
applicable regulatory requirements). If Lender obtains an Appraisal (or appraisal update), Borrower
will fully cooperate with Lender and the appraiser, and will provide the information necessary to
prepare the Appraisal (or appraisal update). Borrower will pay the cost of any such Appraisal or
appraisal update within ten (10) days following demand by Lender; provided, however, that
Borrower's obligation for appraisal costs shall not exceed one Appraisal within any 12-month
period unless an Event of Default has occurred.

        9.20.   Accounts.

        Borrower shall cause all Loan disbursement accounts, operating accounts, tenant security
deposit accounts and other accounts related to the ownership and operation of the Property to be
maintained with Lender throughout the term of the Loan.




                                                   - 31 -


                   Case 19-31883-dwh11             Doc 585
                                                       572      Filed 02/10/22
                                                                      01/28/22
        9.21.   Proceeds of Collateral.

         Without limiting or impairing any of the other covenants and restrictions in this Agreement,
including, without limitation, those regarding Transfers, Insurance Proceeds and Condemnation
Proceeds, if Borrower receives any payment of any nature whatsoever relating to any grant or
disposition of any interest in the Property (such as an easement), Borrower will promptly give
Notice to Lender of such receipt and will, if required by Lender, pay the same to Lender to be held
by Lender as security for the Obligations.

10.     General Provisions.

        10.1.   Assignments and Participations by Lender.

                (a)      Lender shall have the right, at any time and from time to time, to assign or
sell the Loan, and/or enter into one or more participations in the Loan, accompanied by an
assignment and/or delegation of any or all related rights or obligations of Lender under the Loan
Documents, without the need for any form of consent from Borrower or Guarantor. Borrower
agrees to cooperate with Lender's efforts to do any of the foregoing, to provide such further or
additional financial or other documentation as Lender may reasonably request in connection with
any such sale, assignment or participation, and to execute all documents reasonably required by
Lender in connection therewith that do not materially adversely affect Borrower's rights under the
Loan Documents, and provided such cooperation shall be at no material expense or liability to
Borrower.

                 (b)      Borrower acknowledges and agrees that Lender, without any requirement
of further consent from Borrower or Guarantor, may provide to any prospective assignee or
participant originals or copies of this Agreement, any other Loan Document and any other
documents, instruments, certificates, opinions, insurance policies, letters of credit, reports,
requisitions, financial statements and credit information regarding Borrower and Guarantor, and
other materials and information of every nature or description, and may communicate all oral
information, at any time submitted by or on behalf of Borrower or Guarantor or received by any
Lender in connection with the Loan or with respect to Borrower or Guarantor, provided that prior
to any such delivery or communication, any such prospective assignee or participant shall agree to
preserve the confidentiality of any of the foregoing to the same extent that Lender has agreed or is
required by law to preserve such confidentiality.

        10.2.   Inspection.

        Lender shall at all times have the right to enter upon the Property to inspect the Property,
which right shall not terminate unless and until the Loan is paid in full. Borrower agrees to pay the
reasonable costs of annual inspections by third party consultants hired by Lender. Inspection by
Lender of the Property is for the purpose of protecting the security of Lender.

        10.3.   Indemnification.

          Borrower shall indemnify Lender, including each party owning an interest in the Loan and
their respective officers, directors, employees, and consultants (each, an "Indemnified Party"), and
defend and hold each Indemnified Party harmless from and against all claims, injury, damage, loss,
liability, cost, and expense (including attorneys' fees, costs, and expenses) of any and every kind to
any Persons or property by reason of (i) the operation or maintenance of the Property; (ii) any
breach of representation or warranty, default or Event of Default under the Loan Documents; or



                                                   - 32 -


                   Case 19-31883-dwh11             Doc 585
                                                       572      Filed 02/10/22
                                                                      01/28/22
(iii) any other matter arising in connection with the Loan, Borrower, any Guarantor, the Property
Manager, any tenants, or the Property. No Indemnified Party shall be entitled to be indemnified
against its own gross negligence or willful misconduct. The foregoing indemnification shall
survive repayment of the Loan, foreclosure of the Deed of Trust, and Lender's acquisition of the
Property in lieu of foreclosure and shall continue to benefit Lender following any assignment of
the Loan with respect to matters arising or accruing prior to such assignment.

        10.4.   Independent Evaluation.

        Borrower acknowledges that it has independently evaluated the economic viability of the
Property and the reliability and skills of all Persons involved in the Property. Borrower shall rely
solely on its own independent data, evaluations and business judgment regarding the Property, and
no action or statement by Lender shall be construed as an endorsement or recommendation relating
to any aspect of the Property.

        10.5.   Nature of Relationship.

         Lender and Borrower intend that the relationship between them shall be solely that of
creditor and debtor. Nothing in this Agreement or the other Loan Documents shall be construed to
create a partnership or any other relationship which would make Lender in any way responsible or
liable for the debts, losses, obligations or duties of Borrower.

        10.6.   Authorized Representative.

        Borrower appoints Vahan M. Dinihanian, Jr. as its authorized representative ("Authorized
Representative") for purposes of dealing with Lender on behalf of Borrower in respect of any and
all matters in connection with this Agreement, the other Loan Documents, and the Loan. The
Authorized Representative, acting alone, shall have the power, in his or her discretion, to give and
receive all notices, monies, approvals, and other documents and instruments, and to take any other
action on behalf of Borrower. All actions by the Authorized Representative shall be final and
binding on Borrower. Lender may rely on the authority given to the Authorized Representative
until actual receipt by Lender of a duly authorized resolution from Borrower revoking that
authority.

        10.7.   Costs and Expenses.

         Borrower shall pay or reimburse Lender for all legal, appraisal, and inspection fees; title
insurance and survey costs; recording and filing fees; hazard and liability insurance for the
Property; and any and all other charges or expenses incurred by Lender in connection with the
Loan, including, without limitation, all such costs and fees involved in processing Borrower's loan
application, preparing the Loan Documents, and closing, administering, collecting or enforcing the
Loan, including, without limitation all reasonable costs, charges, expenses, and attorneys' fees
Lender incurs, with or without litigation: (i) in connection with the enforcement of any remedy
contained in this Agreement or any other Loan Document, or (ii) in connection with any action
taken by Lender in accordance with the terms of any of the Loan Documents to protect its interests
or to recover amounts owed under the Loan, including, without limitation, any actions necessitated
by the bankruptcy of Borrower or Guarantor or the exercise by any other creditor of Borrower or
Guarantor of its right against Borrower, Guarantor or the Property. Borrower shall indemnify with
counsel selected by Lender in its sole discretion and hold Lender harmless against any and all
claims for fees, charges, real estate commissions, broker fees, taxes, or other expenses of any kind
in any way connected with the Loan or the Property. Borrower's obligation to pay such expenses



                                                  - 33 -


                  Case 19-31883-dwh11             Doc 585
                                                      572      Filed 02/10/22
                                                                     01/28/22
shall not be dependent on the Closing of the Loan and shall survive any termination of any loan
commitment executed by Lender. Borrower specifically acknowledges that Lender shall have the
right to recover its reasonable costs, charges, expenses, and attorneys' fees in any litigation, appeal
of any trial court decision, any arbitration proceeding, any action contesting or seeking to restrain,
enjoin, stay or postpone the exercise of any remedy, and any bankruptcy or other insolvency
proceeding involving Borrower, Guarantor, or the Property. Any amounts payable by Borrower
under this Section 10.7 shall be due and payable upon Notice from Lender and, if not paid within
ten (10) days thereafter, shall bear interest from the date of such Notice to and including the date
of collection at the Default Rate.

        10.8.    Notices.

        All notices (each, a "Notice") required or permitted hereunder shall be in writing and shall
be given to the parties as follows:

                 Lender:          SORFI, LLC
                                  240 SE 2nd Avenue, Suite 200
                                  Portland, OR 97214
                                  Attention: Sam Ross
                                  Telephone: (631) 873-9082
                                  Email: sam.ross@sortis.com


                 Borrower:        15005 NW CORNELL LLC
                                  237 NW Skyline Blvd.
                                  Portland, Oregon 97210
                                  Attention: Vahan M Dinihanian, Jr.
                                  Telephone: (503) 549-4091
                                  Email: vahan237@gmail.com

All such Notices shall be (a) sent by a nationally recognized overnight courier, in which case Notice
shall be deemed delivered one Business Day after deposit with such courier; or (b) served
personally, in which case Notice shall be deemed given on the date of such service, or (c) delivered
by e-mail transmission followed by delivery by personal service or nationally recognized courier
service on the next Business Day after e-mail transmission, in which case Notice shall be deemed
to have been given on the date of e-mail transmission. The above addresses may be changed by
written Notice to the other party; provided that no Notice of a change of address shall be effective
until actual receipt of such Notice.

        10.9.    Publicity.

         Upon Closing of the Loan, Lender may publicize financing of the Property by media of
Lender's choice and Lender may use Borrower's name and the name of the Property in any such
release.

        10.10. Electronic Transmission of Data.

        Lender and Borrower agree that certain Loan related data (including confidential
information, documents, applications and reports) may be transmitted electronically, including over
the Internet. This data may be transmitted to, received from or circulated among agents and
representatives of Borrower and/or Lender and their Affiliates, and other Persons involved with the



                                                   - 34 -


                   Case 19-31883-dwh11             Doc 585
                                                       572       Filed 02/10/22
                                                                       01/28/22
subject matter of this Agreement. Borrower acknowledges and agrees that (a) there are risks
associated with the use of electronic transmission and that Lender does not control the method of
transmittal or service providers, (b) Lender has no obligation or responsibility whatsoever and
assumes no duty or obligation for the security, receipt, or third party interception of such
transmissions, and (c) Borrower will release, hold harmless and indemnify Lender from any claim,
damage or loss, including that arising in whole or part from Lender's strict liability or sole,
comparative or contributory negligence, which is related to the electronic transmittal of data.

        10.11. Lender’s Expenses.

         Borrower agrees to pay fees in connection with the property and other reports required by
Lender pursuant to this Agreement and other out-of-pocket expenses (including but not limited to
legal fees) incurred by Lender and payable by Borrower in connection with the underwriting of the
Loan and preparation and negotiation of the Loan Documents (collectively, the "Borrower Closing
Expenses") on demand and authorizes Lender to pay the remaining amount due to Lender with
Loan proceeds if any remain undisbursed.

        10.12. Third Parties.

        No provision of this Agreement is intended or shall be construed to be for the benefit of
any third party.

        10.13. Singular and Plural.

        Whenever in this Agreement the context so requires, the neuter gender shall include the
masculine and the feminine, the singular number shall include the plural, and the plural shall
include the singular, and vice versa as the context may require.

        10.14. Captions.

        All section or paragraph division, numbering, and captions are for convenience of reference
only, and shall not affect the interpretation or construction of this Agreement or of any term,
condition, or provision hereof.

        10.15. Entire Agreement; Modifications.

        This Agreement and the Loan Documents constitute the entire agreement of the parties and
supersede all prior negotiations, agreements or understandings and may not be contradicted by
evidence of any alleged oral agreement. No modification or amendment of this Agreement or the
Loan Documents shall be effective unless set forth in writing and signed by Lender and Borrower.

        10.16. Counterparts.

        This Agreement may be executed in one or more counterparts, all of which together shall
constitute one and the same original.

        10.17. Severability.

         If any term or provision of this Agreement is illegal or invalid for any reason, such illegality
or invalidity shall not affect the enforceability of the remaining provisions of this Agreement and
the other Loan Documents.



                                                    - 35 -


                   Case 19-31883-dwh11              Doc 585
                                                        572       Filed 02/10/22
                                                                        01/28/22
        10.18. Construction and Interpretation.

         This Agreement and the other Loan Documents are the result of substantial negotiations
between Borrower and Lender and shall be construed in accordance with the fair intent of the
language contained herein and in the other Loan Documents in their entirety and not for or against
either party, regardless of which party was responsible for preparation. Borrower and Lender each
represent to the other that each has consulted with its own legal counsel in connection with this
Agreement and the other Loan Documents.

        10.19. USA Patriot Act Notice.

         Lender hereby notifies Borrower that pursuant to the requirements of the USA Patriot Act
(Title III of Pub. L. 107-56 (signed into law October 26, 2001), Lender is required to obtain, verify
and record information that identifies Borrower, which information includes the name and address
of Borrower and other information that will allow Lender to identify Borrower in accordance with
such act.

        10.20. Waiver of Jury Trial.

      BORROWER WAIVES, TO THE FULLEST EXTENT PERMITTED BY APPLICABLE
LAW, THE RIGHT TO A TRIAL BY JURY IN ANY ACTION OR PROCEEDING BASED
UPON, OR RELATED TO, THE LOAN OR THE LOAN DOCUMENTS. THIS WAIVER IS
KNOWINGLY, INTENTIONALLY, AND VOLUNTARILY MADE BY BORROWER, AND
BORROWER ACKNOWLEDGES THAT NO PERSON ACTING ON BEHALF OF LENDER
HAS MADE ANY REPRESENTATIONS OF FACT TO INDUCE THIS WAIVER OF TRIAL
BY JURY OR IN ANY WAY TO MODIFY OR NULLIFY ITS EFFECT. BORROWER
FURTHER ACKNOWLEDGES THAT BORROWER HAS BEEN REPRESENTED (OR HAS
HAD THE OPPORTUNITY TO BE REPRESENTED) IN THE SIGNING OF THE LOAN
DOCUMENTS AND IN THE MAKING OF THIS WAIVER BY INDEPENDENT LEGAL
COUNSEL SELECTED OF BORROWER'S OWN FREE WILL, AND THAT BORROWER HAS
HAD THE OPPORTUNITY TO DISCUSS THIS WAIVER WITH COUNSEL.

        10.21. Governing Law.

        This Agreement shall be governed by the laws of the State of Oregon.

        10.22. Jurisdiction.

      TO THE GREATEST EXTENT PERMITTED BY LAW, BORROWER HEREBY
WAIVES ANY AND ALL RIGHTS TO REQUIRE MARSHALING OF ASSETS BY LENDER.
WITH RESPECT TO ANY SUIT, ACTION OR PROCEEDINGS RELATING TO THIS
AGREEMENT (EACH, A "PROCEEDING"), BORROWER IRREVOCABLY (A) SUBMITS
TO THE NON-EXCLUSIVE JURISDICTION OF THE STATE AND FEDERAL COURTS
HAVING JURISDICTION IN THE COUNTY OF WASHINGTON AND STATE OF OREGON,
AND (B) WAIVES ANY OBJECTION WHICH IT MAY HAVE AT ANY TIME TO THE
LAYING OF VENUE OF ANY PROCEEDING BROUGHT IN ANY SUCH COURT, WAIVES
ANY CLAIM THAT ANY PROCEEDING HAS BEEN BROUGHT IN AN INCONVENIENT
FORUM AND FURTHER WAIVES THE RIGHT TO OBJECT, WITH RESPECT TO SUCH
PROCEEDING, THAT SUCH COURT DOES NOT HAVE JURISDICTION OVER SUCH
PARTY. NOTHING IN THIS AGREEMENT SHALL PRECLUDE LENDER FROM
BRINGING A PROCEEDING IN ANY OTHER JURISDICTION NOR WILL THE BRINGING



                                                  - 36 -


                   Case 19-31883-dwh11            Doc 585
                                                      572       Filed 02/10/22
                                                                      01/28/22
OF A PROCEEDING IN ANY ONE OR MORE JURISDICTIONS PRECLUDE THE
BRINGING OF A PROCEEDING IN ANY OTHER JURISDICTION. BORROWER FURTHER
AGREES AND CONSENTS THAT, IN ADDITION TO ANY METHODS OF SERVICE OF
PROCESS PROVIDED FOR UNDER APPLICABLE LAW, ALL SERVICE OF PROCESS IN
ANY PROCEEDING IN ANY OREGON STATE OR UNITED STATES COURT SITTING IN
WASHINGTON COUNTY MAY BE MADE BY CERTIFIED OR REGISTERED MAIL,
RETURN RECEIPT REQUESTED, DIRECTED TO BORROWER AT THE ADDRESS
INDICATED ABOVE, AND SERVICE SO MADE SHALL BE COMPLETE UPON RECEIPT;
EXCEPT THAT IF BORROWER SHALL REFUSE TO ACCEPT DELIVERY, SERVICE
SHALL BE DEEMED COMPLETE FIVE (5) DAYS AFTER THE SAME SHALL HAVE BEEN
SO MAILED.




                   [SIGNATURES ON FOLLOWING PAGE]




                                   - 37 -


             Case 19-31883-dwh11   Doc 585
                                       572   Filed 02/10/22
                                                   01/28/22
IN WITNESS WHEREOF, the parties have signed this Agreement as of the date first written above.

                               LENDER:

                               SORFI, LLC, an Oregon limited liability company


                               By:
                               Name:
                               Title:



                               BORROWER:


                               15005 NW CORNELL LLC, an Oregon limited liability
                               company


                               By:      ___________________________
                                        Vahan M. Dinihanian, Jr., its manager



                               ___________________________
                               Vahan M. Dinihanian, Jr.




                                                - 38 -


                 Case 19-31883-dwh11            Doc 585
                                                    572     Filed 02/10/22
                                                                  01/28/22
                                     EXHIBIT A

                         LEGAL DESCRIPTION OF PROPERTY




For informational purposes only:

Tax ID No.:

Address:       15005 NW Cornell Road
               Beaverton, Oregon 97006


               237 NW Skyline Boulevard
               Portland, Oregon 97210




                                          - 39 -


                 Case 19-31883-dwh11      Doc 585
                                              572   Filed 02/10/22
                                                          01/28/22
                       EXHIBIT B

     SOURCES AND USES OF LOAN PROCEEDS


                      Sources & Uses
Sources                                    $ Amount
 Sortis Loan Amount                          4,960,000
Total Sources                          $    4,960,000

Uses                                     $ Amount
 Baterman Seidel (Greg Minor)                 182,232
 Tasha Claim (As of 1/25/2022)              3,144,051
 Dan Lorenz                                    18,000
 Columbia Bank                                 26,165
 SORFI (Lender Pre-Closing Expenses)           98,000
 SORFI (Origination Fee)                      148,800
 SORFI (Underwriting Fee)                      15,000
 SORFI (Interest Reserve)                   1,210,000
 SORFI (Working Capital Reserve)              100,000
 SORFI (Legal/Title/Escrow)                    17,753
Total Uses                             $   4,960,000




                             - 40 -


Case 19-31883-dwh11          Doc 585
                                 572   Filed 02/10/22
                                             01/28/22
     Exhibit D




Case 19-31883-dwh11   Doc 585
                          572   Filed 02/10/22
                                      01/28/22
                                          PROMISSORY NOTE

$4,900,000.00                                                                              Portland, Oregon
                                                                                         February ___, 2022

         FOR VALUE RECEIVED, 15005 NW CORNELL LLC, an Oregon limited liability company
and Vahan M. Dinihanian, Jr., an individual (collectively, the "Borrower"), promise to pay, in lawful
money of the United States of America, to the order of SORFI, LLC, an Oregon limited liability company
("Lender"), at 240 SE 2nd Avenue, Suite 200, Portland, Oregon 97214, or at such other place or places or
to such other party as Lender or any future holder of this Note, and their successors and assigns, may from
time to time designate in writing, the principal sum of Four Million Nine Hundred Thousand and 00/100
Dollars ($4,960,000.00), or so much as may be advanced hereunder, payable with interest as provided
below. The proceeds of the loan ("Loan") evidenced by this Note are to be advanced under the terms and
conditions of the Loan Agreement ("Loan Agreement") between Lender and Borrower dated the same date
as this Note. Capitalized terms used but not defined in this Note are defined in the Loan Agreement.

       1.     Interest. The outstanding principal balance of this Note shall bear interest as provided in
the Loan Agreement.

      2.     Monthly Payments. Monthly payments of interest only shall be due as provided in the
Loan Agreement.

        3.       Maturity Date. The entire outstanding principal balance hereof, together with accrued
and unpaid interest and all other sums evidenced by this Note, shall, if not sooner paid, become due and
payable in full on February 1, 2024 ("Maturity Date").

        4.     Prepayment. This Note may be prepaid on the terms and subject to the conditions set out
in the Loan Agreement.

         5.       Late Charges. If any monthly payment of principal and/or interest on this Note is not
received by Lender by the end of business on the fifth (5th) day of the month (the "Grace Period"), at the
option of Lender, without waiving such Event of Default or any remedies, a late charge shall be added to the
delinquent payment in the amount of five percent (5%) of the full payment not timely paid (the "Late Charge").
The Grace Period shall not be construed as in any way extending the due date of any payment. Any such Late
Charge shall be due and payable on demand. If a Late Charge is added to the principal balance of this Note, it
shall bear interest at the same rate as the principal balance of this Note pursuant to the Loan Agreement. Any
payment to Lender by check, draft or other item shall be received by Lender subject to collection and will
constitute payment when collected not when received. The Late Charge is imposed for the purpose of
defraying the expenses of Lender incident to handling such delinquent payment and to compensate Lender
for the loss of use of such funds and is in addition to, and not in lieu of, any other remedy Lender may have
and is in addition to any fees and charges of any agents or attorneys which Lender may employ upon the
occurrence of an Event of Default, whether authorized herein or by Law.

         6.     Security. This Note is secured by the Deed of Trust encumbering real and personal
property located in Washington County, Oregon (the “Cornell Deed of Trust”) and the Deed of Trust
encumbering real and personal property located in Multnomah County, Oregon (the “Skyline Deed of
Trust”).

        7.      Remedies; Default Interest. Upon any Event of Default, Lender may declare the entire
unpaid principal balance on this Note and all accrued unpaid interest immediately due and payable in full,


                                                   -1-



                       Case 19-31883-dwh11               Doc 585
                                                             572    Filed 02/10/22
                                                                          01/28/22
without any further notice. Upon an Event of Default, Lender shall be entitled to the other remedies set out
in the Loan Agreement, the Cornell Deed of Trust, the Skyline Deed of Trust and the other Loan
Documents. Whether or not this Note is accelerated, while there is any Event of Default, the entire principal
balance of this Note, all accrued interest, and all other amounts payable under the Loan Documents shall
bear interest from the date of the Event of Default at the Default Rate.

        8.      General.

                  (a)     Waivers. Except as otherwise provided in the Loan Documents, Borrower waives
all notices required by law; including without limitation presentment and demand for payment, protest, and
notice of demand, protest, dishonor and nonpayment.

                (b)      Business Purpose. Borrower warrants and represents that all funds advanced
under this Note shall be applied to and are intended solely for business or commercial purposes.

                 (c)     Governing Law. This Note shall be construed, enforced and otherwise governed
by the laws of the State of Oregon.

             (d)         Notice. Any Notice to Borrower under this Note shall be given as provided in the
Loan Agreement.

                 (e)    Replacement Note. If this Note is lost, stolen, destroyed or mutilated, Borrower
shall execute a replacement note upon the written request of Lender.

                (f)      Time. Time is of the essence for purposes of this Note and the other Loan
Documents.

               (g)      Assignment of Note. The term "Lender" as used in this Note shall include any
subsequent holder of or participant in this Note and the other Loan Documents.

     EXCEPT AS OTHERWISE PROVIDED IN THIS NOTE OR THE OTHER LOAN
DOCUMENTS, BORROWER ACKNOWLEDGES LIABILITY FOR PAYMENT OF ALL AMOUNTS
OWING UNDER THIS NOTE AND THE OTHER LOAN DOCUMENTS AND AGREES THAT
LENDER DOES NOT HAVE TO FORECLOSE THE DEED OF TRUST OR ANY OTHER
COLLATERAL BEFORE DEMANDING FULL PAYMENT FROM BORROWER.




                                                   -2-


                       Case 19-31883-dwh11               Doc 585
                                                             572    Filed 02/10/22
                                                                          01/28/22
IN WITNESS WHEREOF, Borrower executes this Note as of the day and year first above written.


                                     BORROWER:


                                     15005 NW CORNELL LLC, an Oregon limited liability
                                     company


                                     By:      ___________________________
                                              Vahan M. Dinihanian, Jr., its manager



                                     _______________________________
                                     Vahan M. Dinihanian, Jr.




ENDORSEMENT:


PAY TO THE ORDER OF SORTIS INCOME FUND, LLC, an Oregon limited liability company,
WITHOUT RECOURSE.



                                     SORFI, LLC, an Oregon limited liability company


                                     By:
                                     Name:
                                     Title:




                                              -3-


                    Case 19-31883-dwh11             Doc 585
                                                        572   Filed 02/10/22
                                                                    01/28/22
     Exhibit E




Case 19-31883-dwh11   Doc 585
                          572   Filed 02/10/22
                                      01/28/22
Recording Requested By and
When Recorded Mail To:

Robert L. de Normandie
deNormandie, Sidlo & Associates PLLC
1215 Fourth Avenue, Suite 1901
Seattle, Washington 98161


                DEED OF TRUST, ASSIGNMENT OF RENTS AND LEASES,
                   SECURITY AGREEMENT AND FIXTURE FILING


 Document Title:                  Deed of Trust, Assignment of Rents and Leases, Security
                                  Agreement and Fixture Filing

 Grantor:                         15005 NW Cornell LLC, an Oregon limited liability company

 Grantee:                         ___________________ Title Insurance Company

 Beneficiary:                     SORFI, LLC, an Oregon limited liability company



                             Dated:          February ___, 2022

                             Location:       Oregon

                             County:         Washington

                             Tax Parcel:



     NOTICE TO RECORDER: THIS DOCUMENT CONSTITUTES A FIXTURE FILING IN
      ACCORDANCE WITH THE UNIFORM COMMERCIAL CODE AND ORS 79.0502




                   Case 19-31883-dwh11         Doc 585
                                                   572      Filed 02/10/22
                                                                  01/28/22
                  DEED OF TRUST, ASSIGNMENT OF RENTS AND LEASES,
                     SECURITY AGREEMENT AND FIXTURE FILING

THIS DEED OF TRUST, ASSIGNMENT OF RENTS AND LEASES, SECURITY AGREEMENT
AND FIXTURE FILING ("Deed of Trust") is made as of January ___, 2022, by 15005 NW
CORNELL LLC, an Oregon limited liability company ("Borrower"), as Grantor, whose mailing
address is _________________________, Oregon 97______; to ___________________ TITLE
INSURANCE COMPANY ("Trustee"), as Trustee, whose mailing address is ________________,
Portland, Oregon 97______; for the benefit of SORFI, LLC, an Oregon limited liability company
("Lender"), as Beneficiary, whose mailing address is 240 SE 2nd Avenue, Suite 200, Portland, Oregon
97214.

       Capitalized terms used but not defined in this Deed of Trust are defined in the Loan Agreement
("Loan Agreement") between Lender and Borrower of even date herewith.

        In consideration of the loan ("Loan") evidenced by the Note described below, Borrower hereby
irrevocably GRANTS, TRANSFERS, CONVEYS and ASSIGNS to Trustee, IN TRUST, WITH
POWER OF SALE, all of Borrower's present and future estate, right, title, claim, and interest, either in
law or in equity, in and to the following property ("Property"):

         (a)      The real property described on Exhibit A, all rights to the alleys, streets and roads
adjoining or abutting the real property, all present and future easements, access, air and development
rights, minerals and oil, gas and other hydrocarbon substances, water, water rights and water stock, and
all other rights, hereditaments, privileges, and appurtenances now or hereafter belonging or in any way
appertaining to such real property ("Realty");

       (b)   All present and future buildings, improvements and tenements located on the Realty
("Improvements");

          (c)     All present and future fixtures and articles of property attached to, or used or adapted for
use in the ownership, development, operation or maintenance of the Realty and Improvements (whether
such items are leased, owned, or subject to any title-retaining or security instrument), including without
limitation all heating, cooling, air-conditioning, ventilating, refrigerating, plumbing, generating, power,
lighting, laundry, maintenance, incinerating, lifting, cleaning, fire prevention and extinguishing, security
and access control, cooking, gas, electric and communication fixtures, equipment and apparatus; all engines,
motors, conduits, pipes, pumps, tanks, ducts, compressors, boilers, water heaters and furnaces; all ranges,
stoves, disposers, refrigerators and other appliances; all escalators and elevators, baths, sinks, cabinets,
partitions, mantels, built-in mirrors, window shades, blinds, screens, awnings, storm doors, windows and
sash; all carpeting, underpadding, floor covering, paneling, and draperies; and all shrubbery and plants. All
such items shall be deemed part of the Realty and not severable wholly or in part without material injury to
the freehold;

         (d)     All present and future rents, revenues, issues, profits and income from the Realty or the
Improvements, and all present and future leases and other agreements for the occupancy or use of all or any
part of the Realty and Improvements, including without limitation all cash or security deposits, advance



                                                     -1-




                      Case 19-31883-dwh11              Doc 585
                                                           572       Filed 02/10/22
                                                                           01/28/22
rentals and deposits or payments of similar nature, and all guarantees of tenants' or occupants' performance
under such leases and agreements;

        (e)     All present and future tangible personal property ("Personal Property") used in
connection with the ownership, development, operation or maintenance of the Realty and Improvements,
including without limitation all furniture, furnishings, equipment, supplies and other goods, wherever
located, whether in the possession of Borrower, warehousemen, bailee, or any other person;

         (f)      All present and future intangible personal property used in connection with the ownership,
development, operation or maintenance of the Realty, Improvements, and Personal Property, including
without limitation, all permits, licenses and franchises, contract rights (including without limitation
architectural, engineering, consulting, and management contracts), accounts receivable, escrow accounts,
insurance policies, deposits, instruments, documents of title, general intangibles, business records and the
exclusive right to the use of trade names;

         (g)     All present and future materials, supplies, and other goods, wherever located, whether in
the possession of Borrower, warehouseman, bailee, or any other person, purchased for use in the
construction, operation or furnishing of the Improvements, together with all documents, contract rights, and
general intangibles relating thereto;

        (h)     All present or future site plans, plats, architectural plans and specifications, work drawings,
surveys, engineering reports, test borings, market surveys, and other work products relating to the Realty
and Improvements;

        (i)     All present or future construction contracts relating to the Improvements, together with all
performance, payment, completion or other surety bonds in connection with or related to any such
construction contracts which are transferable by Borrower;

         (j)      All present and future contracts and policies of insurance which insure any buildings,
structures or improvements on the Realty, or any fixtures or personal property thereon, against casualty and
theft, and all monies and proceeds and rights thereto which may become payable by virtue of any insurance
contracts or policies;

          (k)      All claims, causes of action, warranties, accounts receivable, escrow accounts,
insurance policies, deposits (including tax, insurance and other reserves), instruments, documents of
title, general intangibles, and business records;

         (l)     All present and future monetary deposits to any city, county, public body or agency,
irrigation, sewer or water district or company, and any other body or agency, for the installation, or to
secure the installation, of any utility pertaining to the Realty or the Improvements.

         (m)     All refunds, rebates, reimbursements, reserves, deferred payments, deposits, cost savings,
governmental subsidy payments, governmentally-registered credits (such as emissions reduction credits),
other credits, waivers and payments, whether in cash or in kind, due from or payable by (i) any federal,
state, municipal or other governmental or quasi-governmental agency, authority or district (each, a
"Governmental Agency") or (ii) any insurance or utility company relating to any or all of the Realty or
Improvements or arising out of the satisfaction of any conditions imposed upon or the obtaining of any
approvals for the development or rehabilitation of the Realty;

                                                     -2-




                      Case 19-31883-dwh11              Doc 585
                                                           572       Filed 02/10/22
                                                                           01/28/22
          (n)     All refunds, rebates, reimbursements, credits and payments of any kind due from or
payable by any Governmental Agency for any taxes, special taxes, assessments, or similar governmental or
quasi-governmental charges or levies imposed upon Borrower with respect to the Property or upon any or
all of the Property or arising out of the satisfaction of any conditions imposed upon or the obtaining of any
approvals for the development or rehabilitation of the Property;

        (o)     All proceeds (including claims and demands therefor) of the conversion, voluntary or
involuntary, of any of the foregoing into cash or liquidated claims, including without limitation all
insurance proceeds and condemnation awards; and

        (p)      All products and proceeds of the foregoing.

        TO SECURE THE FOLLOWING (collectively the "Secured Obligations"):

        (a)      Payment of the sum of Four Million Nine Hundred Sixty Thousand and 00/100
Dollars ($4,960,000.00), or so much thereof as may be advanced, with interest thereon, according to the
terms and provisions of a promissory note ("Note") of even date, made by Borrower and payable to Lender,
including any and all modifications, extensions, renewals and replacements thereof.

          (b)     Payment of all sums advanced to protect the security of this Deed of Trust, together with
interest thereon as herein provided;

      (c)     Payment of all other sums which are or which may become owing under the Loan
Documents or which may be advanced by Lender pursuant to the Loan Documents; and

         (d)    Payment and performance of the other covenants and agreements of Borrower contained
in the Loan Agreement and the other Loan Documents; and

        (e)      Payment and performance of any future obligations of Borrower or any Affiliate of
Borrower to Lender if the documentation evidencing such future obligation expressly provides that it is
secured by this Deed of Trust.

        As used in this Deed of Trust, the term "Loan Documents" means the Note, the Loan
Agreement, this Deed of Trust and all related documents and instruments, and any and all modifications,
extensions, renewals and replacements thereof; provided, however, that notwithstanding any other
provision of this Deed of Trust, the Loan Agreement or any other Loan Document, this Deed of Trust
does not secure any of Borrower's obligations under the Indemnity Agreement nor any Guarantor's
obligations under the Guaranty.

        The Secured Obligations may be indexed, adjusted, renewed or renegotiated.

        BORROWER REPRESENTS, WARRANTS, COVENANTS AND AGREES AS FOLLOWS:

                                              ARTICLE I.
                                            TITLE AND USE

         1.1     Warranty of Title. Borrower covenants and agrees that: (i) Borrower is lawfully seized
of the estate hereby conveyed and has full right and power to grant, convey and assign the Property, (ii)
the Property is free from liens, encumbrances, exceptions and other charges of any kind whatsoever,

                                                    -3-




                      Case 19-31883-dwh11             Doc 585
                                                          572       Filed 02/10/22
                                                                          01/28/22
except for the exceptions listed in Lender's title insurance policy insuring this Deed of Trust or
exceptions otherwise approved in writing by Lender ("Permitted Exceptions"), (iii) no other liens or
encumbrances, whether superior or inferior to this Deed of Trust, shall be created or suffered to be
created by Borrower without the prior written consent of Lender, (iv) no default on the part of Borrower
or any other person exists under any of the Permitted Exceptions and all of the Permitted Exceptions are
in full force and effect and in good standing, without modification, (v) complete and current copies of
the Permitted Exceptions have been furnished to Lender, and none of them have been or will be modified
by Borrower without Lender's prior written consent, (vi) Borrower shall fully comply with all the terms
of the Permitted Exceptions and shall deliver to Lender a copy of all notices delivered in connection
with the Permitted Exceptions, (vii) Lender has the right to contact the other parties to the Permitted
Exceptions to confirm the status thereof, and Borrower from time to time shall, at the request of Lender,
request of such parties a certificate confirming such information regarding the Permitted Exceptions as
Lender may request, and (viii) Borrower shall forever warrant and defend the Property unto Lender
against all claims and demands of any other person whatsoever, subject only to non-delinquent taxes
and assessments and the Permitted Exceptions. None of the Permitted Exceptions, individually or in the
aggregate, materially interfere with the benefits of the security intended to be provided by this Deed of
Trust and the Loan Documents, materially and adversely affect the value of the Property, impair the use
or operations of the Property or impair Borrower's ability to pay its obligations in a timely manner.

       1.2       Non-Agricultural Use; Commercial Loan. Borrower represents and warrants to
Lender that (a) the Realty is not used principally for agricultural purposes, and (b) the Loan was not
made primarily for personal, family or household purposes.

                                         ARTICLE II.
                                    BORROWER'S COVENANTS.

        2.1     Payment and Performance of Secured Obligations. Borrower shall pay when due all
sums which are now or which may become owing under the Note, and shall pay and perform all other
Secured Obligations in accordance with their terms.

        2.2      Payment of Taxes, Utilities, Liens and Charges.

                  (a)     Taxes and Assessments. Except as the same may otherwise be paid under
Article III, Borrower shall pay when due directly to the payee thereof all taxes and assessments
(including without limitation, non-governmental levies or assessments such as maintenance charges,
owner association dues or charges, or fees, levies or charges resulting from covenants, conditions or
restrictions) levied, assessed or charged against or with respect to the Property or this Deed of Trust.
Upon request, Borrower shall promptly furnish to Lender all notices of amounts due under this
subsection and all receipts evidencing such payments.

                 (b)      Utilities. Borrower shall pay when due all utility charges and assessments for
services furnished the Property.

                 (c)     Labor and Materials. Borrower shall pay when due the claims of all persons
supplying labor or materials to or in connection with the Property.

                (d)      Liens and Charges. Borrower shall promptly discharge any lien, encumbrance, or
other charge, whether superior or inferior to this Deed of Trust, which may be claimed against the Property.

                                                    -4-




                      Case 19-31883-dwh11             Doc 585
                                                          572      Filed 02/10/22
                                                                         01/28/22
                  (e)     Taxes, Assessments and Other Charges Imposed on Lender. If, at any time after
the date of this Deed of Trust, any law is enacted or changed (including any interpretation thereof) which
subjects Lender to any increase in any tax (except federal, state or local income taxes), assessments, or other
charge, in any form measured by or based on any portion of the indebtedness secured by this Deed of Trust,
Borrower shall pay such increased amount to Lender on demand; provided that if any such payment would
be unlawful, Lender may declare all accrued interest and the entire principal balance of the Note
immediately due and payable.

                  (f)      Right to Contest. Notwithstanding anything set forth in this Section 2.2, so long
as no Event of Default shall occur hereunder, Borrower shall have the right to contest the amount or validity
in whole or in part of any lien, encumbrance or other charge against the Property by appropriate
administrative or judicial proceedings conducted in good faith and with due diligence, in which event
Borrower, upon written notice to Lender, may defer payment of any such lien, encumbrance or other charge,
so long as (i) Borrower shall have provided Lender with evidence satisfactory to Lender that such
proceedings shall operate to prevent the sale of the Property or any portion thereof, or the imposition of any
penalties on Borrower or the Property; (ii) neither the Property nor any part thereof will, by reason of such
postponement or deferment, be in danger of being forfeited or lost; (iii) before the date such lien,
encumbrance or other charge becomes delinquent, Borrower shall provide Lender with such security as
Lender may require to insure payment thereof and prevent any forfeiture or loss of the Property or any part
thereof; and (iv) on a final determination of such contest, which is not appealable or is not being appealed,
Borrower shall pay the amount of the lien, encumbrance or other charge if and when due, and prior to the
imposition of any penalties or delinquent interest.

        2.3      Insurance Provisions.

                 (a)    Required Coverage. Borrower shall keep the insurance coverage required by
the terms of the Loan Agreement in full force and effect.

                  (b)     Security. As security for the Secured Obligations, Borrower hereby assigns to
Lender and grants Lender a security interest in all required insurance policies, together with all proceeds
thereof, rights thereto and all unearned premiums returnable upon cancellation.

                 (c)     Application of Proceeds. The provisions of the Loan Agreement providing for
the application of insurance proceeds are incorporated by this reference.

        2.4      Preservation and Maintenance of Property; Right of Entry.

                  (a)     Preservation and Maintenance. Borrower shall (i) not commit or suffer any waste
or permit any impairment or deterioration of the Property, (ii) not abandon the Property, (iii) restore or repair
promptly and in a good and workmanlike manner all or any part of the Property to the equivalent of its
original condition, or such other condition as Lender may approve in writing, in the event of any damage,
injury or loss thereto, whether or not insurance proceeds are available to cover in whole or in part the costs
of such restoration or repair, (iv) keep the Property, including improvements, fixtures, equipment,
machinery and appliances thereon, in good condition and repair and shall replace fixtures, equipment,
machinery and appliances of the Property when necessary to keep such items in good condition and repair,
and (v) generally operate and maintain the Property in a commercially reasonable manner.

               (b)      Alterations. Except as specifically permitted under the Loan Agreement, none of
the Improvements shall be structurally altered, removed or demolished, in whole or in part, without Lender's
                                                      -5-




                       Case 19-31883-dwh11              Doc 585
                                                            572       Filed 02/10/22
                                                                            01/28/22
prior written consent, nor shall any fixture or chattel covered by this Deed of Trust and adapted to the use
and enjoyment of the Property be removed at any time without like consent unless actually replaced by an
article of equal suitability which is owned by Borrower free and clear of any lien or security interest.

                  (c)      Right of Entry. Lender is hereby authorized to enter the Property, including the
interior of any structures, at reasonable times and after reasonable notice, for the purpose of inspecting the
Property to determine Borrower's compliance with this Section 2.4.

          2.5     Parking. If any part of the automobile parking areas included within the Property is taken
by condemnation, and before the parking areas are diminished for any other reason, Borrower shall take all
actions as are necessary to provide parking facilities in kind, size and location to comply with all
governmental zoning and other regulations and all leases. Before making any contract for substitute parking
facilities, Borrower shall furnish to Lender satisfactory assurance of completion thereof free of liens and in
conformity with all government zoning and other regulations. This Deed of Trust shall constitute a first
lien on all such substitute parking facilities.

          2.6     Use of Property. Borrower shall comply with all laws, ordinances, regulations and
requirements of any governmental body, and all other covenants, conditions and restrictions applicable to
the Property, and pay all fees and charges in connection therewith. Unless required by applicable law or
unless Lender has otherwise agreed in writing, Borrower shall not allow changes in the use for which all or
any part of the Property was intended at the time this Deed of Trust was executed. Borrower shall not
initiate or acquiesce in a change in the zoning classification of the Property without Lender's prior written
consent.

        2.7      Condemnation. The provisions of the Loan Agreement regarding condemnation actions
and the application of condemnation proceeds are incorporated by this reference.

         2.8      Protection of Lender's Security. Borrower shall give notice to Lender of and shall appear
in and defend any action or proceeding that may affect the Property, the interests of Lender or Trustee
therein, or the rights or remedies of Lender or Trustee under the Loan Documents. If any such action or
proceeding is commenced, or Borrower fails to perform any obligation under the Loan Documents, Lender
or Trustee may, at their option, make any appearances, disburse any sums, make any entries upon the
Property, and take any actions as may be necessary or desirable to (i) protect or enforce the security of this
Deed of Trust, (ii) remedy Borrower's failure to perform its obligations under the Loan Documents (without
waiving such default by Borrower), or (iii) otherwise protect Lender's or Trustee's interests. Borrower shall
pay all losses, damages, fees, costs, and expenses incurred by Lender and Trustee in taking such actions,
including without limitation reasonable legal fees.

        2.9      Reimbursement of Lender's and Trustee's Expenses. All amounts disbursed by Lender
and Trustee pursuant to Section 2.8 or any other provision of this Deed of Trust, with interest thereon, shall
be additional indebtedness of Borrower secured by this Deed of Trust. All such amounts shall be
immediately due and payable and bear interest from the date of disbursement at the lesser of the default rate
under the Note, or the maximum rate permitted by law.

                                           ARTICLE III.
                                     INTENTIONALLY OMITTED




                                                     -6-




                      Case 19-31883-dwh11              Doc 585
                                                           572       Filed 02/10/22
                                                                           01/28/22
                                     ARTICLE IV.
                     RESTRICTIONS ON TRANSFER OR ENCUMBRANCE.

         The Loan Agreement contains certain restrictions on any transfer or encumbrance of the
Property, any portion thereof or any interest therein, and on any direct or indirect transfer or
encumbrance of direct or indirect ownership interests in Borrower. Those provisions are incorporated
by this reference. The occurrence of any Transfer or attempted Transfer not permitted under the Loan
Agreement shall be an immediate Event of Default whereupon the Secured Obligations shall be
immediately due and payable in full without notice or demand from Lender.

                                  ARTICLE V.
                  UNIFORM COMMERCIAL CODE SECURITY AGREEMENT.

         5.1      Grant of Security Interest. This Deed of Trust constitutes a security agreement pursuant
to the Uniform Commercial Code with respect to (a) any of the Property which, under applicable law, is not
real property or effectively made part of the real property by the provisions of this Deed of Trust; and (b)
any and all other property now or hereafter described on any Uniform Commercial Code Financing
Statement naming Borrower as Debtor and Lender as Secured Party and affecting property in any way
connected with the use and enjoyment of the Property, any and all such other property constituting
"Property" for purposes of this Deed of Trust. Borrower hereby grants Lender a security interest in all
property described in clauses (a) and (b) above as security for the Secured Obligations. Borrower and
Lender agree, however, that neither the foregoing grant of a security interest nor the filing of any such
financing statement shall be construed as limiting the parties' stated intention that everything used in
connection with the production of income from the Property, or adapted for use therein, or which is
described or reflected in this Deed of Trust, is and at all times shall be regarded as part of the Realty.

         5.2      Status of Borrower; Financing Statements. Borrower's exact legal name is correctly
set forth on the signature page of this Deed of Trust. If Borrower is not an individual, Borrower is an
organization of the type specified in the introductory paragraph of this Deed of Trust. If Borrower is a
registered entity, Borrower is incorporated in or organized under the laws of the state specified in the
introductory paragraph of this Deed of Trust. If Borrower is an unregistered entity (including a general
partnership), it is organized under the laws of the state specified in the introductory paragraph of this
Deed of Trust. Borrower will not cause or permit any change to be made in its name, identity or
corporate, company or partnership structure unless the Borrower shall have notified Lender in writing
of such change at least thirty (30) days prior to the effective date of such change, and shall have first
taken all action required by Lender for the purpose of further perfecting or protecting the lien and
security interest of Lender in the Property. Borrower's principal place of business and chief executive
office, and the place where Borrower keeps its books and records, including recorded data of any kind
or nature, regardless of the medium of recording, including software, writing, plans, specifications and
schematics concerning the Property, has been for the preceding four months (or less if for the entire
existence of Borrower) and will continue to be the address of Borrower set forth in the first paragraph
of this Deed of Trust (unless Borrower notifies Lender of any change in writing at least thirty (30) days
prior to the date of such change). If Borrower is an individual, Borrower's principal residence has been
for the preceding four months and will continue to be the address of the principal residence of Borrower
set forth at the end of this Deed of Trust (unless Borrower notifies Lender of any change in writing at
least thirty (30) days prior to the date of such change). Borrower's organizational identification number,
if any, assigned by the state of incorporation or organization is 348896-91. Borrower shall promptly
notify Lender of any change of its organizational identification number. If Borrower does not now have

                                                    -7-




                      Case 19-31883-dwh11             Doc 585
                                                          572      Filed 02/10/22
                                                                         01/28/22
an organizational identification number and later obtains one, Borrower shall promptly notify Lender of
such organizational identification number. Borrower agrees that Lender may file this Deed of Trust, or a
reproduction thereof, in the real estate records or other appropriate index, as a financing statement for any
of the items specified above as part of the Property. Any reproduction of this Deed of Trust or of any other
security agreement or financing statement shall be sufficient as a financing statement. Borrower hereby
authorizes Lender (and Lender's representatives and agents) to file financing statements (and amendments
thereto) relating to the Property. The form and substance of any financing statement filed with respect to
this Deed of Trust shall be as Lender, in its sole discretion, may determine. Borrower shall pay all costs of
filing such financing statements and any extensions, continuations, renewals, amendments and releases
thereof, and shall pay all costs and expenses of any record searches for financing statements which Lender
may require.

         5.3      Lender's Rights and Remedies. With respect to the Property subject to the foregoing
security interest, Lender shall have all the rights and remedies (i) of a secured party under the Uniform
Commercial Code, (ii) provided herein, including without limitation the right to cause such Property to be
sold by Trustee under the power of sale granted by this Deed of Trust, and (iii) provided by law. In
exercising its remedies, Lender may proceed against the items of real property and any items of personal
property separately or together and in any order whatsoever, without in any way affecting the availability
of Lender's remedies. Upon demand by Lender following an Event of Default hereunder, Borrower shall
assemble any items of personal property and make them available to Lender at the Realty. Lender shall
give Borrower at least five (5) days' prior written notice of the time and place of any public sale or other
disposition of such Property or of the time of or after which any private sale or any other intended disposition
is to be made. Any person permitted by law to purchase at any such sale may do so. Such Property may
be sold at any one or more public or private sales as permitted by applicable law.

                                        ARTICLE VI.
                               ASSIGNMENT OF RENTS AND LEASES

         6.1     Assignment of Rents and Leases. As security for the Secured Obligations, Borrower
assigns and transfers to Lender and grants Lender a security interest in and to all right, title and interest
of Borrower in and to: (a) any and all present and future leases, subleases, and other agreements for the
occupancy or use of all or any part of the Property, and any and all modifications, extensions, renewals
and replacements thereof ("Leases"); (b) all cash or security deposits, advance rentals and deposits of a
similar nature under the Leases; (c) any and all guarantees of tenants' or occupants' performances under
any and all Leases; and (d) all rents, issues, profits and revenues ("Rents") now due or which may
become due or to which Borrower may now or shall hereafter become entitled or may demand or claim
(including Rents coming due during any redemption period), arising or issuing from or out of any and
all Leases, including without limitation minimum, additional, percentage and deficiency rents and
liquidated damages and all rights to and proceeds of rental loss or business interruption insurance.

         6.2     Collection of Rents. Prior to any Event of Default hereunder, Borrower shall have a
license to, and shall, collect and receive all Rents of the Property as trustee for the benefit of Lender and
Borrower, apply the Rents so collected first to the payment of taxes, assessments and other charges on
the Property prior to delinquency, second to the cost of insurance, maintenance and repairs required by
the terms of this Deed of Trust, third to the costs of discharging any obligation or liability of Borrower
under the Leases, and fourth to the Secured Obligations, with the balance, if any, to the account of
Borrower provided there is no Event of Default. Upon delivery of written notice by Lender to Borrower
of an Event of Default hereunder and stating that Lender exercises its rights to the Rents, and without

                                                      -8-




                      Case 19-31883-dwh11               Doc 585
                                                            572       Filed 02/10/22
                                                                            01/28/22
the necessity of Lender entering upon and taking and maintaining full control of the Property in person,
by agent or by a court-appointed receiver, Lender shall immediately be entitled to possession of all Rents
from the Property as the same become due and payable, including without limitation Rents then due and
unpaid, and all such Rents shall immediately upon delivery of such notice be held by Borrower as trustee
for the benefit of Lender only. Upon delivery of such written notice by Lender, Borrower hereby agrees
to direct each tenant or occupant of the Property to pay all Rents to Lender on Lender's written demand
therefor, without any liability on the part of said tenant or occupant to inquire further as to the existence
of an Event of Default by Borrower. Borrower hereby authorizes Lender as Borrower's attorney-in-fact
to make such direction to tenants and occupants upon Borrower's failure to do so as required herein.
Payments made to Lender by tenants or occupants shall, as to such tenants and occupants, be in discharge
of the payors' obligations to Borrower. Lender may exercise, in Lender's or Borrower's name, all rights
and remedies available to Borrower with respect to collection of Rents. Nothing herein contained shall
be construed as obligating Lender to perform any of Borrower's obligations under any of the Leases.

          6.3     Borrower's Representations and Warranties. Borrower hereby represents and warrants
to Lender that Borrower has not executed and will not execute any other assignment of said Leases or Rents,
and Borrower has not performed and will not perform any acts and has not executed and will not execute
any instrument which would prevent Lender from exercising its rights under this Article VI. Borrower shall
execute and deliver to Lender such further assignments of rents and leases of the Property as Lender may
from time to time request. Borrower represents, warrants, and covenants that (a) Borrower is the absolute
owner of all Leases and Rents, with full right and title to assign the same; (b) all existing Leases are valid,
in full force and effect, and have not been modified or amended, except as disclosed in writing to Lender;
(c) there is no outstanding assignment or pledge of any Leases or Rents; (d) there are no existing defaults
under any Leases on the part of any party thereto, except as disclosed in writing to Lender; (e) no Rents
have been discounted, released, waived, compromised, or otherwise discharged; (f) all tenants under the
Leases are in occupancy, paying rent on fully executed Leases and carrying on their business with all tenant
improvements fully completed except as disclosed in writing to Lender; (g) no existing Lease contains any
provision permitting prepayment of more than one (1) month's rent in advance.

         6.4      Lender in Possession; Appointment of Receiver. Upon any Event of Default hereunder,
Lender may, in person, by agent or by a court-appointed receiver, regardless of the adequacy of Lender's
security, enter upon and take and maintain full control of the Property in order to perform all acts necessary
and appropriate for the operation and maintenance thereof in the same manner and to the same extent as
Borrower could do the same, including without limitation the execution, enforcement, cancellation and
modification of Leases, the collection of all Rents of the Property, the removal and eviction of tenants and
other occupants, the making of alterations and repairs to the Property, and the execution and termination of
contracts providing for management or maintenance of the Property, all on such terms as are deemed best
by Lender to protect the security of this Deed of Trust. From and after the occurrence of any such Event of
Default, if any owner of the Property shall occupy the Property or part thereof such owner shall pay to
Lender in advance on the first day of each month a reasonable rental for the space so occupied, and upon
failure so to do Lender shall be entitled to remove such owner from the Property by any appropriate action
or proceedings. Following an Event of Default hereunder, Borrower hereby irrevocably consents and agrees
that Lender shall be entitled (regardless of the adequacy of Lender's security) to the appointment of a
custodial receiver or general receiver with power of sale. Said receiver may serve without bond, shall have
the usual powers and duties of receivers in like or similar cases, all the powers and duties of Lender set forth
in this Deed of Trust or any of the other Loan Documents, and, in the case of a general receiver, a right to
sell the Property. Employment by Lender shall not disqualify a person from serving as receiver. The


                                                      -9-




                      Case 19-31883-dwh11               Doc 585
                                                            572       Filed 02/10/22
                                                                            01/28/22
receiver shall be entitled to receive a reasonable fee for all its services rendered in connection with the
receivership.

         6.5      Application of Rents. All Rents collected subsequent to delivery of written notice by
Lender to Borrower of an Event of Default hereunder shall be applied first to the costs, if any, of taking
control of and managing the Property and collecting the Rents, including without limitation attorneys' fees,
receiver's fees, premiums on receiver's bonds, costs of maintenance and repairs to the Property, premiums
on insurance policies, taxes, assessments and other charges on the Property, and the costs of discharging
any obligation or liability of Borrower under the Leases, and then to the Secured Obligations. Lender or
the receiver shall be liable to account only for those Rents actually received. Lender shall not be liable to
Borrower, anyone claiming under or through Borrower or anyone having an interest in the Property by
reason of anything done or left undone by Lender under this Article.

         6.6     Deficiencies. To the extent, if any, that the costs of taking control of and managing the
Property, collecting the Rents, and discharging obligations and liabilities of Borrower under the Leases,
exceed the Rents of the Property, the excess sums expended for such purposes shall be indebtedness secured
by this Deed of Trust. Such excess sums shall be payable upon demand by Lender and shall bear interest
from the date of disbursement at the Default Rate.

        6.7     Lender Not Mortgagee in Possession. Nothing herein shall constitute Lender a
"mortgagee in possession" prior to its actual entry upon and taking possession of the Property. Entry upon
and taking possession by a receiver shall not constitute possession by Lender.

        6.8      Enforcement. Lender may enforce this assignment without first resorting to or exhausting
any security or collateral for the Secured Obligations.

         6.9      Lender Not Responsible. Under no circumstances shall Lender have any duty to produce
Rents from the Property. Regardless of whether or not Lender, in person or by agent, takes actual possession
of the Property, Lender is not and shall not be deemed to be: (a) responsible for any waste committed by
tenants or any other parties, any dangerous or defective condition of the Property, or any negligence in the
management, upkeep, repair, or control of the Property; (b) responsible for any loss sustained by Borrower
resulting from Lender's failure to lease the Property or from any other act or omission of Lender in managing
the Property or administering the Leases; or (c) liable in any manner for the Property or the use, occupancy,
enjoyment or operation of all or any part of it. All risk of loss with respect to the Property is borne
exclusively by Borrower and Lender shall have no responsibility for any decline in the value of the Property,
for any failure by Borrower to maintain insurance coverage required under the Loan Agreement, for any
inadequacy of the proceeds of any required insurance coverage or for any risk not insured against or not
required to be insured against hereunder.

         6.10    Indemnity. Borrower shall indemnify, defend with counsel selected by Lender in its sole
discretion, and hold Lender harmless from and against any and all claims, demands, liabilities, losses,
lawsuits, judgments, damages, costs and expenses, including, without limitation, attorneys' fees and costs,
to which Lender may be exposed or which Lender may incur arising out of or resulting from this assignment
of Leases and Rents, including, without limitation, claims or demands for security deposits from tenants
deposited with Borrower, and all claims or demands whatsoever asserted against Lender to satisfy any
obligations of the landlord under the Leases. This agreement by Borrower to indemnify Lender shall
survive the release and cancellation of any or all of the Secured Obligations and the full or partial release
and or reconveyance of this Deed of Trust.

                                                    - 10 -




                      Case 19-31883-dwh11              Doc 585
                                                           572      Filed 02/10/22
                                                                          01/28/22
                                            ARTICLE VII.
                                         EVENTS OF DEFAULT.

         7.1      Events of Default. The occurrence of any Event of Default under the Loan Agreement
shall constitute an Event of Default hereunder.

       7.2    Remedies. Upon any Event of Default, Lender may, at its option and without notice to
or demand upon Borrower, exercise any one or more of the following actions:

              (a)         Declare all the Secured Obligations immediately due and payable.

             (b)      Bring a court action to enforce the provisions of this Deed of Trust or any of
the other Loan Documents.

              (c)         Foreclose this Deed of Trust as a mortgage.

             (d)         Cause any or all of the Property to be sold under the power of sale granted by
this Deed of Trust in any manner permitted by applicable law.

              (e)         Elect to exercise its rights with respect to the Leases and the Rents.

              (f)      Exercise any or all of the other rights and remedies under this Deed of Trust
and the other Loan Documents.

              (g)         Exercise any other right or remedy available under law or in equity.

         7.3      Exercise of Power of Sale. For any sale under the power of sale granted by this Deed of
Trust, Lender or Trustee shall record and give all notices required by law and then, upon the expiration of
such time as is required by law, Trustee may sell the Property upon any terms and conditions specified by
Lender and permitted by applicable law. Trustee may postpone any sale by public announcement at the
time and place notified for the sale. If the Property includes several lots or parcels, Lender in its discretion
may designate their order of sale or may elect to sell all of them as an entirety. The Property, real, personal
and mixed, may be sold in one parcel. To the extent any of the Property sold by the Trustee is personal
property, then Trustee shall be acting as the agent of the Lender in selling such Property. Any person
permitted by law to do so may purchase at any sale. Upon any sale, Trustee will execute and deliver to the
purchaser or purchasers a deed or deeds conveying the Property sold, but without any covenant or warranty,
express or implied, and the recitals in the Trustee's deed showing that the sale was conducted in compliance
with all the requirements of law shall be prima facie evidence of such compliance and conclusive evidence
thereof in favor of bona fide purchasers and encumbrances for value.

         7.4      Application of Sale Proceeds. The proceeds of any sale under this Deed of Trust shall be
applied in the following manner: (a) first to the payment of the costs and expenses of the sale; including
without limitation Trustee's fees, legal fees and disbursements, title charges and transfer taxes, and payment
of all expenses, liabilities and advances of Trustee, together with interest on all advances made by Trustee
from date of disbursement at the applicable interest rate under the Note from time to time or at the maximum
rate permitted to be charged by Trustee under the applicable law if that is less; (b) second to the payment of
all sums expended by Lender under the terms of this Deed of Trust and not yet repaid, together with interest
on such sums from date of disbursement at the applicable interest rate under the Note from time to time or
the maximum rate permitted by applicable law if that is less; (c) third to the payment of all other Secured
                                                     - 11 -




                      Case 19-31883-dwh11               Doc 585
                                                            572       Filed 02/10/22
                                                                            01/28/22
Obligations in any order that the Lender chooses; and (d) the remainder, if any, to the person or persons
legally entitled to it.

         7.5      Waiver of Order of Sale, Marshaling and Other Matters. Lender shall have the
right to determine the order in which any or all portions of the secured indebtedness are satisfied from
the proceeds realized upon the exercise of any remedies provided herein. Borrower, any party who
consents to this Deed of Trust and any party who now or hereafter acquires a security interest in the
Property and who has actual or constructive notice hereof and waives any and all right to require
marshaling of assets in connection with the exercise of any of the remedies permitted by applicable law
or provided herein, or to direct the order in which any of the Property will be sold in the event of any
sale under this Deed of Trust. To the extent allowed by law, Borrower waives (i) the benefit of all laws
now existing or that may hereafter be enacted providing for any appraisement before sale of any portion
of the Property, (ii) all rights of valuation, appraisement, stay of execution, reinstatement and redemption
laws in the event of foreclosure of the liens hereby created, (iii) all rights and remedies which Borrower
may have or be able to assert by reason of the laws of the State where the Property is located pertaining
to the rights and remedies of sureties, and (iv) the right to assert any statute of limitations as a bar to the
enforcement of the lien of this Deed of Trust or to any action brought to enforce the Note or any other
obligation secured by this Deed of Trust.

         7.6     Non-Waiver of Defaults. The entering upon and taking possession of the Property, the
collection of Rents or the proceeds of fire and other insurance policies or compensation or awards for any
taking or damage of the Property, and the application or release thereof as herein provided, shall not cure or
waive any default or notice of default hereunder or invalidate any act done pursuant to such notice.

         7.7     Expenses During Redemption Period. If this Deed of Trust is foreclosed as a mortgage
and the Property sold at a foreclosure sale, the purchaser may during any redemption period allowed, make
such repairs or alterations on the Property as may be reasonably necessary for the proper operation, care,
preservation, protection and insuring thereof. Any sums so paid together with interest thereon from the time
of such expenditure at the greater of the default rate under the Note, or the maximum rate permitted by law,
shall be added to and become a part of the amount required to be paid for redemption from such sale.

        7.8     Foreclosure Subject to Tenancies. Lender shall have the right at its option to foreclose
this Deed of Trust subject to the rights of any tenant or tenants of the Property.

         7.9      Evasion of Prepayment Terms. If any Event of Default has occurred, a tender of
payment of the indebtedness secured hereby at any time prior to or at a judicial or non-judicial foreclosure
sale of the Property by Borrower, or anyone on behalf of Borrower, shall constitute an evasion of any
prepayment terms of the Note, if any, and shall constitute a voluntary prepayment thereunder, and any such
tender shall include any prepayment premium required under the Note, if any.

         7.10     Lender's and Trustee's Expenses. Borrower shall pay all of Lender's and Trustee's
expenses incurred in any efforts to enforce any terms of this Deed of Trust, whether or not any suit is filed,
including without limitation legal fees and disbursements, foreclosure costs and title charges. All such
sums, with interest thereon, shall be additional indebtedness of Borrower secured by this Deed of Trust.
Such sums shall be immediately due and payable and shall bear interest from the date of disbursement at
the greater of the default rate under the Note, or the maximum rate permitted by law.




                                                     - 12 -




                      Case 19-31883-dwh11               Doc 585
                                                            572      Filed 02/10/22
                                                                           01/28/22
         7.11     Fair Market Value. To the extent the Oregon Deed of Trust Act, as now existing or
hereafter amended, or other statute requires that the "fair market value" or "fair value" of the Property
be determined as of the foreclosure date in order to enforce a deficiency against Borrower or any other
party liable for repayment of the Secured Obligations, the term "fair market value" or "fair value" shall
include those matters required by law and the additional factors set forth below:

                (a)     The Property shall be valued "as is" and "with all faults" and there shall be no
assumption of restoration or refurbishment of Improvements, if any, after the date of the foreclosure.

                 (b)     An offset to the fair market value or fair value of the Property, as determined
hereunder, shall be made by deducting from such value the reasonable estimated closing costs related
to the sale of the Property, including but not limited to brokerage commissions, title policy expenses,
tax pro-rations, escrow fees, and other common charges that are incurred by the seller of real property.

               (c)     Borrower shall pay the costs of any appraisals and other expenses incurred in
connection with any such determination of fair market value or fair value.

                                            ARTICLE VIII.
                                         GENERAL PROVISIONS

        8.1     No Offset. Borrower's obligation to timely pay and perform all obligations under the
Note, the Loan Agreement, and the other Loan Documents shall be absolute and unconditional and shall
not be affected by any event or circumstance, including, without limitation, any setoff, counterclaim,
abatement, suspension, recoupment, deduction, defense or any other right that Borrower or any
guarantor may have or claim against Lender or any other person or entity.

         8.2      Application of Payments. Except as applicable law or this Deed of Trust may otherwise
provide, all payments received by Lender under the Note or this Deed of Trust shall be applied by Lender
in the following order of priority: (a) Lender's and Trustee's expenses incurred in any efforts to enforce any
terms of this Deed of Trust; (b) interest payable on advances made to protect the security of this Deed of
Trust; (c) principal of such advances; (d) amounts payable to Lender by Borrower under Section 3 for
reserves; (e) interest and late charges payable on the Note; (f) principal of the Note; and (g) any other
Secured Obligations in such order as Lender, at its option, may determine; provided, however, that Lender
may, at its option, apply any such payments received to interest on or principal of the Note prior to applying
such payments to interest on and principal of advances made to protect the security of this Deed of Trust.

         8.3      Reconveyance. Upon payment of all sums secured by this Deed of Trust, Lender shall
request Trustee to reconvey the Property and shall surrender this Deed of Trust and all notes evidencing
indebtedness secured by this Deed of Trust to Trustee. Trustee shall reconvey the Property without warranty
to the person or persons legally entitled thereto. The grantee in any reconveyance may be described as the
"person or persons legally entitled thereto," and the recitals therein of any matters or facts shall be conclusive
proof of the truthfulness thereof. Such person or persons shall pay Trustee's reasonable costs incurred in so
reconveying the Property.

        8.4      Successor Trustee. In accordance with applicable law, Lender may from time to time
appoint a successor trustee to any Trustee appointed hereunder. Without conveyance of the Property, the
successor trustee shall succeed to all the title, power and duties conferred upon the Trustee herein and by
applicable law.

                                                      - 13 -




                       Case 19-31883-dwh11               Doc 585
                                                             572       Filed 02/10/22
                                                                             01/28/22
         8.5      Lender's Powers. Without affecting the liability of any person for payment or
performance of the Secured Obligations or any of Lender's rights or remedies, Lender, at its option, may
extend the time for payment of the indebtedness secured hereby or any part thereof, reduce payment thereon,
release anyone liable on any of said indebtedness, accept a renewal note or notes therefor, modify the terms
and time of payment of the indebtedness, release the lien of this Deed of Trust on any part of the Property,
take or release other or additional security, release or reconvey or cause to be released or reconveyed all or
any part of the Property, or consent and/or cause Trustee to consent to the making of any map or plat of the
Property, consent or cause Trustee to consent to the granting of any easement or creating any restriction on
the property, or join or cause Trustee to join in any subordination or other agreement affecting this Deed of
Trust or the lien or charge hereof. Borrower shall pay Lender a reasonable service charge, together with
such title insurance premiums and attorneys' fees as may be incurred at Lender's option, for any such action
if taken at Borrower's request.

         8.6     Subrogation. Lender shall be subrogated for further security to the lien, although released
of record, of any and all encumbrances discharged, in whole or in part, by the proceeds of the Note or any
other indebtedness secured thereby.

         8.7      Limitation on Interest and Charges. The interest, fees and charges under the Loan
Documents shall not exceed the maximum amounts permitted by any applicable law. If any such interest,
fee or charge exceeds the maximum, the interest, fee or charge shall be reduced by the excess and any excess
amounts already collected from Borrower shall be refunded. Lender may refund such excess either by
treating the excess as a prepayment of principal under the Note or by making a direct payment to Borrower.
If Lender elects to treat the excess as a prepayment of principal, Borrower shall not be obligated to pay any
prepayment premium required under the Note. The provisions of this paragraph shall control over any
inconsistent provision in the Loan Documents.

        8.8      Additional Documents; Power of Attorney. Borrower, from time to time, shall execute,
acknowledge and deliver to Lender upon request, and hereby irrevocably appoints Lender its attorney-in-
fact to execute, acknowledge, deliver and if appropriate file and record, such security agreements,
assignments for security purposes, assignments absolute, financing statements, affidavits, certificates and
other documents, in form and substance satisfactory to Lender, as Lender may request in order to perfect,
preserve, continue, extend or maintain the assignments herein contained, the lien and security interest under
this Deed of Trust, and the priority thereof. Borrower shall pay to Lender upon request therefor all costs
and expenses incurred in connection with the preparation, execution, recording and filing of any such
document.

        8.9     Waiver of Statute of Limitations. To the full extent Borrower may do so, Borrower
hereby waives the right to assert any statute of limitations as a defense to the enforcement of the lien of this
Deed of Trust or to any action brought to enforce the Note or any other obligation secured by this Deed of
Trust.

          8.10    Forbearance by Lender Not a Waiver. Any forbearance by Lender in exercising any
right or remedy hereunder, or otherwise afforded by applicable law, shall not be a waiver of or preclude the
exercise of any right or remedy, and no waiver by Lender of any particular default shall constitute a waiver
of any other default or of any similar default in the future. Furthermore, no waiver of Lender's rights or
remedies in one or more instances shall establish a course of dealing or other agreement that will bind
Lender or prohibit Lender from enforcing the terms of the Loan Documents in another instance. Without
limiting the generality of the foregoing, the acceptance by Lender of payment of any sum secured by this

                                                     - 14 -




                      Case 19-31883-dwh11               Doc 585
                                                            572       Filed 02/10/22
                                                                            01/28/22
Deed of Trust after the due date thereof shall not be a waiver of Lender's right to either require prompt
payment when due of all other sums so secured or to declare a default for failure to make prompt payment.
The procurement of insurance or the payment of taxes or other liens or charges by Lender shall not be a
waiver of Lender's right to accelerate the maturity of the indebtedness secured by this Deed of Trust, nor
shall Lender's receipt of any awards, proceeds or damages under Sections 2.3 and 2.7 hereof operate to cure
or waive Borrower's default in payment of sums secured by this Deed of Trust.

        8.11     Modifications and Waivers. This Deed of Trust cannot be waived, changed, discharged
or terminated orally, but only by an instrument in writing signed by the party against whom enforcement of
any waiver, change, discharge or termination is sought.

         8.12    Notice. Any notice to Borrower under this Deed of Trust shall be given in accordance
with the notice provisions in the Loan Agreement.

         8.13      Governing Law; Severability; Captions. This Deed of Trust shall be governed by the
laws of the State of Oregon. If any provision or clause of this Deed of Trust conflicts with applicable law,
such conflicts shall not affect other provisions or clauses hereof which can be given effect without the
conflicting provision, and to this end the provisions hereof are declared to be severable. If any provision
of this Agreement or of any of the other Loan Documents are declared invalid for any reason by a court
of competent jurisdiction, the invalid provision shall be deemed omitted and the remaining terms of this
Agreement and of all of the other Loan Documents shall remain in full force and effect. The captions
and headings of the paragraphs and articles of this Deed of Trust are for convenience only and are not to be
used to interpret or define the provisions hereof.

        8.14       Construction. This Deed of Trust is the result of substantial negotiations between
Borrower and Lender and shall be construed in accordance with the fair intent of the language contained
herein in its entirety and not for or against either party, regardless of which party was responsible for its
preparation. Borrower and Lender each represent to the other that each has consulted with its own legal
counsel in connection with this Agreement.

         8.15     Definitions. As used herein: the term "Borrower" means the Borrower herein named,
together with any subsequent owner of the Property or any part thereof or interest therein; the term
"Trustee" means the Trustee herein named, together with any successor Trustee; and the term "Lender"
means the Lender herein named, together with any subsequent owner or holder of the Note or any interest
therein, including pledgees, assignees and participants.

         8.16     Successors and Assigns; Joint and Several Liability; Agents. This Deed of Trust shall
bind and inure to the benefit of the parties hereto and their respective heirs, devisees, legatees,
administrators, executors, successors and assigns, subject to the provisions of Section 4 hereof. Each person
executing this Deed of Trust as Borrower shall be jointly and severally liable for all obligations of Borrower
hereunder. In exercising any rights hereunder or taking actions provided for herein, Lender and Trustee
may act through their respective employees, agents or independent contractors as authorized by Lender and
Trustee. Upon the occurrence of any default, Lender may proceed against any Borrower, any guarantor,
or any of Lender's security for the Loan in such order and manner as Lender may elect in its sole
discretion.

        8.17     Further Assurances; Clerical Errors. Borrower agrees to execute and acknowledge
such additional documents as may be necessary or desirable in order to carry out the intent and purpose of

                                                    - 15 -




                      Case 19-31883-dwh11              Doc 585
                                                           572       Filed 02/10/22
                                                                           01/28/22
this Deed of Trust and the other Loan Documents, to confirm or establish the lien hereof, or to correct any
clerical errors or legal deficiencies. Without limiting the foregoing, Borrower agrees to execute a
replacement Note in the event the Note is lost or destroyed and to execute an amended and restated substitute
Note to correct any clerical or other errors which may be discovered in the original Note. Failure of
Borrower to comply with any request by Lender pursuant to this Section within ten (10) days after written
request by Lender shall constitute a material Event of Default hereunder.

        8.18     Time. Time is of the essence in connection with all obligations of Borrower herein.

        8.19    Estoppel Certificate. Borrower shall, within ten days of a written request from Lender
and at no charge to Lender, furnish Lender or any other party designated by Lender with a written
statement, duly acknowledged, setting forth the sums secured hereby and any right of set-off,
counterclaim or other defense that may exist with regard to the Secured Obligations.

        8.20     Request for Notice. Borrower hereby requests that a copy of any notice of default and
notice of sale hereunder be mailed to it at its address set forth at the beginning of this Deed of Trust.

        8.21     Assignment of Loan Documents. Lender may assign the Loan Documents in whole
or in part. Lender may make available to any proposed assignee or participant all credit and financial
data with respect to Borrower and any guarantor as may be in the possession of Lender. Borrower agrees
to provide any additional information that any proposed assignee or participant may reasonably request.

         8.22    Certain Obligations Unsecured. Notwithstanding anything to the contrary set forth
herein or any of the Loan Documents, this Deed of Trust shall not secure the following obligations (the
"Unsecured Obligations"): (a) any obligations evidenced by or arising under the Indemnity Agreement
or the Guaranty, and (b) any other obligations in this Deed of Trust or in any of the other Loan
Documents to the extent that such other obligations relate specifically to the presence on the Property
of Hazardous Materials and are the same or have the same effect as any of the obligations evidenced by
or arising under the Indemnity Agreement. Any breach or default with respect to the Unsecured
Obligations shall constitute an Event of Default hereunder, notwithstanding the fact that such Unsecured
Obligations are not secured by this Deed of Trust. Nothing in this Section shall, in itself, impair or limit
Lender's right to obtain a judgment in accordance with applicable law after foreclosure for any
deficiency in recovery of all obligations that are secured by this Deed of Trust following foreclosure.

        8.23    Counterparts. This Agreement may be executed in one or more counterparts, all of
which together shall constitute one and the same original.

      8.24  Jury Trial Waiver. BORROWER WAIVES, TO THE FULLEST EXTENT
PERMITTED BY APPLICABLE LAW, THE RIGHT TO A TRIAL BY JURY IN ANY ACTION OR
PROCEEDING BASED UPON, OR RELATED TO, THE LOAN OR THE LOAN DOCUMENTS.
THIS WAIVER IS KNOWINGLY, INTENTIONALLY, AND VOLUNTARILY MADE BY
BORROWER, AND BORROWER ACKNOWLEDGES THAT NO PERSON ACTING ON BEHALF
OF LENDER HAS MADE ANY REPRESENTATIONS OF FACT TO INDUCE THIS WAIVER OF
TRIAL BY JURY OR IN ANY WAY TO MODIFY OR NULLIFY ITS EFFECT. BORROWER
FURTHER ACKNOWLEDGES THAT BORROWER HAS BEEN REPRESENTED (OR HAS HAD
THE OPPORTUNITY TO BE REPRESENTED) IN THE SIGNING OF THE LOAN DOCUMENTS
AND IN THE MAKING OF THIS WAIVER BY INDEPENDENT LEGAL COUNSEL SELECTED



                                                    - 16 -




                      Case 19-31883-dwh11              Doc 585
                                                           572      Filed 02/10/22
                                                                          01/28/22
OF BORROWER'S OWN FREE WILL, AND THAT BORROWER HAS HAD THE OPPORTUNITY
TO DISCUSS THIS WAIVER WITH COUNSEL.

                                            ARTICLE IX

                                 STATE SPECIFIC PROVISIONS.

        9.01     Principals of Construction. In the event of any inconsistencies between the terms and
conditions of this Article 17 and the other terms and conditions of this Security Instrument, the terms
and conditions of this Article 17 shall control and be binding.

      9.02 No Oral Commitments Notice. UNDER OREGON LAW, MOST AGREEMENTS,
PROMISES AND COMMITMENTS MADE BY LENDER CONCERNING LOANS AND OTHER
CREDIT EXTENSIONS WHICH ARE NOT FOR PERSONAL, FAMILY OR HOUSEHOLD
PURPOSES OR SECURED SOLELY BY THE BORROWER’S RESIDENCE MUST BE IN
WRITING, EXPRESS CONSIDERATION AND BE SIGNED BY LENDER TO BE
ENFORCEABLE.




                                                 - 17 -




                    Case 19-31883-dwh11             Doc 585
                                                        572     Filed 02/10/22
                                                                      01/28/22
Dated as of the day and year first written above.

                                  BORROWER:

                                  15005 NW CORNELL LLC, an Oregon limited liability company


                                  By:      ___________________________
                                           Vahan M. Dinihanian, Jr., its manager




                                                    - 18 -




                      Case 19-31883-dwh11              Doc 585
                                                           572    Filed 02/10/22
                                                                        01/28/22
                                    ACKNOWLEDGEMENT




STATE OF OREGON                 )
                                )
COUNTY OF                       )

This instrument was acknowledged before me on February ___, 2022, by Vahan M. Dinihanian, Jr.
as the manager of 15005 NW Cornell LLC, an Oregon limited liability company.



Signature of Notarial Officer


Title
My commission expires:

(Seal, if any)




                                             - 19 -




                     Case 19-31883-dwh11        Doc 585
                                                    572    Filed 02/10/22
                                                                 01/28/22
                                         EXHIBIT A

                                   LEGAL DESCRIPTION




For informational purposes only:

Tax ID No.:

Address:       15005 NW Cornell Road
               Beaverton, Oregon 97006




                                           - 20 -




                    Case 19-31883-dwh11       Doc 585
                                                  572   Filed 02/10/22
                                                              01/28/22
     Exhibit F




Case 19-31883-dwh11   Doc 585
                          572   Filed 02/10/22
                                      01/28/22
Recording Requested By and
When Recorded Mail To:

Robert L. de Normandie
deNormandie, Sidlo & Associates PLLC
1215 Fourth Avenue, Suite 1901
Seattle, Washington 98161


                DEED OF TRUST, ASSIGNMENT OF RENTS AND LEASES,
                   SECURITY AGREEMENT AND FIXTURE FILING


 Document Title:                  Deed of Trust, Assignment of Rents and Leases, Security
                                  Agreement and Fixture Filing

 Grantor:                         Vahan M. Dinihanian, Jr., an individual

 Grantee:                         ___________________ Title Insurance Company

 Beneficiary:                     SORFI, LLC, an Oregon limited liability company



                             Dated:          February ___, 2022

                             Location:       Oregon

                             County:         Multnomah

                             Tax Parcel:     R324598



     NOTICE TO RECORDER: THIS DOCUMENT CONSTITUTES A FIXTURE FILING IN
      ACCORDANCE WITH THE UNIFORM COMMERCIAL CODE AND ORS 79.0502




                   Case 19-31883-dwh11         Doc 585
                                                   572      Filed 02/10/22
                                                                  01/28/22
                  DEED OF TRUST, ASSIGNMENT OF RENTS AND LEASES,
                     SECURITY AGREEMENT AND FIXTURE FILING

THIS DEED OF TRUST, ASSIGNMENT OF RENTS AND LEASES, SECURITY AGREEMENT
AND FIXTURE FILING ("Deed of Trust") is made as of January ___, 2022, by Vahan M.
Dinihanian, Jr., an individual ("Borrower"), as Grantor, whose mailing address is 237 NW Skyline
Boulevard, Portland, Oregon 97210; to ___________________ TITLE INSURANCE COMPANY
("Trustee"), as Trustee, whose mailing address is ________________, Portland, Oregon 97______; for
the benefit of SORFI, LLC, an Oregon limited liability company ("Lender"), as Beneficiary, whose
mailing address is 240 SE 2nd Avenue, Suite 200, Portland, Oregon 97214.

       Capitalized terms used but not defined in this Deed of Trust are defined in the Loan Agreement
("Loan Agreement") between Lender and Borrower of even date herewith.

        In consideration of the loan ("Loan") evidenced by the Note described below, Borrower hereby
irrevocably GRANTS, TRANSFERS, CONVEYS and ASSIGNS to Trustee, IN TRUST, WITH
POWER OF SALE, all of Borrower's present and future estate, right, title, claim, and interest, either in
law or in equity, in and to the following property ("Property"):

         (a)      The real property described on Exhibit A, all rights to the alleys, streets and roads
adjoining or abutting the real property, all present and future easements, access, air and development
rights, minerals and oil, gas and other hydrocarbon substances, water, water rights and water stock, and
all other rights, hereditaments, privileges, and appurtenances now or hereafter belonging or in any way
appertaining to such real property ("Realty");

       (b)   All present and future buildings, improvements and tenements located on the Realty
("Improvements");

          (c)     All present and future fixtures and articles of property attached to, or used or adapted for
use in the ownership, development, operation or maintenance of the Realty and Improvements (whether
such items are leased, owned, or subject to any title-retaining or security instrument), including without
limitation all heating, cooling, air-conditioning, ventilating, refrigerating, plumbing, generating, power,
lighting, laundry, maintenance, incinerating, lifting, cleaning, fire prevention and extinguishing, security
and access control, cooking, gas, electric and communication fixtures, equipment and apparatus; all engines,
motors, conduits, pipes, pumps, tanks, ducts, compressors, boilers, water heaters and furnaces; all ranges,
stoves, disposers, refrigerators and other appliances; all escalators and elevators, baths, sinks, cabinets,
partitions, mantels, built-in mirrors, window shades, blinds, screens, awnings, storm doors, windows and
sash; all carpeting, underpadding, floor covering, paneling, and draperies; and all shrubbery and plants. All
such items shall be deemed part of the Realty and not severable wholly or in part without material injury to
the freehold;

         (d)     All present and future rents, revenues, issues, profits and income from the Realty or the
Improvements, and all present and future leases and other agreements for the occupancy or use of all or any
part of the Realty and Improvements, including without limitation all cash or security deposits, advance
rentals and deposits or payments of similar nature, and all guarantees of tenants' or occupants' performance
under such leases and agreements;

                                                     -1-




                      Case 19-31883-dwh11              Doc 585
                                                           572       Filed 02/10/22
                                                                           01/28/22
        (e)     All present and future tangible personal property ("Personal Property") used in
connection with the ownership, development, operation or maintenance of the Realty and Improvements,
including without limitation all furniture, furnishings, equipment, supplies and other goods, wherever
located, whether in the possession of Borrower, warehousemen, bailee, or any other person;

         (f)      All present and future intangible personal property used in connection with the ownership,
development, operation or maintenance of the Realty, Improvements, and Personal Property, including
without limitation, all permits, licenses and franchises, contract rights (including without limitation
architectural, engineering, consulting, and management contracts), accounts receivable, escrow accounts,
insurance policies, deposits, instruments, documents of title, general intangibles, business records and the
exclusive right to the use of trade names;

         (g)     All present and future materials, supplies, and other goods, wherever located, whether in
the possession of Borrower, warehouseman, bailee, or any other person, purchased for use in the
construction, operation or furnishing of the Improvements, together with all documents, contract rights, and
general intangibles relating thereto;

        (h)     All present or future site plans, plats, architectural plans and specifications, work drawings,
surveys, engineering reports, test borings, market surveys, and other work products relating to the Realty
and Improvements;

        (i)     All present or future construction contracts relating to the Improvements, together with all
performance, payment, completion or other surety bonds in connection with or related to any such
construction contracts which are transferable by Borrower;

         (j)      All present and future contracts and policies of insurance which insure any buildings,
structures or improvements on the Realty, or any fixtures or personal property thereon, against casualty and
theft, and all monies and proceeds and rights thereto which may become payable by virtue of any insurance
contracts or policies;

          (k)      All claims, causes of action, warranties, accounts receivable, escrow accounts,
insurance policies, deposits (including tax, insurance and other reserves), instruments, documents of
title, general intangibles, and business records;

         (l)     All present and future monetary deposits to any city, county, public body or agency,
irrigation, sewer or water district or company, and any other body or agency, for the installation, or to
secure the installation, of any utility pertaining to the Realty or the Improvements.

        (m)      All refunds, rebates, reimbursements, reserves, deferred payments, deposits, cost savings,
governmental subsidy payments, governmentally-registered credits (such as emissions reduction credits),
other credits, waivers and payments, whether in cash or in kind, due from or payable by (i) any federal,
state, municipal or other governmental or quasi-governmental agency, authority or district (each, a
"Governmental Agency") or (ii) any insurance or utility company relating to any or all of the Realty or
Improvements or arising out of the satisfaction of any conditions imposed upon or the obtaining of any
approvals for the development or rehabilitation of the Realty;

        (n)     All refunds, rebates, reimbursements, credits and payments of any kind due from or
payable by any Governmental Agency for any taxes, special taxes, assessments, or similar governmental or
quasi-governmental charges or levies imposed upon Borrower with respect to the Property or upon any or
                                                     -2-




                      Case 19-31883-dwh11              Doc 585
                                                           572       Filed 02/10/22
                                                                           01/28/22
all of the Property or arising out of the satisfaction of any conditions imposed upon or the obtaining of any
approvals for the development or rehabilitation of the Property;

        (o)     All proceeds (including claims and demands therefor) of the conversion, voluntary or
involuntary, of any of the foregoing into cash or liquidated claims, including without limitation all
insurance proceeds and condemnation awards; and

        (p)      All products and proceeds of the foregoing.

        TO SECURE THE FOLLOWING (collectively the "Secured Obligations"):

        (a)      Payment of the sum of Four Million Nine Hundred Sixty Thousand and 00/100
Dollars ($4,960,000.00), or so much thereof as may be advanced, with interest thereon, according to the
terms and provisions of a promissory note ("Note") of even date, made by Borrower and payable to Lender,
including any and all modifications, extensions, renewals and replacements thereof.

          (b)     Payment of all sums advanced to protect the security of this Deed of Trust, together with
interest thereon as herein provided;

      (c)     Payment of all other sums which are or which may become owing under the Loan
Documents or which may be advanced by Lender pursuant to the Loan Documents; and

         (d)    Payment and performance of the other covenants and agreements of Borrower contained
in the Loan Agreement and the other Loan Documents; and

        (e)      Payment and performance of any future obligations of Borrower or any Affiliate of
Borrower to Lender if the documentation evidencing such future obligation expressly provides that it is
secured by this Deed of Trust.

        As used in this Deed of Trust, the term "Loan Documents" means the Note, the Loan
Agreement, this Deed of Trust and all related documents and instruments, and any and all modifications,
extensions, renewals and replacements thereof; provided, however, that notwithstanding any other
provision of this Deed of Trust, the Loan Agreement or any other Loan Document, this Deed of Trust
does not secure any of Borrower's obligations under the Indemnity Agreement nor any Guarantor's
obligations under the Guaranty.

        The Secured Obligations may be indexed, adjusted, renewed or renegotiated.

        BORROWER REPRESENTS, WARRANTS, COVENANTS AND AGREES AS FOLLOWS:

                                              ARTICLE I.
                                            TITLE AND USE

         1.1     Warranty of Title. Borrower covenants and agrees that: (i) Borrower is lawfully seized
of the estate hereby conveyed and has full right and power to grant, convey and assign the Property, (ii)
the Property is free from liens, encumbrances, exceptions and other charges of any kind whatsoever,
except for the exceptions listed in Lender's title insurance policy insuring this Deed of Trust or
exceptions otherwise approved in writing by Lender ("Permitted Exceptions"), (iii) no other liens or
encumbrances, whether superior or inferior to this Deed of Trust, shall be created or suffered to be

                                                    -3-




                      Case 19-31883-dwh11             Doc 585
                                                          572       Filed 02/10/22
                                                                          01/28/22
created by Borrower without the prior written consent of Lender, (iv) no default on the part of Borrower
or any other person exists under any of the Permitted Exceptions and all of the Permitted Exceptions are
in full force and effect and in good standing, without modification, (v) complete and current copies of
the Permitted Exceptions have been furnished to Lender, and none of them have been or will be modified
by Borrower without Lender's prior written consent, (vi) Borrower shall fully comply with all the terms
of the Permitted Exceptions and shall deliver to Lender a copy of all notices delivered in connection
with the Permitted Exceptions, (vii) Lender has the right to contact the other parties to the Permitted
Exceptions to confirm the status thereof, and Borrower from time to time shall, at the request of Lender,
request of such parties a certificate confirming such information regarding the Permitted Exceptions as
Lender may request, and (viii) Borrower shall forever warrant and defend the Property unto Lender
against all claims and demands of any other person whatsoever, subject only to non-delinquent taxes
and assessments and the Permitted Exceptions. None of the Permitted Exceptions, individually or in the
aggregate, materially interfere with the benefits of the security intended to be provided by this Deed of
Trust and the Loan Documents, materially and adversely affect the value of the Property, impair the use
or operations of the Property or impair Borrower's ability to pay its obligations in a timely manner.

       1.2       Non-Agricultural Use; Commercial Loan. Borrower represents and warrants to
Lender that (a) the Realty is not used principally for agricultural purposes, and (b) the Loan was not
made primarily for personal, family or household purposes.

                                          ARTICLE II.
                                     BORROWER'S COVENANTS.

        2.1     Payment and Performance of Secured Obligations. Borrower shall pay when due all
sums which are now or which may become owing under the Note, and shall pay and perform all other
Secured Obligations in accordance with their terms.

        2.2      Payment of Taxes, Utilities, Liens and Charges.

                  (a)     Taxes and Assessments. Except as the same may otherwise be paid under
Article III, Borrower shall pay when due directly to the payee thereof all taxes and assessments
(including without limitation, non-governmental levies or assessments such as maintenance charges,
owner association dues or charges, or fees, levies or charges resulting from covenants, conditions or
restrictions) levied, assessed or charged against or with respect to the Property or this Deed of Trust.
Upon request, Borrower shall promptly furnish to Lender all notices of amounts due under this
subsection and all receipts evidencing such payments.

                 (b)      Utilities. Borrower shall pay when due all utility charges and assessments for
services furnished the Property.

                 (c)     Labor and Materials. Borrower shall pay when due the claims of all persons
supplying labor or materials to or in connection with the Property.

                (d)      Liens and Charges. Borrower shall promptly discharge any lien, encumbrance, or
other charge, whether superior or inferior to this Deed of Trust, which may be claimed against the Property.

                  (e)     Taxes, Assessments and Other Charges Imposed on Lender. If, at any time after
the date of this Deed of Trust, any law is enacted or changed (including any interpretation thereof) which
subjects Lender to any increase in any tax (except federal, state or local income taxes), assessments, or other
                                                     -4-




                      Case 19-31883-dwh11              Doc 585
                                                           572       Filed 02/10/22
                                                                           01/28/22
charge, in any form measured by or based on any portion of the indebtedness secured by this Deed of Trust,
Borrower shall pay such increased amount to Lender on demand; provided that if any such payment would
be unlawful, Lender may declare all accrued interest and the entire principal balance of the Note
immediately due and payable.

                  (f)      Right to Contest. Notwithstanding anything set forth in this Section 2.2, so long
as no Event of Default shall occur hereunder, Borrower shall have the right to contest the amount or validity
in whole or in part of any lien, encumbrance or other charge against the Property by appropriate
administrative or judicial proceedings conducted in good faith and with due diligence, in which event
Borrower, upon written notice to Lender, may defer payment of any such lien, encumbrance or other charge,
so long as (i) Borrower shall have provided Lender with evidence satisfactory to Lender that such
proceedings shall operate to prevent the sale of the Property or any portion thereof, or the imposition of any
penalties on Borrower or the Property; (ii) neither the Property nor any part thereof will, by reason of such
postponement or deferment, be in danger of being forfeited or lost; (iii) before the date such lien,
encumbrance or other charge becomes delinquent, Borrower shall provide Lender with such security as
Lender may require to insure payment thereof and prevent any forfeiture or loss of the Property or any part
thereof; and (iv) on a final determination of such contest, which is not appealable or is not being appealed,
Borrower shall pay the amount of the lien, encumbrance or other charge if and when due, and prior to the
imposition of any penalties or delinquent interest.

        2.3      Insurance Provisions.

                 (a)    Required Coverage. Borrower shall keep the insurance coverage required by
the terms of the Loan Agreement in full force and effect.

                  (b)     Security. As security for the Secured Obligations, Borrower hereby assigns to
Lender and grants Lender a security interest in all required insurance policies, together with all proceeds
thereof, rights thereto and all unearned premiums returnable upon cancellation.

                 (c)     Application of Proceeds. The provisions of the Loan Agreement providing for
the application of insurance proceeds are incorporated by this reference.

        2.4      Preservation and Maintenance of Property; Right of Entry.

                  (a)     Preservation and Maintenance. Borrower shall (i) not commit or suffer any waste
or permit any impairment or deterioration of the Property, (ii) not abandon the Property, (iii) restore or repair
promptly and in a good and workmanlike manner all or any part of the Property to the equivalent of its
original condition, or such other condition as Lender may approve in writing, in the event of any damage,
injury or loss thereto, whether or not insurance proceeds are available to cover in whole or in part the costs
of such restoration or repair, (iv) keep the Property, including improvements, fixtures, equipment,
machinery and appliances thereon, in good condition and repair and shall replace fixtures, equipment,
machinery and appliances of the Property when necessary to keep such items in good condition and repair,
and (v) generally operate and maintain the Property in a commercially reasonable manner.

                  (b)       Alterations. Except as specifically permitted under the Loan Agreement, none of
the Improvements shall be structurally altered, removed or demolished, in whole or in part, without Lender's
prior written consent, nor shall any fixture or chattel covered by this Deed of Trust and adapted to the use
and enjoyment of the Property be removed at any time without like consent unless actually replaced by an
article of equal suitability which is owned by Borrower free and clear of any lien or security interest.
                                                      -5-




                       Case 19-31883-dwh11              Doc 585
                                                            572       Filed 02/10/22
                                                                            01/28/22
                  (c)      Right of Entry. Lender is hereby authorized to enter the Property, including the
interior of any structures, at reasonable times and after reasonable notice, for the purpose of inspecting the
Property to determine Borrower's compliance with this Section 2.4.

          2.5     Parking. If any part of the automobile parking areas included within the Property is taken
by condemnation, and before the parking areas are diminished for any other reason, Borrower shall take all
actions as are necessary to provide parking facilities in kind, size and location to comply with all
governmental zoning and other regulations and all leases. Before making any contract for substitute parking
facilities, Borrower shall furnish to Lender satisfactory assurance of completion thereof free of liens and in
conformity with all government zoning and other regulations. This Deed of Trust shall constitute a first
lien on all such substitute parking facilities.

          2.6     Use of Property. Borrower shall comply with all laws, ordinances, regulations and
requirements of any governmental body, and all other covenants, conditions and restrictions applicable to
the Property, and pay all fees and charges in connection therewith. Unless required by applicable law or
unless Lender has otherwise agreed in writing, Borrower shall not allow changes in the use for which all or
any part of the Property was intended at the time this Deed of Trust was executed. Borrower shall not
initiate or acquiesce in a change in the zoning classification of the Property without Lender's prior written
consent.

        2.7      Condemnation. The provisions of the Loan Agreement regarding condemnation actions
and the application of condemnation proceeds are incorporated by this reference.

         2.8      Protection of Lender's Security. Borrower shall give notice to Lender of and shall appear
in and defend any action or proceeding that may affect the Property, the interests of Lender or Trustee
therein, or the rights or remedies of Lender or Trustee under the Loan Documents. If any such action or
proceeding is commenced, or Borrower fails to perform any obligation under the Loan Documents, Lender
or Trustee may, at their option, make any appearances, disburse any sums, make any entries upon the
Property, and take any actions as may be necessary or desirable to (i) protect or enforce the security of this
Deed of Trust, (ii) remedy Borrower's failure to perform its obligations under the Loan Documents (without
waiving such default by Borrower), or (iii) otherwise protect Lender's or Trustee's interests. Borrower shall
pay all losses, damages, fees, costs, and expenses incurred by Lender and Trustee in taking such actions,
including without limitation reasonable legal fees.

        2.9      Reimbursement of Lender's and Trustee's Expenses. All amounts disbursed by Lender
and Trustee pursuant to Section 2.8 or any other provision of this Deed of Trust, with interest thereon, shall
be additional indebtedness of Borrower secured by this Deed of Trust. All such amounts shall be
immediately due and payable and bear interest from the date of disbursement at the lesser of the default rate
under the Note, or the maximum rate permitted by law.

                                           ARTICLE III.
                                     INTENTIONALLY OMITTED




                                                     -6-




                      Case 19-31883-dwh11              Doc 585
                                                           572       Filed 02/10/22
                                                                           01/28/22
                                     ARTICLE IV.
                     RESTRICTIONS ON TRANSFER OR ENCUMBRANCE.

         The Loan Agreement contains certain restrictions on any transfer or encumbrance of the
Property, any portion thereof or any interest therein, and on any direct or indirect transfer or
encumbrance of direct or indirect ownership interests in Borrower. Those provisions are incorporated
by this reference. The occurrence of any Transfer or attempted Transfer not permitted under the Loan
Agreement shall be an immediate Event of Default whereupon the Secured Obligations shall be
immediately due and payable in full without notice or demand from Lender.

                                  ARTICLE V.
                  UNIFORM COMMERCIAL CODE SECURITY AGREEMENT.

         5.1      Grant of Security Interest. This Deed of Trust constitutes a security agreement pursuant
to the Uniform Commercial Code with respect to (a) any of the Property which, under applicable law, is not
real property or effectively made part of the real property by the provisions of this Deed of Trust; and (b)
any and all other property now or hereafter described on any Uniform Commercial Code Financing
Statement naming Borrower as Debtor and Lender as Secured Party and affecting property in any way
connected with the use and enjoyment of the Property, any and all such other property constituting
"Property" for purposes of this Deed of Trust. Borrower hereby grants Lender a security interest in all
property described in clauses (a) and (b) above as security for the Secured Obligations. Borrower and
Lender agree, however, that neither the foregoing grant of a security interest nor the filing of any such
financing statement shall be construed as limiting the parties' stated intention that everything used in
connection with the production of income from the Property, or adapted for use therein, or which is
described or reflected in this Deed of Trust, is and at all times shall be regarded as part of the Realty.

         5.2      Status of Borrower; Financing Statements. Borrower's exact legal name is correctly
set forth on the signature page of this Deed of Trust. If Borrower is not an individual, Borrower is an
organization of the type specified in the introductory paragraph of this Deed of Trust. If Borrower is a
registered entity, Borrower is incorporated in or organized under the laws of the state specified in the
introductory paragraph of this Deed of Trust. If Borrower is an unregistered entity (including a general
partnership), it is organized under the laws of the state specified in the introductory paragraph of this
Deed of Trust. Borrower will not cause or permit any change to be made in its name, identity or
corporate, company or partnership structure unless the Borrower shall have notified Lender in writing
of such change at least thirty (30) days prior to the effective date of such change, and shall have first
taken all action required by Lender for the purpose of further perfecting or protecting the lien and
security interest of Lender in the Property. Borrower's principal place of business and chief executive
office, and the place where Borrower keeps its books and records, including recorded data of any kind
or nature, regardless of the medium of recording, including software, writing, plans, specifications and
schematics concerning the Property, has been for the preceding four months (or less if for the entire
existence of Borrower) and will continue to be the address of Borrower set forth in the first paragraph
of this Deed of Trust (unless Borrower notifies Lender of any change in writing at least thirty (30) days
prior to the date of such change). If Borrower is an individual, Borrower's principal residence has been
for the preceding four months and will continue to be the address of the principal residence of Borrower
set forth at the end of this Deed of Trust (unless Borrower notifies Lender of any change in writing at
least thirty (30) days prior to the date of such change). Borrower's organizational identification number,
if any, assigned by the state of incorporation or organization is [N/A]. Borrower shall promptly notify
Lender of any change of its organizational identification number. If Borrower does not now have an

                                                    -7-




                      Case 19-31883-dwh11             Doc 585
                                                          572      Filed 02/10/22
                                                                         01/28/22
organizational identification number and later obtains one, Borrower shall promptly notify Lender of
such organizational identification number. Borrower agrees that Lender may file this Deed of Trust, or a
reproduction thereof, in the real estate records or other appropriate index, as a financing statement for any
of the items specified above as part of the Property. Any reproduction of this Deed of Trust or of any other
security agreement or financing statement shall be sufficient as a financing statement. Borrower hereby
authorizes Lender (and Lender's representatives and agents) to file financing statements (and amendments
thereto) relating to the Property. The form and substance of any financing statement filed with respect to
this Deed of Trust shall be as Lender, in its sole discretion, may determine. Borrower shall pay all costs of
filing such financing statements and any extensions, continuations, renewals, amendments and releases
thereof, and shall pay all costs and expenses of any record searches for financing statements which Lender
may require.

         5.3      Lender's Rights and Remedies. With respect to the Property subject to the foregoing
security interest, Lender shall have all the rights and remedies (i) of a secured party under the Uniform
Commercial Code, (ii) provided herein, including without limitation the right to cause such Property to be
sold by Trustee under the power of sale granted by this Deed of Trust, and (iii) provided by law. In
exercising its remedies, Lender may proceed against the items of real property and any items of personal
property separately or together and in any order whatsoever, without in any way affecting the availability
of Lender's remedies. Upon demand by Lender following an Event of Default hereunder, Borrower shall
assemble any items of personal property and make them available to Lender at the Realty. Lender shall
give Borrower at least five (5) days' prior written notice of the time and place of any public sale or other
disposition of such Property or of the time of or after which any private sale or any other intended disposition
is to be made. Any person permitted by law to purchase at any such sale may do so. Such Property may
be sold at any one or more public or private sales as permitted by applicable law.

                                        ARTICLE VI.
                               ASSIGNMENT OF RENTS AND LEASES

         6.1     Assignment of Rents and Leases. As security for the Secured Obligations, Borrower
assigns and transfers to Lender and grants Lender a security interest in and to all right, title and interest
of Borrower in and to: (a) any and all present and future leases, subleases, and other agreements for the
occupancy or use of all or any part of the Property, and any and all modifications, extensions, renewals
and replacements thereof ("Leases"); (b) all cash or security deposits, advance rentals and deposits of a
similar nature under the Leases; (c) any and all guarantees of tenants' or occupants' performances under
any and all Leases; and (d) all rents, issues, profits and revenues ("Rents") now due or which may
become due or to which Borrower may now or shall hereafter become entitled or may demand or claim
(including Rents coming due during any redemption period), arising or issuing from or out of any and
all Leases, including without limitation minimum, additional, percentage and deficiency rents and
liquidated damages and all rights to and proceeds of rental loss or business interruption insurance.

         6.2     Collection of Rents. Prior to any Event of Default hereunder, Borrower shall have a
license to, and shall, collect and receive all Rents of the Property as trustee for the benefit of Lender and
Borrower, apply the Rents so collected first to the payment of taxes, assessments and other charges on
the Property prior to delinquency, second to the cost of insurance, maintenance and repairs required by
the terms of this Deed of Trust, third to the costs of discharging any obligation or liability of Borrower
under the Leases, and fourth to the Secured Obligations, with the balance, if any, to the account of
Borrower provided there is no Event of Default. Upon delivery of written notice by Lender to Borrower
of an Event of Default hereunder and stating that Lender exercises its rights to the Rents, and without

                                                      -8-




                      Case 19-31883-dwh11               Doc 585
                                                            572       Filed 02/10/22
                                                                            01/28/22
the necessity of Lender entering upon and taking and maintaining full control of the Property in person,
by agent or by a court-appointed receiver, Lender shall immediately be entitled to possession of all Rents
from the Property as the same become due and payable, including without limitation Rents then due and
unpaid, and all such Rents shall immediately upon delivery of such notice be held by Borrower as trustee
for the benefit of Lender only. Upon delivery of such written notice by Lender, Borrower hereby agrees
to direct each tenant or occupant of the Property to pay all Rents to Lender on Lender's written demand
therefor, without any liability on the part of said tenant or occupant to inquire further as to the existence
of an Event of Default by Borrower. Borrower hereby authorizes Lender as Borrower's attorney-in-fact
to make such direction to tenants and occupants upon Borrower's failure to do so as required herein.
Payments made to Lender by tenants or occupants shall, as to such tenants and occupants, be in discharge
of the payors' obligations to Borrower. Lender may exercise, in Lender's or Borrower's name, all rights
and remedies available to Borrower with respect to collection of Rents. Nothing herein contained shall
be construed as obligating Lender to perform any of Borrower's obligations under any of the Leases.

          6.3     Borrower's Representations and Warranties. Borrower hereby represents and warrants
to Lender that Borrower has not executed and will not execute any other assignment of said Leases or Rents,
and Borrower has not performed and will not perform any acts and has not executed and will not execute
any instrument which would prevent Lender from exercising its rights under this Article VI. Borrower shall
execute and deliver to Lender such further assignments of rents and leases of the Property as Lender may
from time to time request. Borrower represents, warrants, and covenants that (a) Borrower is the absolute
owner of all Leases and Rents, with full right and title to assign the same; (b) all existing Leases are valid,
in full force and effect, and have not been modified or amended, except as disclosed in writing to Lender;
(c) there is no outstanding assignment or pledge of any Leases or Rents; (d) there are no existing defaults
under any Leases on the part of any party thereto, except as disclosed in writing to Lender; (e) no Rents
have been discounted, released, waived, compromised, or otherwise discharged; (f) all tenants under the
Leases are in occupancy, paying rent on fully executed Leases and carrying on their business with all tenant
improvements fully completed except as disclosed in writing to Lender; (g) no existing Lease contains any
provision permitting prepayment of more than one (1) month's rent in advance.

         6.4      Lender in Possession; Appointment of Receiver. Upon any Event of Default hereunder,
Lender may, in person, by agent or by a court-appointed receiver, regardless of the adequacy of Lender's
security, enter upon and take and maintain full control of the Property in order to perform all acts necessary
and appropriate for the operation and maintenance thereof in the same manner and to the same extent as
Borrower could do the same, including without limitation the execution, enforcement, cancellation and
modification of Leases, the collection of all Rents of the Property, the removal and eviction of tenants and
other occupants, the making of alterations and repairs to the Property, and the execution and termination of
contracts providing for management or maintenance of the Property, all on such terms as are deemed best
by Lender to protect the security of this Deed of Trust. From and after the occurrence of any such Event of
Default, if any owner of the Property shall occupy the Property or part thereof such owner shall pay to
Lender in advance on the first day of each month a reasonable rental for the space so occupied, and upon
failure so to do Lender shall be entitled to remove such owner from the Property by any appropriate action
or proceedings. Following an Event of Default hereunder, Borrower hereby irrevocably consents and agrees
that Lender shall be entitled (regardless of the adequacy of Lender's security) to the appointment of a
custodial receiver or general receiver with power of sale. Said receiver may serve without bond, shall have
the usual powers and duties of receivers in like or similar cases, all the powers and duties of Lender set forth
in this Deed of Trust or any of the other Loan Documents, and, in the case of a general receiver, a right to
sell the Property. Employment by Lender shall not disqualify a person from serving as receiver. The


                                                      -9-




                      Case 19-31883-dwh11               Doc 585
                                                            572       Filed 02/10/22
                                                                            01/28/22
receiver shall be entitled to receive a reasonable fee for all its services rendered in connection with the
receivership.

         6.5      Application of Rents. All Rents collected subsequent to delivery of written notice by
Lender to Borrower of an Event of Default hereunder shall be applied first to the costs, if any, of taking
control of and managing the Property and collecting the Rents, including without limitation attorneys' fees,
receiver's fees, premiums on receiver's bonds, costs of maintenance and repairs to the Property, premiums
on insurance policies, taxes, assessments and other charges on the Property, and the costs of discharging
any obligation or liability of Borrower under the Leases, and then to the Secured Obligations. Lender or
the receiver shall be liable to account only for those Rents actually received. Lender shall not be liable to
Borrower, anyone claiming under or through Borrower or anyone having an interest in the Property by
reason of anything done or left undone by Lender under this Article.

         6.6     Deficiencies. To the extent, if any, that the costs of taking control of and managing the
Property, collecting the Rents, and discharging obligations and liabilities of Borrower under the Leases,
exceed the Rents of the Property, the excess sums expended for such purposes shall be indebtedness secured
by this Deed of Trust. Such excess sums shall be payable upon demand by Lender and shall bear interest
from the date of disbursement at the Default Rate.

        6.7     Lender Not Mortgagee in Possession. Nothing herein shall constitute Lender a
"mortgagee in possession" prior to its actual entry upon and taking possession of the Property. Entry upon
and taking possession by a receiver shall not constitute possession by Lender.

        6.8      Enforcement. Lender may enforce this assignment without first resorting to or exhausting
any security or collateral for the Secured Obligations.

         6.9      Lender Not Responsible. Under no circumstances shall Lender have any duty to produce
Rents from the Property. Regardless of whether or not Lender, in person or by agent, takes actual possession
of the Property, Lender is not and shall not be deemed to be: (a) responsible for any waste committed by
tenants or any other parties, any dangerous or defective condition of the Property, or any negligence in the
management, upkeep, repair, or control of the Property; (b) responsible for any loss sustained by Borrower
resulting from Lender's failure to lease the Property or from any other act or omission of Lender in managing
the Property or administering the Leases; or (c) liable in any manner for the Property or the use, occupancy,
enjoyment or operation of all or any part of it. All risk of loss with respect to the Property is borne
exclusively by Borrower and Lender shall have no responsibility for any decline in the value of the Property,
for any failure by Borrower to maintain insurance coverage required under the Loan Agreement, for any
inadequacy of the proceeds of any required insurance coverage or for any risk not insured against or not
required to be insured against hereunder.

         6.10    Indemnity. Borrower shall indemnify, defend with counsel selected by Lender in its sole
discretion, and hold Lender harmless from and against any and all claims, demands, liabilities, losses,
lawsuits, judgments, damages, costs and expenses, including, without limitation, attorneys' fees and costs,
to which Lender may be exposed or which Lender may incur arising out of or resulting from this assignment
of Leases and Rents, including, without limitation, claims or demands for security deposits from tenants
deposited with Borrower, and all claims or demands whatsoever asserted against Lender to satisfy any
obligations of the landlord under the Leases. This agreement by Borrower to indemnify Lender shall
survive the release and cancellation of any or all of the Secured Obligations and the full or partial release
and or reconveyance of this Deed of Trust.

                                                    - 10 -




                      Case 19-31883-dwh11              Doc 585
                                                           572      Filed 02/10/22
                                                                          01/28/22
                                            ARTICLE VII.
                                         EVENTS OF DEFAULT.

         7.1      Events of Default. The occurrence of any Event of Default under the Loan Agreement
shall constitute an Event of Default hereunder.

       7.2    Remedies. Upon any Event of Default, Lender may, at its option and without notice to
or demand upon Borrower, exercise any one or more of the following actions:

              (a)         Declare all the Secured Obligations immediately due and payable.

             (b)      Bring a court action to enforce the provisions of this Deed of Trust or any of
the other Loan Documents.

              (c)         Foreclose this Deed of Trust as a mortgage.

             (d)         Cause any or all of the Property to be sold under the power of sale granted by
this Deed of Trust in any manner permitted by applicable law.

              (e)         Elect to exercise its rights with respect to the Leases and the Rents.

              (f)      Exercise any or all of the other rights and remedies under this Deed of Trust
and the other Loan Documents.

              (g)         Exercise any other right or remedy available under law or in equity.

         7.3      Exercise of Power of Sale. For any sale under the power of sale granted by this Deed of
Trust, Lender or Trustee shall record and give all notices required by law and then, upon the expiration of
such time as is required by law, Trustee may sell the Property upon any terms and conditions specified by
Lender and permitted by applicable law. Trustee may postpone any sale by public announcement at the
time and place notified for the sale. If the Property includes several lots or parcels, Lender in its discretion
may designate their order of sale or may elect to sell all of them as an entirety. The Property, real, personal
and mixed, may be sold in one parcel. To the extent any of the Property sold by the Trustee is personal
property, then Trustee shall be acting as the agent of the Lender in selling such Property. Any person
permitted by law to do so may purchase at any sale. Upon any sale, Trustee will execute and deliver to the
purchaser or purchasers a deed or deeds conveying the Property sold, but without any covenant or warranty,
express or implied, and the recitals in the Trustee's deed showing that the sale was conducted in compliance
with all the requirements of law shall be prima facie evidence of such compliance and conclusive evidence
thereof in favor of bona fide purchasers and encumbrances for value.

         7.4      Application of Sale Proceeds. The proceeds of any sale under this Deed of Trust shall be
applied in the following manner: (a) first to the payment of the costs and expenses of the sale; including
without limitation Trustee's fees, legal fees and disbursements, title charges and transfer taxes, and payment
of all expenses, liabilities and advances of Trustee, together with interest on all advances made by Trustee
from date of disbursement at the applicable interest rate under the Note from time to time or at the maximum
rate permitted to be charged by Trustee under the applicable law if that is less; (b) second to the payment of
all sums expended by Lender under the terms of this Deed of Trust and not yet repaid, together with interest
on such sums from date of disbursement at the applicable interest rate under the Note from time to time or
the maximum rate permitted by applicable law if that is less; (c) third to the payment of all other Secured
                                                     - 11 -




                      Case 19-31883-dwh11               Doc 585
                                                            572       Filed 02/10/22
                                                                            01/28/22
Obligations in any order that the Lender chooses; and (d) the remainder, if any, to the person or persons
legally entitled to it.

         7.5      Waiver of Order of Sale, Marshaling and Other Matters. Lender shall have the
right to determine the order in which any or all portions of the secured indebtedness are satisfied from
the proceeds realized upon the exercise of any remedies provided herein. Borrower, any party who
consents to this Deed of Trust and any party who now or hereafter acquires a security interest in the
Property and who has actual or constructive notice hereof and waives any and all right to require
marshaling of assets in connection with the exercise of any of the remedies permitted by applicable law
or provided herein, or to direct the order in which any of the Property will be sold in the event of any
sale under this Deed of Trust. To the extent allowed by law, Borrower waives (i) the benefit of all laws
now existing or that may hereafter be enacted providing for any appraisement before sale of any portion
of the Property, (ii) all rights of valuation, appraisement, stay of execution, reinstatement and redemption
laws in the event of foreclosure of the liens hereby created, (iii) all rights and remedies which Borrower
may have or be able to assert by reason of the laws of the State where the Property is located pertaining
to the rights and remedies of sureties, and (iv) the right to assert any statute of limitations as a bar to the
enforcement of the lien of this Deed of Trust or to any action brought to enforce the Note or any other
obligation secured by this Deed of Trust.

         7.6     Non-Waiver of Defaults. The entering upon and taking possession of the Property, the
collection of Rents or the proceeds of fire and other insurance policies or compensation or awards for any
taking or damage of the Property, and the application or release thereof as herein provided, shall not cure or
waive any default or notice of default hereunder or invalidate any act done pursuant to such notice.

         7.7     Expenses During Redemption Period. If this Deed of Trust is foreclosed as a mortgage
and the Property sold at a foreclosure sale, the purchaser may during any redemption period allowed, make
such repairs or alterations on the Property as may be reasonably necessary for the proper operation, care,
preservation, protection and insuring thereof. Any sums so paid together with interest thereon from the time
of such expenditure at the greater of the default rate under the Note, or the maximum rate permitted by law,
shall be added to and become a part of the amount required to be paid for redemption from such sale.

        7.8     Foreclosure Subject to Tenancies. Lender shall have the right at its option to foreclose
this Deed of Trust subject to the rights of any tenant or tenants of the Property.

         7.9      Evasion of Prepayment Terms. If any Event of Default has occurred, a tender of
payment of the indebtedness secured hereby at any time prior to or at a judicial or non-judicial foreclosure
sale of the Property by Borrower, or anyone on behalf of Borrower, shall constitute an evasion of any
prepayment terms of the Note, if any, and shall constitute a voluntary prepayment thereunder, and any such
tender shall include any prepayment premium required under the Note, if any.

         7.10     Lender's and Trustee's Expenses. Borrower shall pay all of Lender's and Trustee's
expenses incurred in any efforts to enforce any terms of this Deed of Trust, whether or not any suit is filed,
including without limitation legal fees and disbursements, foreclosure costs and title charges. All such
sums, with interest thereon, shall be additional indebtedness of Borrower secured by this Deed of Trust.
Such sums shall be immediately due and payable and shall bear interest from the date of disbursement at
the greater of the default rate under the Note, or the maximum rate permitted by law.




                                                     - 12 -




                      Case 19-31883-dwh11               Doc 585
                                                            572      Filed 02/10/22
                                                                           01/28/22
         7.11     Fair Market Value. To the extent the Oregon Deed of Trust Act, as now existing or
hereafter amended, or other statute requires that the "fair market value" or "fair value" of the Property
be determined as of the foreclosure date in order to enforce a deficiency against Borrower or any other
party liable for repayment of the Secured Obligations, the term "fair market value" or "fair value" shall
include those matters required by law and the additional factors set forth below:

                (a)     The Property shall be valued "as is" and "with all faults" and there shall be no
assumption of restoration or refurbishment of Improvements, if any, after the date of the foreclosure.

                 (b)     An offset to the fair market value or fair value of the Property, as determined
hereunder, shall be made by deducting from such value the reasonable estimated closing costs related
to the sale of the Property, including but not limited to brokerage commissions, title policy expenses,
tax pro-rations, escrow fees, and other common charges that are incurred by the seller of real property.

               (c)     Borrower shall pay the costs of any appraisals and other expenses incurred in
connection with any such determination of fair market value or fair value.

                                            ARTICLE VIII.
                                         GENERAL PROVISIONS

        8.1     No Offset. Borrower's obligation to timely pay and perform all obligations under the
Note, the Loan Agreement, and the other Loan Documents shall be absolute and unconditional and shall
not be affected by any event or circumstance, including, without limitation, any setoff, counterclaim,
abatement, suspension, recoupment, deduction, defense or any other right that Borrower or any
guarantor may have or claim against Lender or any other person or entity.

         8.2      Application of Payments. Except as applicable law or this Deed of Trust may otherwise
provide, all payments received by Lender under the Note or this Deed of Trust shall be applied by Lender
in the following order of priority: (a) Lender's and Trustee's expenses incurred in any efforts to enforce any
terms of this Deed of Trust; (b) interest payable on advances made to protect the security of this Deed of
Trust; (c) principal of such advances; (d) amounts payable to Lender by Borrower under Section 3 for
reserves; (e) interest and late charges payable on the Note; (f) principal of the Note; and (g) any other
Secured Obligations in such order as Lender, at its option, may determine; provided, however, that Lender
may, at its option, apply any such payments received to interest on or principal of the Note prior to applying
such payments to interest on and principal of advances made to protect the security of this Deed of Trust.

         8.3      Reconveyance. Upon payment of all sums secured by this Deed of Trust, Lender shall
request Trustee to reconvey the Property and shall surrender this Deed of Trust and all notes evidencing
indebtedness secured by this Deed of Trust to Trustee. Trustee shall reconvey the Property without warranty
to the person or persons legally entitled thereto. The grantee in any reconveyance may be described as the
"person or persons legally entitled thereto," and the recitals therein of any matters or facts shall be conclusive
proof of the truthfulness thereof. Such person or persons shall pay Trustee's reasonable costs incurred in so
reconveying the Property.

        8.4      Successor Trustee. In accordance with applicable law, Lender may from time to time
appoint a successor trustee to any Trustee appointed hereunder. Without conveyance of the Property, the
successor trustee shall succeed to all the title, power and duties conferred upon the Trustee herein and by
applicable law.

                                                      - 13 -




                       Case 19-31883-dwh11               Doc 585
                                                             572       Filed 02/10/22
                                                                             01/28/22
         8.5      Lender's Powers. Without affecting the liability of any person for payment or
performance of the Secured Obligations or any of Lender's rights or remedies, Lender, at its option, may
extend the time for payment of the indebtedness secured hereby or any part thereof, reduce payment thereon,
release anyone liable on any of said indebtedness, accept a renewal note or notes therefor, modify the terms
and time of payment of the indebtedness, release the lien of this Deed of Trust on any part of the Property,
take or release other or additional security, release or reconvey or cause to be released or reconveyed all or
any part of the Property, or consent and/or cause Trustee to consent to the making of any map or plat of the
Property, consent or cause Trustee to consent to the granting of any easement or creating any restriction on
the property, or join or cause Trustee to join in any subordination or other agreement affecting this Deed of
Trust or the lien or charge hereof. Borrower shall pay Lender a reasonable service charge, together with
such title insurance premiums and attorneys' fees as may be incurred at Lender's option, for any such action
if taken at Borrower's request.

         8.6     Subrogation. Lender shall be subrogated for further security to the lien, although released
of record, of any and all encumbrances discharged, in whole or in part, by the proceeds of the Note or any
other indebtedness secured thereby.

         8.7      Limitation on Interest and Charges. The interest, fees and charges under the Loan
Documents shall not exceed the maximum amounts permitted by any applicable law. If any such interest,
fee or charge exceeds the maximum, the interest, fee or charge shall be reduced by the excess and any excess
amounts already collected from Borrower shall be refunded. Lender may refund such excess either by
treating the excess as a prepayment of principal under the Note or by making a direct payment to Borrower.
If Lender elects to treat the excess as a prepayment of principal, Borrower shall not be obligated to pay any
prepayment premium required under the Note. The provisions of this paragraph shall control over any
inconsistent provision in the Loan Documents.

        8.8      Additional Documents; Power of Attorney. Borrower, from time to time, shall execute,
acknowledge and deliver to Lender upon request, and hereby irrevocably appoints Lender its attorney-in-
fact to execute, acknowledge, deliver and if appropriate file and record, such security agreements,
assignments for security purposes, assignments absolute, financing statements, affidavits, certificates and
other documents, in form and substance satisfactory to Lender, as Lender may request in order to perfect,
preserve, continue, extend or maintain the assignments herein contained, the lien and security interest under
this Deed of Trust, and the priority thereof. Borrower shall pay to Lender upon request therefor all costs
and expenses incurred in connection with the preparation, execution, recording and filing of any such
document.

        8.9     Waiver of Statute of Limitations. To the full extent Borrower may do so, Borrower
hereby waives the right to assert any statute of limitations as a defense to the enforcement of the lien of this
Deed of Trust or to any action brought to enforce the Note or any other obligation secured by this Deed of
Trust.

          8.10    Forbearance by Lender Not a Waiver. Any forbearance by Lender in exercising any
right or remedy hereunder, or otherwise afforded by applicable law, shall not be a waiver of or preclude the
exercise of any right or remedy, and no waiver by Lender of any particular default shall constitute a waiver
of any other default or of any similar default in the future. Furthermore, no waiver of Lender's rights or
remedies in one or more instances shall establish a course of dealing or other agreement that will bind
Lender or prohibit Lender from enforcing the terms of the Loan Documents in another instance. Without
limiting the generality of the foregoing, the acceptance by Lender of payment of any sum secured by this

                                                     - 14 -




                      Case 19-31883-dwh11               Doc 585
                                                            572       Filed 02/10/22
                                                                            01/28/22
Deed of Trust after the due date thereof shall not be a waiver of Lender's right to either require prompt
payment when due of all other sums so secured or to declare a default for failure to make prompt payment.
The procurement of insurance or the payment of taxes or other liens or charges by Lender shall not be a
waiver of Lender's right to accelerate the maturity of the indebtedness secured by this Deed of Trust, nor
shall Lender's receipt of any awards, proceeds or damages under Sections 2.3 and 2.7 hereof operate to cure
or waive Borrower's default in payment of sums secured by this Deed of Trust.

        8.11     Modifications and Waivers. This Deed of Trust cannot be waived, changed, discharged
or terminated orally, but only by an instrument in writing signed by the party against whom enforcement of
any waiver, change, discharge or termination is sought.

         8.12    Notice. Any notice to Borrower under this Deed of Trust shall be given in accordance
with the notice provisions in the Loan Agreement.

         8.13      Governing Law; Severability; Captions. This Deed of Trust shall be governed by the
laws of the State of Oregon. If any provision or clause of this Deed of Trust conflicts with applicable law,
such conflicts shall not affect other provisions or clauses hereof which can be given effect without the
conflicting provision, and to this end the provisions hereof are declared to be severable. If any provision
of this Agreement or of any of the other Loan Documents are declared invalid for any reason by a court
of competent jurisdiction, the invalid provision shall be deemed omitted and the remaining terms of this
Agreement and of all of the other Loan Documents shall remain in full force and effect. The captions
and headings of the paragraphs and articles of this Deed of Trust are for convenience only and are not to be
used to interpret or define the provisions hereof.

        8.14       Construction. This Deed of Trust is the result of substantial negotiations between
Borrower and Lender and shall be construed in accordance with the fair intent of the language contained
herein in its entirety and not for or against either party, regardless of which party was responsible for its
preparation. Borrower and Lender each represent to the other that each has consulted with its own legal
counsel in connection with this Agreement.

         8.15     Definitions. As used herein: the term "Borrower" means the Borrower herein named,
together with any subsequent owner of the Property or any part thereof or interest therein; the term
"Trustee" means the Trustee herein named, together with any successor Trustee; and the term "Lender"
means the Lender herein named, together with any subsequent owner or holder of the Note or any interest
therein, including pledgees, assignees and participants.

         8.16     Successors and Assigns; Joint and Several Liability; Agents. This Deed of Trust shall
bind and inure to the benefit of the parties hereto and their respective heirs, devisees, legatees,
administrators, executors, successors and assigns, subject to the provisions of Section 4 hereof. Each person
executing this Deed of Trust as Borrower shall be jointly and severally liable for all obligations of Borrower
hereunder. In exercising any rights hereunder or taking actions provided for herein, Lender and Trustee
may act through their respective employees, agents or independent contractors as authorized by Lender and
Trustee. Upon the occurrence of any default, Lender may proceed against any Borrower, any guarantor,
or any of Lender's security for the Loan in such order and manner as Lender may elect in its sole
discretion.

        8.17     Further Assurances; Clerical Errors. Borrower agrees to execute and acknowledge
such additional documents as may be necessary or desirable in order to carry out the intent and purpose of

                                                    - 15 -




                      Case 19-31883-dwh11              Doc 585
                                                           572       Filed 02/10/22
                                                                           01/28/22
this Deed of Trust and the other Loan Documents, to confirm or establish the lien hereof, or to correct any
clerical errors or legal deficiencies. Without limiting the foregoing, Borrower agrees to execute a
replacement Note in the event the Note is lost or destroyed and to execute an amended and restated substitute
Note to correct any clerical or other errors which may be discovered in the original Note. Failure of
Borrower to comply with any request by Lender pursuant to this Section within ten (10) days after written
request by Lender shall constitute a material Event of Default hereunder.

        8.18     Time. Time is of the essence in connection with all obligations of Borrower herein.

        8.19    Estoppel Certificate. Borrower shall, within ten days of a written request from Lender
and at no charge to Lender, furnish Lender or any other party designated by Lender with a written
statement, duly acknowledged, setting forth the sums secured hereby and any right of set-off,
counterclaim or other defense that may exist with regard to the Secured Obligations.

        8.20     Request for Notice. Borrower hereby requests that a copy of any notice of default and
notice of sale hereunder be mailed to it at its address set forth at the beginning of this Deed of Trust.

        8.21     Assignment of Loan Documents. Lender may assign the Loan Documents in whole
or in part. Lender may make available to any proposed assignee or participant all credit and financial
data with respect to Borrower and any guarantor as may be in the possession of Lender. Borrower agrees
to provide any additional information that any proposed assignee or participant may reasonably request.

         8.22    Certain Obligations Unsecured. Notwithstanding anything to the contrary set forth
herein or any of the Loan Documents, this Deed of Trust shall not secure the following obligations (the
"Unsecured Obligations"): (a) any obligations evidenced by or arising under the Indemnity Agreement
or the Guaranty, and (b) any other obligations in this Deed of Trust or in any of the other Loan
Documents to the extent that such other obligations relate specifically to the presence on the Property
of Hazardous Materials and are the same or have the same effect as any of the obligations evidenced by
or arising under the Indemnity Agreement. Any breach or default with respect to the Unsecured
Obligations shall constitute an Event of Default hereunder, notwithstanding the fact that such Unsecured
Obligations are not secured by this Deed of Trust. Nothing in this Section shall, in itself, impair or limit
Lender's right to obtain a judgment in accordance with applicable law after foreclosure for any
deficiency in recovery of all obligations that are secured by this Deed of Trust following foreclosure.

        8.23    Counterparts. This Agreement may be executed in one or more counterparts, all of
which together shall constitute one and the same original.

      8.24  Jury Trial Waiver. BORROWER WAIVES, TO THE FULLEST EXTENT
PERMITTED BY APPLICABLE LAW, THE RIGHT TO A TRIAL BY JURY IN ANY ACTION OR
PROCEEDING BASED UPON, OR RELATED TO, THE LOAN OR THE LOAN DOCUMENTS.
THIS WAIVER IS KNOWINGLY, INTENTIONALLY, AND VOLUNTARILY MADE BY
BORROWER, AND BORROWER ACKNOWLEDGES THAT NO PERSON ACTING ON BEHALF
OF LENDER HAS MADE ANY REPRESENTATIONS OF FACT TO INDUCE THIS WAIVER OF
TRIAL BY JURY OR IN ANY WAY TO MODIFY OR NULLIFY ITS EFFECT. BORROWER
FURTHER ACKNOWLEDGES THAT BORROWER HAS BEEN REPRESENTED (OR HAS HAD
THE OPPORTUNITY TO BE REPRESENTED) IN THE SIGNING OF THE LOAN DOCUMENTS
AND IN THE MAKING OF THIS WAIVER BY INDEPENDENT LEGAL COUNSEL SELECTED



                                                    - 16 -




                      Case 19-31883-dwh11              Doc 585
                                                           572      Filed 02/10/22
                                                                          01/28/22
OF BORROWER'S OWN FREE WILL, AND THAT BORROWER HAS HAD THE OPPORTUNITY
TO DISCUSS THIS WAIVER WITH COUNSEL.

                                            ARTICLE IX

                                 STATE SPECIFIC PROVISIONS.

        9.01     Principals of Construction. In the event of any inconsistencies between the terms and
conditions of this Article 17 and the other terms and conditions of this Security Instrument, the terms
and conditions of this Article 17 shall control and be binding.

      9.02 No Oral Commitments Notice. UNDER OREGON LAW, MOST AGREEMENTS,
PROMISES AND COMMITMENTS MADE BY LENDER CONCERNING LOANS AND OTHER
CREDIT EXTENSIONS WHICH ARE NOT FOR PERSONAL, FAMILY OR HOUSEHOLD
PURPOSES OR SECURED SOLELY BY THE BORROWER’S RESIDENCE MUST BE IN
WRITING, EXPRESS CONSIDERATION AND BE SIGNED BY LENDER TO BE
ENFORCEABLE.




                                                 - 17 -




                    Case 19-31883-dwh11             Doc 585
                                                        572     Filed 02/10/22
                                                                      01/28/22
Dated as of the day and year first written above.

                                  BORROWER:


                                  ___________________________
                                  Vahan M. Dinihanian, Jr.




                                                    - 18 -




                      Case 19-31883-dwh11              Doc 585
                                                           572   Filed 02/10/22
                                                                       01/28/22
                                    ACKNOWLEDGEMENT




STATE OF OREGON                 )
                                )
COUNTY OF                       )

This instrument was acknowledged before me on February ___, 2022, by Vahan M. Dinihanian, Jr.
an individual residing in Multnomah County, Oregon.



Signature of Notarial Officer


Title
My commission expires:

(Seal, if any)




                                             - 19 -




                     Case 19-31883-dwh11        Doc 585
                                                    572    Filed 02/10/22
                                                                 01/28/22
                                          EXHIBIT A

                                   LEGAL DESCRIPTION




For informational purposes only:

Tax ID No.:

Address:       237 NW Skyline Boulevard
               Portland, Oregon 97210




                                            - 20 -




                    Case 19-31883-dwh11        Doc 585
                                                   572   Filed 02/10/22
                                                               01/28/22
     Exhibit G




Case 19-31883-dwh11   Doc 585
                          572   Filed 02/10/22
                                      01/28/22
                              ENVIRONMENTAL AND BUILDING LAWS
                                  AGREEMENT AND INDEMNITY

          THIS ENVIRONMENTAL AND BUILDING LAWS AGREEMENT AND INDEMNITY
("Agreement") is made as of February ___, 2022, by 15005 NW CORNELL LLC, an Oregon limited
liability company, and Vahan M. Dinihanian, Jr. (collectively, the "Borrower"), to and for the benefit of
SORFI, LLC, an Oregon limited liability company ("Lender").

                                                    Recitals

         Pursuant to a Loan Agreement ("Loan Agreement") between Borrower and Lender dated the same
date as this Agreement, Lender has agreed to make a loan ("Loan") to Borrower in the principal amount of
Four Million Nine Hundred Sixty Thousand and 00/100 Dollars ($4,960,000.00), to be secured in part
by the Deed of Trust on the Property. Lender's commitment to make the Loan is conditioned on Borrower's
execution and delivery of this Agreement.

                                                   Agreement

        NOW, THEREFORE, in consideration of the financial benefits to Borrower from the Loan, and to
induce Lender to make the Loan, Borrower agrees as provided below.

        1.      Definitions. As used in this Agreement, the following terms are defined as follows.
Capitalized terms used but not defined herein have the meanings given them in the Loan Agreement.

                1.1      "Building Laws" means all federal, state and local laws, statutes, regulations,
ordinances and requirements, now or hereafter in effect, applicable to the ownership, or operation of the
Property, including all building, zoning, planning, subdivision, fire, traffic, safety, health, labor, air quality,
wetlands, shoreline and flood plain laws, statutes, regulations, ordinances and requirements, and all
applicable requirements of the Fair Housing Act of 1968, the Fair Housing Amendments Act of 1988, the
Americans With Disabilities Act of 1990, all other federal, state and local laws and ordinances related to
handicapped access, and all statutes, rules, regulations, ordinances and orders of governmental bodies and
regulatory agencies, and orders and decrees of any court adopted or enacted with respect thereto, and all
government and private covenants, conditions and restrictions applicable to the Property, as now in effect
or hereafter amended.

                  1.2      "Environmental Law(s)" means any federal, state or local law, statute, ordinance,
code, rule, regulation, license, authorization, decision, order, injunction, decree, or rule of common law, and
any judicial interpretation of any of the foregoing, which pertains to health, safety, any Hazardous Substances,
or the environment (including but not limited to ground or air or water or noise pollution or contamination, and
underground or above ground tanks) and shall include without limitation, the Solid Waste Disposal Act, 42
U.S.C. § 6901 et seq.; the Comprehensive Environmental Response, Compensation and Liability Act of 1980,
42 U.S.C. § 9601 et seq. ("CERCLA"), as amended by the Superfund Amendments and Reauthorization Act
of 1986 ("SARA"); the Hazardous Materials Transportation Act, 49 U.S.C. § 1801 et seq.; the Federal Resource
Conversation and Recovery Act of 1976 (42 U.S.C. §6901 et seq.); the Federal Water Pollution Control Act,
33 U.S.C. § 1251 et seq.; the Clean Air Act, 42 U.S.C. § 7401 et seq.; the Toxic Substances Control Act, 15
U.S.C. § 2601 et seq.; the Safe Drinking Water Act, 42 U.S.C. § 300f et seq.; and any other federal, state or
local environmental statutes, and all rules, regulations, orders and decrees now or hereafter promulgated under
any of the foregoing, as any of the foregoing now exist or may be changed or amended or come into effect in
the future.




                                                     -1-


                        Case 19-31883-dwh11                Doc 585
                                                               572     Filed 02/10/22
                                                                             01/28/22
                1.3     "Hazardous Substance(s)" means:

                          (a)      Any oil, petroleum products, flammable substances, explosives,
radioactive materials, hazardous wastes or substances, toxic wastes or substances or any other wastes,
materials or pollutants which (i) pose a hazard to the Property or to persons on or about the Property or
(ii) cause the Property to be in violation of any Environmental Law;

                      (b)     Any asbestos in any form which is or could become friable or which is
deemed hazardous under any Environmental Law, urea formaldehyde foam insulation, transformers or
other equipment which contain dielectric fluid containing levels of polychlorinated byphenyls, or radon
gas;

                         (c)    Any chemical, material or substance defined as or included in the
definition of "hazardous substances", "hazardous wastes", "hazardous materials", "extremely hazardous
waste", "restricted hazardous waste", or "toxic substances" or words of similar import under any applicable
Hazardous Materials Laws, including, but not limited to, the Comprehensive Environmental Response,
Compensation and Liability Act of 1980, as amended, 42 U.S.C. §9601, et seq.; the Hazardous Materials
Transportation Act, as amended, 49 U.S.C. §1801, et seq.; the Federal Water Pollution Control Act, as
amended, 33 U.S.C. §1251, et seq.; RCW Chapter 70.105D;

                        (d)     Any Microbial Matter and infectious substances;

                         (e)     Any other chemical, material or substance, exposure to which is
prohibited, limited or regulated by any governmental authority or may or could pose a hazard to the
environment or to the health and safety of the occupants of the Property or the owners and/or occupants of
property adjacent to or surrounding the Property, or any other Person coming upon the Property or adjacent
property.

                 1.4     "Microbial Matter" means fungi or bacterial matter which reproduces through the
release of spores or the splitting of cells, including, but not limited to, mold, mildew and viruses, in
quantities that are reasonably likely to cause material damage to the Property or that can reasonably be
expected to pose a material health hazard.

                1.5      "Other Property" means any property which becomes contaminated with
Hazardous Substances as a result of the construction, development, operation or other activities on, over,
under or about, or the contamination of, the Property.

                 1.6   "Property" means the real property located in Washington County, Oregon, legally
described in Exhibit A attached, and all buildings, structures and other improvements now or hereafter
located thereon.

        2.      Representations and Warranties. Borrower warrants and represents to Lender that:

                 2.1     Due Investigation. Borrower has (a) duly investigated the present and past uses
of the Property and caused due inquiry of the appropriate governmental agencies and offices having
jurisdiction over the Property as to whether the Property or any Other Property is or has been the site of
storage or contamination by any Hazardous Substances, and Borrower has examined or been advised of all
Environmental Laws applicable to the Property; and (b) been advised of all Building Laws applicable to
the Property. Upon Lender's request, Borrower will provide Lender with a written summary of its
investigations and copies of all inquiries and responses.




                                                  -2-


                      Case 19-31883-dwh11               Doc 585
                                                            572   Filed 02/10/22
                                                                        01/28/22
                2.2     Hazardous Substances. Borrower has no knowledge of (a) the presence of any
Hazardous Substances on the Property, (b) any spills, releases, discharges or disposal of Hazardous
Substances that have occurred or are presently occurring on or onto, under or about the Property or any
Other Property, (c) any failure by any person or entity to comply with all currently applicable
Environmental Laws with respect to the generation, recycling, reuse, sale, storage, handling, transport
and/or disposal of Hazardous Substances on or from the Property, or (d) the presence, use, storage and/or
disposal of Hazardous Substances, except as generally and customarily used and in the quantity generally
and customarily used in the ordinary course of operating, and maintaining properties such as the Property,
all of which Borrower represents and warrants have been used, stored and disposed of in accordance with
commercially reasonable practices and all applicable Environmental Laws.

                  2.3    Building Laws. All buildings, structures and other improvements on the Property
fully comply with all applicable Building Laws and will be either located outside of any 100-year flood
plain or continuously covered by adequate flood insurance. The Property is the only real property required
to operate the Property and all improvements constructed thereon are in compliance with Building Laws.
All certificates of occupancy and other governmental permits and approvals necessary for the occupancy
of the improvements to be constructed on the Property have been obtained.

        3.       Covenants.

               3.1     Compliance with Laws. Borrower shall cause the Property to be continuously in
compliance with all Environmental Laws and Building Laws.

                3.2      No Release or Waiver. Borrower has not and will not release or waive the liability
of any previous owner, lessee or operator of the Property, or any other person or entity potentially
responsible under (a) applicable Environmental Laws for the presence or removal of Hazardous Substances
on or from the Property, or (b) applicable Building Laws. Borrower has made no promises of
indemnification regarding Hazardous Substances or Building Laws to any person or entity other than
Lender.

                 3.3     Investigations. If Borrower learns that the Property is contaminated by any
Hazardous Substance or that there is any credible reason to suspect that contamination, Borrower at its cost
and through the use of licensed and competent engineers and other experts, shall promptly and thoroughly
investigate the Property and shall provide to Lender a detailed description of the investigation and any
copies of reports regarding such contamination or suspected contamination which investigations and reports
must be reasonably acceptable to Lender.

                 3.4     Notice to Lender; Remediation. Borrower will immediately notify Lender if
Borrower receives notice or otherwise becomes aware of (a) any Hazardous Substance or other
environmental problem or liability with respect to the Property or Other Property, (b) any lien, action or
notice resulting from the violation of any Environmental Law or any Building Law, or (c) the Property
being in violation of any applicable Building Law or Environmental Law. At its own cost, Borrower will
take all actions which are necessary or desirable to clean up any Hazardous Substances affecting the
Property, including removal, containment or other remedial action required by Environmental Laws, and
cause the Property to be in compliance with all Environmental Laws and Building Laws. Any notice sent
to Lender pursuant to this paragraph will describe with particularity any actual, potential or alleged violation
of Building Laws or Environmental Laws, and shall contain Borrower's plan or recommendations for
correcting the violations.

       4.      Indemnification. Borrower shall indemnify, protect, defend and hold Lender harmless
from and against any and all claims, demands, damages, losses, liens, liabilities, penalties, fines, lawsuits


                                                    -3-


                       Case 19-31883-dwh11                Doc 585
                                                              572    Filed 02/10/22
                                                                           01/28/22
and other proceedings and costs and expenses (including attorneys' fees and disbursements, and
architectural, engineering and accounting costs and all repair and clean-up costs) which accrue to or are
made against or incurred by Lender, or are in any way connected with (a) the inaccuracy of any of the
certifications, representations or warranties of Borrower contained in this Agreement, (b) any activities on
the Property during Borrower's ownership, possession or control of the Property which directly or indirectly
result in the Property or any Other Property being contaminated with Hazardous Substances, or the Property
being in violation of any applicable Building Laws or Environmental Laws, or (c) the discovery and/or
cleanup of Hazardous Substances deposited or existing on, over, under or about the Property or any Other
Property, (d) any claim or cause of action to the effect that Lender is in any way responsible or liable for
any act or omission of Borrower or its agents, or any persons performing labor or supplying materials to
the Property, and (e) any breach by Borrower of any of its covenants or agreements set forth in this
Agreement. If Lender becomes the owner of or acquires an interest in or rights to the Property by
foreclosure or by a conveyance in lieu of foreclosure of the Deed of Trust or any other instruments securing
the Loan, or by any other means, the foregoing indemnification obligation of Borrower shall survive such
foreclosure or conveyance in lieu of foreclosure or other acquisition of the Property. Notwithstanding the
foregoing, Borrower shall have no obligation to defend, indemnify or hold Lender harmless from any claim,
demand, damage, loss, lien, liability, etc. arising solely from or out of the activities of Lender or its agents
on the Property on or after transfer of the Property to Lender pursuant to foreclosure proceedings or in lieu
thereof.

         5.      Independent Unsecured Obligations. Borrower's obligations under this Agreement are
unconditional, unsecured, and separate, independent and distinct from the obligations of Borrower
evidenced by the Note and secured by the Deed of Trust, and shall not be subject to any non-recourse or
other limitation of liability provision in any of the Loan Documents. This Agreement shall survive
repayment of the Note and reconveyance of the Deed of Trust, and any transfer of the Property, whether by
sale, foreclosure, deed in lieu of foreclosure, or otherwise.

        6.      Default. It is a default under this Agreement if any representation or warranty in this
Agreement proves to be materially false or misleading when made, or if Borrower fails to perform any
covenant, agreement or obligation under this Agreement within the time allowed. Although the obligations
of Borrower under this Agreement are not secured by the Deed of Trust, at Lender's option, any default
under this Agreement shall be an Event of Default under the Deed of Trust and the Loan Agreement.

        7.       Fees and Expenses. Borrower shall reimburse Lender on demand for all legal fees and
other costs and expenses incurred in enforcing this Agreement, together with interest thereon from the date
of demand at the Default Rate under the Loan Agreement. Such fees, costs and expenses shall include
those incurred with or without suit and in any appeal, any proceedings under any present or future federal
bankruptcy act or state receivership, and any post-judgment collection proceedings.

      8.         Notices. Any notice under this Agreement shall be given as provided in the Loan
Agreement

         9.       General. If Borrower is comprised of more than one person or entity, the term "Borrower"
shall refer to each and every such person or entity and all of such persons and entities shall be jointly and
severally liable under this Agreement. The term "Lender" shall refer to SORFI, LLC and its universal
successors and assigns, and any person or entity designated or appointed by Lender to acquire the Property
through foreclosure or by transfer in lieu of foreclosure, and any and all other financial institutions
participating in the Loan or to which the Loan may hereafter be assigned. This Agreement shall be binding
upon and inure to the benefit of Lender, Borrower and their respective heirs, representatives, successors
and assigns. The failure of Lender to promptly enforce any right or remedy under this Agreement shall not
constitute a waiver thereof and shall not affect or impair the liability of Borrower. If any provision of this


                                                    -4-


                       Case 19-31883-dwh11                Doc 585
                                                              572    Filed 02/10/22
                                                                           01/28/22
Agreement is invalid, illegal or unenforceable, such provision shall be considered severed from the rest of
this Agreement and the remaining provisions shall continue in full force and effect as if the invalid provision
had not been included. This Agreement may be signed in counterparts all of which together shall constitute
one and the same original. This Agreement shall be governed by and construed under the laws of the State
of Oregon.

      10.   Waiver of Jury Trial. BORROWER WAIVES, TO THE FULLEST EXTENT
PERMITTED BY APPLICABLE LAW, THE RIGHT TO A TRIAL BY JURY IN ANY ACTION OR
PROCEEDING BASED UPON, OR RELATED TO, THE SUBJECT MATTER OF THIS AGREEMENT.
THIS WAIVER IS KNOWINGLY, INTENTIONALLY, AND VOLUNTARILY MADE BY
BORROWER, AND BORROWER ACKNOWLEDGES THAT NO PERSON ACTING ON BEHALF OF
LENDER HAS MADE ANY REPRESENTATIONS OF FACT TO INDUCE THIS WAIVER OF TRIAL
BY JURY OR IN ANY WAY TO MODIFY OR NULLIFY ITS EFFECT. BORROWER FURTHER
ACKNOWLEDGES THAT BORROWER HAS BEEN REPRESENTED (OR HAS HAD THE
OPPORTUNITY TO BE REPRESENTED) IN THE SIGNING OF THIS AGREEMENT AND IN THE
MAKING OF THIS WAIVER BY INDEPENDENT LEGAL COUNSEL SELECTED OF BORROWER'S
OWN FREE WILL, AND THAT BORROWER HAS HAD THE OPPORTUNITY TO DISCUSS THIS
WAIVER WITH COUNSEL.

DATED as of the day and year first written above.



                                  BORROWER:

                                  15005 NW CORNELL LLC, an Oregon limited liability company


                                  By:     ___________________________
                                          Vahan M. Dinihanian, Jr., its manager




                                  Vahan M. Dinihanian, Jr., an individual


                                          ____________________________




                                                    -5-


                       Case 19-31883-dwh11                Doc 585
                                                              572    Filed 02/10/22
                                                                           01/28/22
                                          EXHIBIT A

                                   LEGAL DESCRIPTION




For informational purposes only:

Tax ID No.:

Address:       15005 NW Cornell Road
               Beaverton, Oregon 97006


               237 NW Skyline Boulevard
               Portland, Oregon 97210




                                          -6-


                     Case 19-31883-dwh11        Doc 585
                                                    572   Filed 02/10/22
                                                                01/28/22
     Exhibit H




Case 19-31883-dwh11   Doc 585
                          572   Filed 02/10/22
                                      01/28/22
             UNCONDITIONAL GUARANTY OF PAYMENT AND PERFORMANCE

        THIS UNCONDITIONAL GUARANTY OF PAYMENT AND PERFORMANCE ("Guaranty")
is made as of February ___, 2022, by VAHAN M. DINIHANIAN, JR. and EAGLE HOLDINGS LLC,
an Oregon limited liability company (individually and collectively, "Guarantor"), to and for the benefit of
SORFI, LLC, an Oregon limited liability company ("Lender"), and its successors, assigns and
participants.

                                                RECITALS:

        Pursuant to a Loan Agreement ("Loan Agreement") between Lender and 15005 NW CORNELL
LLC, an Oregon limited liability company, and Vahan M. Dinihanian, Jr. (collectively, the "Borrower"),
dated the same as this Guaranty, Lender has agreed to make a loan ("Loan") to Borrower in the amount of
Four Million Nine Hundred Sixty Thousand and 00/100 Dollars ($4,960,000.00). The Loan is or will
be evidenced by a Promissory Note ("Note"), and secured by a Deed of Trust, Assignment of Rents and
Leases, Security Agreement and Fixture Filing ("Deed of Trust") for the benefit of Lender, each dated the
same as this Guaranty. Pursuant to the Loan Agreement, Borrower is also executing an Environmental and
Building Laws Agreement and Indemnity ("Indemnity Agreement") in favor of Lender dated the same as
this Guaranty.

        As a condition precedent to making the Loan, Lender required that Guarantor execute and deliver
this Guaranty. Any capitalized term used and not defined in this Guaranty shall have the meaning given to
such term in the Loan Agreement.

                                               AGREEMENT

        NOW THEREFORE, for good and valuable consideration, the receipt and adequacy of which are
hereby acknowledged, and in order to induce Lender to make the Loan to Borrower, Guarantor agrees as
follows:

        1.      Definitions. Capitalized terms used but not defined in this Guaranty have the meanings given
them in the Loan Agreement.

         2.      Guaranty. Guarantor unconditionally, absolutely and irrevocably guarantees to Lender:
(a) the due and punctual payment of the Note and all other amounts payable by Borrower under the Loan
Documents; (b) the due and punctual performance of any and all other obligations of Borrower to Lender
under the Loan Documents; and (c) the due and punctual payment and performance of all obligations of
Borrower under the Indemnity Agreement (collectively, the "Guaranteed Obligations"). This Guaranty is
a guarantee of payment, not of collection, and is in no way conditioned upon any attempt by Lender to first
enforce the obligations of Borrower under the Loan Documents. This is a continuing guaranty which shall
remain in full force and effect until all the Guaranteed Obligations have been fully paid and performed.
Guarantor shall not be released from any obligations to Lender under this Guaranty as long as any Guaranteed
Obligation is not satisfied, settled or paid or performed in full.

        3.      Form of Payment. All payments under this Guaranty shall be made to Lender in
immediately available U.S. funds without reduction by any recoupment, set-off, counterclaim or cross claim
against Lender.

        4.      Representations and Warranties. Guarantor represents and warrants to Lender as
follows: (a) Guarantor has a financial interest in Borrower and will receive a direct and material benefit from



                                                    -1-


                       Case 19-31883-dwh11                Doc 585
                                                              572    Filed 02/10/22
                                                                           01/28/22
the Loan; (b) Guarantor acknowledges that Lender would not make the Loan to Borrower without this
Guaranty; (c) the financial benefits to Guarantor from the Loan constitute reasonably equivalent value for
the execution of this Guaranty, (d) Guarantor is not insolvent and will not become insolvent as a result of
this Guaranty, (e) Guarantor is not engaged in a business or transaction, and is not about to engage in a
business or transaction, for which the property of Guarantor constitutes unreasonably small capital, (f)
Guarantor does not intend to or believe that it will incur debts that would be beyond Guarantor's ability to
pay as such debts mature, (g) Guarantor has reviewed and approved of all of the terms and conditions of
the Loan Documents, (h) Guarantor has established adequate means of obtaining, and will obtain from
Borrower on a continuing basis, all financial and other information regarding Borrower, any other
guarantor, and the Loan, without any obligation on the part of Lender to provide any such information, now
or in the future.

         5.       Rights of Lender. Guarantor agrees that Lender may deal exclusively with Borrower in
all matters relating to the Loan without notice to or the approval of Guarantor. It is intended that Guarantor
shall remain fully liable regardless of any act or omission by Lender which might otherwise directly or
indirectly result, by operation of law or otherwise, in the discharge or release in whole or in part of
Borrower, any other guarantor, or any other person, or the discharge, release, or impairment of any collateral
("Collateral") now or hereafter held as security for any of the Obligations. Without limiting the generality
of the foregoing, Guarantor agrees that Lender may do or fail to do any of the following one or more times,
without notice to or the approval of Guarantor, and without diminishing, altering, or otherwise affecting the
absolute, unconditional, and irrevocable liability of Guarantor hereunder:

                (a)     Lender may agree with Borrower on any modification, extension, renewal, and
replacement of any of the terms and conditions of the Loan Documents.

               (b)     Lender may extend, renew, accelerate, or otherwise change the time for payment
and performance of any of the Guaranteed Obligations.

                  (c)    Lender may release Borrower, any other guarantor or any other person having any
liability under the Loan Documents.

                (d)      Lender may release, surrender, substitute, or exchange any of the Collateral.

                 (e)     Lender does not have to marshal assets and may direct the order or manner of sale
of the Collateral as Lender may determine in its discretion.

               (f)   Lender may apply the Collateral to the repayment of any amounts owing to Lender
under the Loan Documents in any order Lender may determine in its discretion.

                (g)      Lender may forbear from pursuing Borrower, any other guarantor or any other
person, or forbear from foreclosing or otherwise realizing upon any of the Collateral.

                (h)      Lender may impair or fail to perfect a security interest in any of the Collateral.

                 (i)    Lender may sell the Collateral in any manner it may determine in its discretion,
without notice to Guarantor and whether or not such sale is commercially reasonable.

                (j)      Lender does not have to notify Guarantor of Lender's acceptance of this Guaranty.

                 (k)    Lender does not have to notify Guarantor when Lender advances Loan proceeds,
extend credit to Borrower, or pay any obligations of Borrower.



                                                   -2-


                       Case 19-31883-dwh11               Doc 585
                                                             572    Filed 02/10/22
                                                                          01/28/22
              (l)        Lender does not have to notify Guarantor of any Default or Event of Default under
the Loan Documents.

               (m)      Lender does not have to make presentment and demand for payment, protest, or
notice of demand, protest, dishonor and nonpayment.

          6.      Guarantor's Obligations are Absolute. The obligations of Guarantor under this Guaranty
are absolute and unconditional, not subject to any counterclaim, set-off, recoupment, deduction or defense
based upon any claim Guarantor may have against Lender or Borrower and shall remain in full force and
effect without regard to, and shall not be released, discharged or terminated or in any other way affected by,
any circumstance or condition (whether or not Guarantor shall have any knowledge or notice thereof),
including without limitation: (a) any amendment, modification, or extension of time for payment or
performance of any Guaranteed Obligations (except that the liability of Guarantor hereunder shall be deemed
to apply to the Loan Documents as so amended or modified or the payment of all amounts so extended); (b)
any exercise or non-exercise by Lender of any right, power or remedy under or in respect of the Loan
Documents, or any waiver, consent, forbearance, indulgence or other action, inaction or omission by Lender
under or in respect of the Loan Documents; (c) any assignment, sale or other transfer of Borrower's interest
in all or any part of the real or personal property which at any time constitutes collateral for payment of the
Guaranteed Obligations, including without limitation a conveyance of such property by Borrower to Lender
by deed in lieu of foreclosure; (d) any bankruptcy, insolvency, reorganization, adjustment, dissolution,
liquidation or other like proceeding involving or affecting Borrower or Lender or their respective properties
or creditors, or any action taken with respect to the Loan Documents by any trustee or receiver of Lender or
Borrower or by any court, in any such proceeding; (e) any invalidity or unenforceability, in whole or in part,
of any term or provision of the Loan Documents or Borrower's incapacity or lack of authority to enter into the
Loan Documents; (f) any release, compromise, settlement or discharge with respect to all or any portion of
Borrower's obligations under the Loan Documents; (g) any acceptance of additional or substitute collateral
for payment of any of the Guaranteed Obligations or any release or subordination of any collateral held at any
time by Lender as security for the payment of the Guaranteed Obligations; (h) any resort to Guarantor for
payment of all or any portion of the Guaranteed Obligations, whether or not Lender shall have resorted to any
collateral securing the Guaranteed Obligations or shall have proceeded against Borrower or any other Person
primarily or secondarily liable for the Guaranteed Obligations (it being intended that Lender may pursue its
rights hereunder at any time or times); or (i) any waiver by Lender of any breach of the Loan Documents by
Borrower. No exercise, delay in exercise or non-exercise by Lender of any right given it hereby, no dealing
by Lender with Borrower, Guarantor or any other Person or Persons, no change, impairment or suspension of
any right or remedy of Lender, and no act or thing which, but for this provision could act as a release or
exoneration of the liabilities of Guarantor hereunder, shall in any way affect, decrease, diminish or impair
Guarantor's obligations hereunder or give Guarantor or any other Person any recourse or defense against
Lender.

         7.      Waiver of Defenses. Guarantor unconditionally waives the following: (a) notice of
acceptance of this Guaranty and of any matters referred to in Section 6 above; (b) all notice which may be
required by statute, rule of law or otherwise to preserve intact any rights Lender may have against Guarantor
under this Guaranty, including without limitation, any demand, proof or notice of non-payment of any
Guaranteed Obligations, and notice of any failure on the part of Borrower to perform and comply with any
covenant, agreement, term or condition of the Loan Documents; (c) any right to the enforcement, assertion
or exercise of any right, power or remedy conferred in the Loan Documents or otherwise; (d) any requirement
that Lender act with diligence in enforcing its rights under the Loan Documents or this Guaranty; (e) any right
to require Lender to proceed against or exhaust its recourse against Borrower or any security or collateral held
by Lender at any time for the payment of the Guaranteed Obligations or to pursue any other remedy in its
power before being entitled to payment from Guarantor under this Guaranty or before proceeding against
Guarantor; (f) any failure by Lender to file or enforce a claim against the estate (whether in administration,


                                                    -3-


                       Case 19-31883-dwh11                Doc 585
                                                              572    Filed 02/10/22
                                                                           01/28/22
bankruptcy or any other proceeding) of Borrower or any other Person; (g) any defense based upon election of
remedies by Lender which destroys or otherwise impairs the subrogation rights of Guarantor or the right of
Guarantor (after payment of the Guaranteed Obligations) to proceed against Borrower for reimbursement, or
both; (h) any defenses based upon the taking, modification or release of any collateral for the Guaranteed
Obligations, including without limitation any defenses based upon any anti-deficiency statute, or any failure
to perfect any security interest in, or the taking of, or failure to take any other action with respect to, any
collateral securing payment of the Guaranteed Obligations; (i) any defense based upon the addition,
substitution or release, in whole or in part, of any Person, including without limitation another Guarantor,
primarily or secondarily liable for or in respect of the Guaranteed Obligations; (j) any rights or defenses based
upon an offset by Guarantor against any obligation now or hereafter owed to Guarantor by Borrower; (k) any
defense of the statute of limitations in any action against Guarantor under this Guaranty; and (l) all other
notices which may or might be lawfully waived by Guarantor; it being the intention hereof that Guarantor
shall remain liable as principal, to the extent set forth in this Guaranty, until payment in full of the Guaranteed
Obligations, notwithstanding any act, omission or thing which might otherwise operate as a legal or equitable
discharge of the Guarantor other than payment in full of the Guaranteed Obligations. No delay by Lender in
exercising any rights and/or power hereunder or in taking any action to enforce Borrower's obligations under
the Loan Documents shall operate as a waiver as to such rights or powers or in any manner prejudice any and
all of the Lender's rights and powers hereunder against Guarantor.

         8.      Waiver of Suretyship Defenses. Guarantor hereby waives any act or thing which might
otherwise be deemed a legal or equitable discharge of a surety; including without limitation any defense
based on any of the following: (a) the lack of diligence or any delay in enforcing, or any waiver of or failure
to enforce, any right or remedy under the Loan Documents; (b) the failure or invalidity of, or any defect in,
the Loan Documents; (c) any disability or other defense of the Borrower, any other Guarantor or any other
person; (d) the termination from any cause whatsoever of any of Borrower's obligations under the Loan
Documents, except upon payment and performance in full of the Guaranteed Obligations; (e) the loss or
impairment of any right of subrogation; (f) any modification of any of the terms and conditions of the Loan
Documents in any form whatsoever and without notice to Guarantor, including without limitation the
renewal, extension, compromise, acceleration or other change in time for payment or performance thereof
and any increase or decrease in the rate of interest thereon; (g) the foreclosure of the Collateral or any
portion thereof; it being intended that this Guaranty shall survive the realization upon any of the Collateral,
including without limitation non-judicial foreclosure.

         9.       Waiver of Right of Subrogation. Until the Guaranteed Obligations are fully paid and
satisfied, Guarantor hereby waives any right of subrogation, any right to enforce any remedy Lender may
have against Borrower, any other guarantor or any other person, and any benefit of, and the right to
participate in, any of the Collateral.

         10.     Waiver of Right of Reimbursement. Until the Guaranteed Obligations are fully paid and
satisfied, Guarantor hereby waives any right of reimbursement, contribution, recourse, or any other right or
remedy of Guarantor against Borrower, any other guarantor or any other person to recover amounts which
Guarantor is obligated to pay under this Guaranty.

         11.     Expenses. Guarantor agrees to pay on demand and whether or not suit is brought, all costs
and out of pocket expenses, including without limitation court costs and expenses, bankruptcy and insolvency
costs and expenses and the reasonable fees and disbursements of legal counsel, incurred by or on behalf of
Lender in connection with the enforcement, defense or interpretation of Guarantor's obligations under this
Guaranty or the protection of Lender's rights under this Guaranty. The covenant contained in this Section
shall survive payment of the Guaranteed Obligations.




                                                     -4-


                        Case 19-31883-dwh11                Doc 585
                                                               572     Filed 02/10/22
                                                                             01/28/22
         12.      Condition of Borrower. Guarantor is fully aware of the financial condition of Borrower
and is signing and delivering this Guaranty based solely upon Guarantor's own independent investigation of
all matters pertinent hereto and is not relying in any manner upon any representation or statement made by
Lender. Guarantor represents and warrants that Guarantor is in a position to obtain, and hereby assumes full
responsibility for obtaining, any additional information concerning the financial condition of Borrower and
of all other matters pertinent hereto and all circumstances bearing upon the risk of non-payment of the
indebtedness guaranteed hereby, which diligent inquiry would reveal, and Guarantor is not relying upon or
expecting Lender to furnish and acknowledges that Lender has no duty to advise Guarantor of or to furnish
any information now or in the future in Lender's possession concerning the same or any other matter or any
such circumstances. By executing this Guaranty, Guarantor knowingly accepts the full range of risks
encompassed within a contract of this type, which risks Guarantor acknowledges.

         13.     Further Assurances. Guarantor agrees at any time and from time to time upon request by
Lender to take, or cause to be taken, any action and to execute and deliver any additional documents which,
in the opinion of Lender, may be necessary to assure to Lender the full benefits of this Guaranty.

        14.    Subordination. Any indebtedness of Borrower now or hereafter held by Guarantor is
hereby subordinated to the Guaranteed Obligations. Any payment of such subordinated indebtedness by
Borrower to Guarantor before payment in full of the Guaranteed Obligations shall be collected, enforced
and received by Guarantor as trustee for Lender and promptly paid to Lender for application against the
Guaranteed Obligations.

         15.     Insolvency and Liability of Borrower. So long as any of the Guaranteed Obligations are
outstanding and this Guaranty is in effect, Guarantor will file all claims against Borrower in any bankruptcy
or other proceeding in which the filing of claims is required by law in connection with indebtedness owed by
Borrower to Guarantor and to assign to Lender all rights of Guarantor thereunder up to the amount of the
unpaid Guaranteed Obligations. In all such cases the Persons authorized to pay such claims shall pay to
Lender the full amount thereof to the full extent necessary to pay the Guaranteed Obligations and Guarantor
hereby assigns to Lender all of Guarantor's rights to all such payments to which Guarantor would otherwise
be entitled. Notwithstanding the foregoing, and except to the extent that any sums owed by Borrower to
Lender under the Loan Documents have been fully satisfied thereby, the liability of Guarantor hereunder shall
in no way be affected by (a) the release or discharge of Borrower in any creditors', receivership, bankruptcy
or other proceedings; or (b) the impairment, limitation or modification of the liability of Borrower or the estate
of Borrower in bankruptcy resulting from the operation of any present or future provision of the Bankruptcy
Code or other statute, or from the decision of any court.

         16.      Preferences, Fraudulent Conveyances, Etc. If Lender is required to refund, or voluntarily
refunds, any payment received from Borrower because such payment is or may be avoided, invalidated,
declared fraudulent, set aside or determined to be void or voidable as a preference, fraudulent conveyance,
impermissible setoff or a diversion of trust funds under the bankruptcy laws or for any similar reason,
including without limitation any judgment, order or decree of any court or administrative body having
jurisdiction over Lender or any of its property, or any settlement or compromise of any claim effected by
Lender with Borrower or any other claimant ("Rescinded Payment") then Guarantor's liability to Lender
shall continue in full force and effect, or Guarantor's liability to Lender shall be reinstated, as the case may
be, with the same effect and to the same extent as if the Rescinded Payment had not been received by Lender,
notwithstanding the cancellation or termination of the Note or any of the other Loan Documents. In addition,
Guarantor shall pay or reimburse Lender for all expenses (including all reasonable attorneys' fees, court costs
and related disbursements) incurred by Lender in the defense of any claim that a payment received by Lender
in respect of all or any part of the Guaranteed Obligations must be refunded. The provisions of this Section
shall survive the termination of this Guaranty and any satisfaction and discharge of Borrower by virtue of any
payment, court order or any federal or state law.


                                                     -5-


                        Case 19-31883-dwh11                Doc 585
                                                               572     Filed 02/10/22
                                                                             01/28/22
         17.     Waiver. Neither this Guaranty nor any term hereof may be changed, waived, discharged or
terminated except by an instrument in writing signed by Lender and Guarantor expressly referring to this
Guaranty and to the provisions so changed or limited. No such waiver shall extend to or affect any obligation
not expressly waived or impair any right consequent thereon. No course of dealing or delay or omission on
the part of Lender in exercising any right under this Guaranty shall operate as a waiver thereof or otherwise
be prejudicial thereto.

         18.     Notices. Any demand or notice required or permitted to be given by Lender to Guarantor
under this Guaranty shall be in writing and shall be deemed to have been duly given if delivered personally
or by overnight courier service or if sent by registered or certified mail, return receipt requested, addressed to
Guarantor at the address for notices set forth below Guarantor's signature below or any other address furnished
by Guarantor to Lender. Any notice delivered to Guarantor's designated address in the manner set forth herein
shall be deemed to have been received by Guarantor at the time the notice is delivered at the designated
address. Confirmation by courier delivering any such notice pursuant to this Section shall be conclusive
evidence of receipt of such notice. Guarantor agrees not to refuse or reject delivery of any notice given
hereunder and to acknowledge, in writing, receipt of same upon request by Lender and that any notice rejected
or refused by Guarantor shall be deemed for all purposes of this Guaranty to have been received by Guarantor
on the date refused or rejected, as conclusively established by the records of the U.S. Postal Service or the
courier service.

         19.     Assignment. Lender may, without notice to Guarantor, assign or transfer the Loan and the
Loan Documents, in whole or in part. In such event, each and every immediate and successive assignee,
transferee or holder of all or any part of the Loan and the Loan Documents shall have the right to enforce this
Guaranty, by legal action or otherwise, as fully as if such assignee were by name specifically given such right
and power in this Guaranty. Lender shall have an unimpaired right to enforce this Guaranty for its benefit as
to so much of the Loan and the Loan Documents as Lender has not sold, assigned or transferred.

        20.     Guarantor Bound by Judgment Against Borrower. Guarantor shall be conclusively
bound, in any jurisdiction, by the judgment in any action by Lender against Borrower in connection with the
Loan Documents (wherever instituted) as if Guarantor were a party to such action even if not so joined as a
party.

           21.   Joint and Several Liability. The obligations of each Guarantor hereunder are joint and
several.

         22.      Counterparts. This Guaranty may be signed in one or more counterparts, each of which
shall be an original and all of which together shall constitute but one and the same instrument.

        23.      Governing Law/Jurisdiction. This Guaranty shall be governed by and construed in
accordance with the laws of the State of Oregon and the obligations, rights and remedies of Guarantor and
Lender hereunder shall be determined in accordance with such laws, without, however, giving effect to any
provisions thereof that would require application of the laws of any other jurisdiction. Guarantor hereby
consents to the jurisdiction of the courts of the State of Oregon.

         24.      Invalid Provisions. If any provision of this Guaranty or the application thereof to Guarantor
or any circumstance in any jurisdiction whose laws govern this Guaranty shall, to any extent, be invalid or
unenforceable under any applicable statute, regulation or rule of law, then such provision shall be deemed
inoperative to the extent of such invalidity or unenforceability and shall be deemed modified to conform to
such statute, regulation or rule of law. The remainder of this Guaranty and the application of any such invalid
or unenforceable provision to parties, jurisdictions or circumstances other than those to whom or to which it



                                                     -6-


                        Case 19-31883-dwh11                Doc 585
                                                               572     Filed 02/10/22
                                                                             01/28/22
is held invalid or unenforceable, shall not be affected by such invalidity or unenforceability nor shall such
invalidity or unenforceability affect the validity or enforceability of any other provision of this Guaranty.

        25.       General Provisions. This Guaranty shall be binding upon the respective heirs, legal
representatives, successors and assigns of each Guarantor, and shall inure to the benefit of Lender and its
successors and assigns, including without limitation, each successive holder of the Note. Descriptive headings
of the Sections of this Guaranty have been inserted herein for convenience of reference only and shall not
define or limit the provisions hereof. Except as otherwise provided in this Guaranty, each married individual
who executes this Guaranty intends to bind both his or her separate estate and his or her marital community.

        26.      Credit Verification. Each legal entity and individual obligated on this Guaranty, whether
as a Guarantor, general partner of a Guarantor or in any other capacity, hereby authorizes Lender to check
any credit references, verify his/her employment and obtain credit reports from credit reporting agencies of
Lender's choice in connection with any monitoring, collection or future transaction concerning the
Guaranteed Obligations, including any modification, extension or renewal of the Guaranteed Obligations.

      27.   Waiver of Jury Trial. GUARANTOR WAIVES, TO THE FULLEST EXTENT
PERMITTED BY APPLICABLE LAW, THE RIGHT TO A TRIAL BY JURY IN ANY ACTION OR
PROCEEDING BASED UPON, OR RELATED TO, THIS GUARANTY. THIS WAIVER IS
KNOWINGLY, INTENTIONALLY, AND VOLUNTARILY MADE BY GUARANTOR, AND
GUARANTOR ACKNOWLEDGES THAT NO PERSON ACTING ON BEHALF OF LENDER HAS
MADE ANY REPRESENTATIONS OF FACT TO INDUCE THIS WAIVER OF TRIAL BY JURY OR
IN ANY WAY TO MODIFY OR NULLIFY ITS EFFECT.           GUARANTOR FURTHER
ACKNOWLEDGES THAT GUARANTOR HAS BEEN REPRESENTED (OR HAS HAD THE
OPPORTUNITY TO BE REPRESENTED) IN THE SIGNING OF THIS GUARANTY AND IN THE
MAKING OF THIS WAIVER BY INDEPENDENT LEGAL COUNSEL SELECTED OF
GUARANTOR'S OWN FREE WILL, AND THAT GUARANTOR HAS HAD THE OPPORTUNITY TO
DISCUSS THIS WAIVER WITH COUNSEL.



                                       signatures on following page




                                                   -7-


                       Case 19-31883-dwh11               Doc 585
                                                             572    Filed 02/10/22
                                                                          01/28/22
            GUARANTOR:




            VAHAN M. DINIHANIAN, JR.



            EAGLE HOLDINGS LLC, an Oregon limited liability company


            By:   _____________________________
                  Vahan M. Dinihanian, Jr., its sole member




                   -8-


Case 19-31883-dwh11      Doc 585
                             572   Filed 02/10/22
                                         01/28/22
     Exhibit I




Case 19-31883-dwh11   Doc 585
                          572   Filed 02/10/22
                                      01/28/22
UCC FINANCING STATEMENT
FOLLOW INSTRUCTIONS
 A. NAME & PHONE OF CONTACT AT FILER (optional)


B. E-MAIL CONTACT AT FILER (optional)


C. SEND ACKNOWLEDGMENT TO: (Name and Address)




                                                                                                                         THE ABOVE SPACE IS FOR FILING OFFICE USE ONLY
1. DEBTOR'S NAME: Provide only one Debtor name (1a or 1b) (use exact, full name; do not omit, modify, or abbreviate any part of the Debtor’s name); if any part of the Individual Debtor’s
   name will not fit in line 1b, leave all of item 1 blank, check here      and provide the Individual Debtor information in item 10 of the Financing Statement Addendum (Form UCC1Ad)

     1a. ORGANIZATION'S NAME


OR
     1b. INDIVIDUAL'S SURNAME                                                            FIRST PERSONAL NAME                                   ADDITIONAL NAME(S)/INITIAL(S)          SUFFIX



1c. MAILING ADDRESS                                                                      CITY                                                  STATE     POSTAL CODE                  COUNTRY



2. DEBTOR'S NAME: Provide only one Debtor name (2a or 2b) (use exact, full name; do not omit, modify, or abbreviate any part of the Debtor’s name); if any part of the Individual Debtor’s
   name will not fit in line 2b, leave all of item 2 blank, check here      and provide the Individual Debtor information in item 10 of the Financing Statement Addendum (Form UCC1Ad)

     2a. ORGANIZATION'S NAME


OR
     2b. INDIVIDUAL'S SURNAME                                                            FIRST PERSONAL NAME                                   ADDITIONAL NAME(S)/INITIAL(S)           SUFFIX


2c. MAILING ADDRESS                                                                      CITY                                                  STATE     POSTAL CODE                  COUNTRY



3. SECURED PARTY'S NAME (or NAME of ASSIGNEE of ASSIGNOR SECURED PARTY): Provide only one Secured Party name (3a or 3b)
     3a. ORGANIZATION'S NAME


OR
     3b. INDIVIDUAL'S SURNAME                                                            FIRST PERSONAL NAME                                   ADDITIONAL NAME(S)/INITIAL(S)          SUFFIX



3c. MAILING ADDRESS                                                                      CITY                                                  STATE     POSTAL CODE                  COUNTRY



4. COLLATERAL: This financing statement covers the following collateral:




5. Check only if applicable and check only one box: Collateral is        held in a Trust (see UCC1Ad, item 17 and Instructions)         being administered by a Decedent’s Personal Representative
6a. Check only if applicable and check only one box:                                                                                    6b. Check only if applicable and check only one box:
         Public-Finance Transaction               Manufactured-Home Transaction                 A Debtor is a Transmitting Utility               Agricultural Lien        Non-UCC Filing

7. ALTERNATIVE DESIGNATION (if applicable):                 Lessee/Lessor              Consignee/Consignor                   Seller/Buyer            Bailee/Bailor             Licensee/Licensor

8. OPTIONAL FILER REFERENCE DATA:



FILING OFFICE COPY — UCC FINANCING STATEMENT (Form UCC1) (Rev. 04/20/11)
                                                   Case 19-31883-dwh11                               Doc 585
                                                                                                         572               Filed 02/10/22
                                                                                                                                 01/28/22
UCC FINANCING STATEMENT ADDENDUM
FOLLOW INSTRUCTIONS

9. NAME OF FIRST DEBTOR: Same as line 1a or 1b on Financing Statement; if line 1b was left blank
   because Individual Debtor name did not fit, check here

       9a. ORGANIZATION'S NAME




OR
       9b. INDIVIDUAL'S SURNAME


           FIRST PERSONAL NAME


           ADDITIONAL NAME(S)/INITIAL(S)                                                               SUFFIX

                                                                                                                             THE ABOVE SPACE IS FOR FILING OFFICE USE ONLY
10. DEBTOR'S NAME: Provide (10a or 10b) only one additional Debtor name or Debtor name that did not fit in line 1b or 2b of the Financing Statement (Form UCC1) (use exact, full name;
      do not omit, modify, or abbreviate any part of the Debtor’s name) and enter the mailing address in line 10c

       10a. ORGANIZATION'S NAME


OR
       10b. INDIVIDUAL'S SURNAME


            INDIVIDUAL’S FIRST PERSONAL NAME


            INDIVIDUAL’S ADDITIONAL NAME(S)/INITIAL(S)                                                                                                                                 SUFFIX



10c. MAILING ADDRESS                                                                     CITY                                               STATE      POSTAL CODE                     COUNTRY



11.        ADDITIONAL SECURED PARTY'S NAME or                              ASSIGNOR SECURED PARTY'S NAME:                        Provide only one name (11a or 11b)
       11a. ORGANIZATION'S NAME


OR
       11b. INDIVIDUAL'S SURNAME                                                         FIRST PERSONAL NAME                                ADDITIONAL NAME(S)/INITIAL(S)              SUFFIX



11c. MAILING ADDRESS                                                                     CITY                                               STATE     POSTAL CODE                      COUNTRY



12. ADDITIONAL SPACE FOR ITEM 4 (Collateral) :




13.        This FINANCING STATEMENT is to be filed [for record] (or recorded) in the     14. This FINANCING STATEMENT:
           REAL ESTATE RECORDS (if applicable)
                                                                                                  covers timber to be cut       covers as-extracted collateral        is filed as a fixture filing
15. Name and address of a RECORD OWNER of real estate described in item 16               16. Description of real estate:
      (if Debtor does not have a record interest):




17. MISCELLANEOUS:



FILING OFFICE COPY — UCC FINANCING STATEMENT ADDENDUM (Form UCC1Ad) (Rev. 04/20/11)
                                                     Case 19-31883-dwh11                           Doc 585
                                                                                                       572                 Filed 02/10/22
                                                                                                                                 01/28/22
                                      SCHEDULE 1 TO FINANCING STATEMENT


DEBTOR:                             15005 NW CORNELL LLC, an Oregon limited liability company

SECURED PARTY:                      SORTIS INCOME FUND, LLC, an Oregon limited liability company

         All of Debtor's right, title and interest in and to:

         (a)      All present and future fixtures and articles of property attached to, or used or adapted for use in the
ownership, development, operation or maintenance, of the real property located in Washington County, Oregon, legally
described on Exhibit A attached (the "Realty"), and the buildings, improvements and tenements (the "Improvements")
now or hereafter located thereon (whether such items are leased, owned or subject to any title-retaining or security
instrument), including without limitation all heating, cooling, air-conditioning, ventilating, refrigerating, plumbing,
generating, power, lighting, laundry, maintenance, incinerating, lifting, cleaning, fire prevention and extinguishing, security
and access control, cooking, gas, electric and communication fixtures, equipment and apparatus, all engines, motors,
conduits, pipes, pumps, tanks, ducts, compressors, boilers, water heaters and furnaces, all ranges, stoves, disposers,
refrigerators and other appliances, all escalators and elevators, baths, sinks, all cabinets, partitions, mantels, built-in mirrors,
window shades, blinds, screens, awnings, storm doors, windows and sash, all carpeting, underpadding, floor covering,
paneling, and draperies, all furnishings of public spaces, halls and lobbies, and all shrubbery and plants;

         (b)      All present and future easements, access, air and development rights, minerals and oil, gas and other
hydrocarbon substances, royalties, water, water rights and water stock, and other rights, hereditaments, privileges, permits,
licenses, franchises and appurtenances belonging or in any way appertaining to the Realty;

         (c)      All present and future rents, revenues, issues, profits and income from the Realty, the Improvements or
both, and all present and future leases and other agreements for the occupancy or use of all or any part of the Realty or
Improvements, including without limitation all cash or security deposits, advance rentals and deposits or payments of
similar nature, and all guarantees of tenants' or occupants' performance under any and all leases or agreements of occupancy
or use of all or part of the Realty, the Improvements or both;

          (d)      All present and future tangible personal property ("Personal Property") used in connection with the
ownership, development, operation or maintenance of the Realty, the Improvements or both, including without limitation
all furniture, furnishings, equipment and supplies;

         (e)     All present and future intangible personal property used in connection with the ownership, development,
operation or maintenance of the Realty, Improvements and/or Personal Property, including without limitation all permits,
licenses and franchises, contract rights (including but not limited to architectural, engineering and management contracts),
all accounts receivable, escrow accounts, insurance policies, deposits, instruments, documents of title, general intangibles,
and business records, and the exclusive right to the use of trade names;

        (f)      All present and future materials, supplies and other goods wherever located, whether in the possession of
Debtor, warehouseman, bailee or any other person, purchased for use in the construction, operation or furnishing of the
Improvements, together with any documents covering such materials, and all contract rights and general intangibles relating
to such materials;

        (g)     All present and future site plans, plats, architectural plans and specifications, work drawings, surveys,
engineering reports, test borings, market surveys and other work products relating to the Realty;

         (h)      All present and future construction contracts relating to the Improvements, together with any and all
performance, payment, completion or other surety bonds now or hereafter issued by any surety in connection with or related
to the aforesaid construction contracts, which are transferable by Debtor;



                                                                -1-



                              Case 19-31883-dwh11                Doc 585
                                                                     572       Filed 02/10/22
                                                                                     01/28/22
        (i)     All present and future contracts and policies of insurance which insure any buildings, structures or
improvements on the Realty, or any fixtures or personal property thereon, against casualty and theft, and all monies and
proceeds and rights thereto which may become payable by virtue of any insurance contracts or policies;

        (j)     Any good faith deposit or other deposit paid to any potential lender on the Realty; and

        (k)     All products and proceeds of the foregoing.




                                                          -2-



                            Case 19-31883-dwh11            Doc 585
                                                               572       Filed 02/10/22
                                                                               01/28/22
                                             EXHIBIT A

                                         LEGAL DESCRIPTION




For informational purposes only:

Tax ID No.:

Address:       15005 NW Cornell Road
               Beaverton, Oregon 97006




                                                -3-



                          Case 19-31883-dwh11    Doc 585
                                                     572   Filed 02/10/22
                                                                 01/28/22
